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                 [ORAL ARGUMENT NOT SCHEDULED]
                              Nos. 25-5144, 25-5145

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                          ______________
                       PATSY WIDAKUSWARA, et al.
                                       Plaintiffs-Appellees,
                                   v.
                            KARI LAKE, et al.
                                       Defendants-Appellants.
                             ______________
                   MICHAEL ABRAMOWITZ, et al.
                                    Plaintiffs-Appellees,
                                 v.
                          KARI LAKE, et al.
                                    Defendants-Appellants.
__________________________________________________________________
       On Appeal from the U.S. District Court for the District of Columbia
                     Nos. 25-cv-1015-RCL, 25-cv-887-RCL
               Hon. Royce C. Lamberth, U.S. District Judge
__________________________________________________________________
             WIDAKUSWARA PLAINTIFFS-APPELLEES’
               PETITION FOR REHEARING EN BANC
__________________________________________________________________
 ANDREW G. CELLI, JR.                        TEAGUE PATERSON
 DEBRA GREENBERGER                           MATTHEW BLUMIN
 DANIEL M. EISENBERG                         GEORGINA YEOMANS
 NICK BOURLAND                               AMERICAN FEDERATION OF STATE,
 EMERY CELLI BRINCKERHOFF                    COUNTY, AND MUNICIPAL EMPLOYEES,
 ABADY WARD & MAAZEL LLP                     AFL-CIO (AFSCME)
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                     (Additional counsel listed on signature block)
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

A. Parties

      Plaintiffs-Appellees are Patsy Widakuswara; Jessica Jerreat; Kathryn

Neeper; John Does 1-4; Reporters Sans Frontieres; Reporters Without Borders,

Inc.; American Federation of State, County and Municipal Employees (AFSCME),

American Federation of Government Employees (AFGE), American Foreign

Service Association (AFSA), and The NewsGuild-CWA.

      Defendants-Appellants are Kari Lake, Victor Morales, and the United States

Agency for Global Media.

B. Rulings under review

      Plaintiffs-Appellees seek en banc reconsideration of the special panel’s stay

decision in No. 25-5144, issued May 3, 2025. The district court rulings under

review can be found at Defendants’ Addendum to their motion to stay pending

appeal, pages 1-43, and Plaintiffs’ Addendum to their opposition thereto, pages

124-29.

C. Related cases

      There are three related cases before this Court. Radio Free Asia v. United

States, 25-5150 (D.C. Cir.); Middle East Broadcasting Networks, Inc. v. United

States, 25-5151 (D.C. Cir.); RFE/RL, Inc. v. Lake, 25-5158 (D.C. Cir.). In addition,




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there is a related case pending in the United States District Court for the District of

Columbia. See Open Technology Fund v. Lake, 25-cv-840 (D.D.C.).



Dated: May 5, 2025                              s/Daniel M. Eisenberg
                                                Daniel M. Eisenberg




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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, Plaintiffs-Appellees Reporters Sans Frontières, Reporters Without Borders,

Inc.; American Federation of State, County and Municipal Employees

(“AFSCME”); American Federation of Government Employees (“AFGE”);

American Foreign Service Association (“AFSA”); and The NewsGuild-CWA

(“TNG-CWA”) make the following disclosures:

      Plaintiff-Appellee Reporters Without Borders, Inc. is a 501(c)(3) non-profit

organization headquartered in Washington, D.C. and is the United States affiliate

of Plaintiff-Appellee Reporters Sans Frontières, which is headquartered in Paris,

France.

      Plaintiff-Appellee AFSCME is a national labor organization and

unincorporated membership association headquartered in Washington, D.C.

AFSCME is the largest trade union of public employees in the United States.

      Plaintiff-Appellee AFGE is a labor organization and unincorporated

association headquartered in Washington, D.C. AFGE is the largest federal

employee union.

      Plaintiff AFSA is a professional association and labor organization

headquartered in Washington, D.C. AFSA is the sole labor organization for the

United States Foreign Service.

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      Plaintiff TNG-CWA is a labor union representing more than 27,000

employees. It is the largest labor union representing journalists and media workers

in North America.

      No Plaintiff-Appellee has a parent corporation, and no publicly held

company owns 10% or more of any Plaintiff-Appellee’s stock.




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                                 INTRODUCTION

       Two simple, foundational principles are at stake in this case: First, the

 executive may act only pursuant to “an act of Congress” or constitutional power.

 Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952) (Jackson, J.,

 concurring). Second, the federal courts have a “virtually unflagging obligation” to

 “exercise the jurisdiction given them.” Colorado River Water Conservation Dist. v.

 United States, 424 U.S. 800, 817 (1976).

       As to the first principle, Defendants have acted unlawfully, ignoring

 congressional mandates without justification in constitutional right or power. Two

 district courts have found as much on the record in this case.

       As to the second principle, federal courts have a grant of general jurisdiction

 to hear cases arising under the Constitution or federal law, 28 U.S.C. § 1331, and

 this Court has jurisdiction to hear appeals of the same, 28 U.S.C. § 1291. Federal

 courts are also empowered to stop unlawful executive agency conduct. 5 U.S.C.

 § 702; Weyerhaeuser Co. v. U.S. Fish and Wildlife Serv., 586 U.S. 9, 22 (2018)

 (noting “basic presumption of judicial review for one suffering legal wrongs

 because of agency action”). And federal courts also have inherent jurisdiction to

 correct harmful executive overreach. Leedom v. Kyne, 358 U.S. 184, 191 (1958).

       The per curiam order concludes the judiciary is powerless in the face of

 uncontroverted executive overreach. In doing so, it extends jurisdiction stripping


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 by implication under Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994),

 beyond that case’s plausible reach. It creates confusion by contradicting an earlier

 stay order from this same special panel. It ignores multiple non-federal-employee

 Plaintiffs. And it will almost certainly result in the gutting of the U.S. Agency for

 Global Media (“USAGM”) before the case is decided on the merits.

       This case is unprecedented, but it is no longer unique. The executive has

 been upfront about its intention to unilaterally remake or eliminate executive

 agencies irrespective of congressional will; the per curiam order will only

 embolden those efforts. The en banc Court should step in to clarify the standard for

 these recurring and exceptionally important cases.

                           STATEMENT OF THE CASE

       A. Statutory Framework

              USAGM is a congressionally established independent agency. 22

 U.S.C. § 6203(a). It is required under law to produce and disseminate international

 broadcasting “designed so as to effectively reach a significant audience,”

 “includ[ing] news which is consistently reliable and authoritative, accurate,

 objective, and comprehensive.” 22 U.S.C. §§ 6202(a)(7), (b)(1).

              Voice of America (“VOA”) is an integral part of USAGM’s pursuit of

 those mandates. Congress requires that “[VOA] must win the attention and respect

 of listeners.” 22 U.S.C. § 6202(c). To do so Congress mandates:


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       (1) VOA will serve as a consistently reliable and authoritative source of news.
       VOA news will be accurate, objective, and comprehensive.

       (2) VOA will represent America, not any single segment of American society,
       and will therefore present a balanced and comprehensive projection of
       significant American thought and institutions.

       (3) VOA will present the policies of the United States clearly and effectively,
       and will also present responsible discussions and opinion on these policies.

 Id.

                Congress bolstered these clear mandates by appropriating $875

 million to the Agency, dictating by line item how the money is to be used, and

 forbidding the Agency from repurposing more than 5% of any line-item funding.

 See Further Consolidated Appropriations Act of 2024, Pub. L. No. 118-47, div. F,

 tit. I, 138 Stat. 460, 735 (2024) (“2024 Appropriations Act”); Explanatory

 Statement Submitted by Ms. Granger, Chair of the House Cmte. on Approps.,

 Regarding H.R. 2882, 2024 Appropriations Act, 170 Cong. Rec. H1501, H2089

 (Mar. 22, 2024); Full-Year Continuing Appropriations and Extensions Act, 2025,

 Pub. L. No. 119-4, div. A, § 1101, 139 Stat. 9, 10-12 (2025).

          It has also forbidden USAGM from suspending or eliminating any

 “program, project, or activity,” or downsizing any “bureaus, centers, or offices,”

 without 15 days’ advance notice to Congress. 138 Stat. 460, 766.




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        B. Defendants’ Decimation of USAGM and Plaintiff’s Resulting
           Irreparable Harms

        On March 14, 2025, the White House issued Executive Order 14238,

 directing USAGM to “reduce the performance of their statutory functions and

 associated personnel to the minimum presence and function required by law.” Add.

 2. 1

        Despite the unequivocal congressional directives in USAGM’s governing

 statutes and the appropriations laws, the day after EO 14238 was published,

 USAGM turned off all its broadcasts and began shutting the Agency down. It

 instructed radio broadcast technicians, who are required to be on-site 24/7 to keep

 VOA broadcasts running, to finish their programs and leave the building. Add. 11

 ¶ 11. It placed 1,042 out of its 1,147 full-time employees on administrative leave.

 Add. 4-5 ¶¶ 3, 5. It terminated every single one of its 598 personal service

 contractors. Id. And it cancelled its grant agreements with its statutory grantee

 networks. Add. 20 ¶ 9.

        On March 25, USAGM stated its intention to terminate over 600 full-time

 employees, including the entire bargaining unit of radio broadcast technicians,

 without whom VOA cannot broadcast. Add. 48-49 ¶¶ 3-6, 58-59 ¶¶ 3-5. To date,

 nearly two months after being taken off the air, and notwithstanding the district


 1
  References to “Add.” are to Plaintiffs’ Addendum (Doc. #2113400) and “Defs’
 Add.” are to Defendants’ Addendum (Doc. #2113018).
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 court’s injunction two weeks ago, the only broadcast that has resumed is the Office

 of Cuba Broadcasting (“OCB”), with 33 staff. Add. 5 ¶¶ 6-7.

       Each day that USAGM programming is silent, it becomes less likely that the

 Agency will ever replicate the reach it accrued over its 80-year history. See Dissent

 at 19-20; Add. 14 ¶ 18. The silencing and dismantling of USAGM harms Plaintiffs

 in irreparable ways. For example, Does 3 and 4 face deportation to inhospitable

 countries because of the cancellation of their contracts. Dissent at 20. Some

 members of the Plaintiff The NewsGuild-CWA (“TNG-CWA”) similarly face

 deportation and others face the imminent loss of health insurance. Dissent at 21-22;

 Defs’ Add. 35-36; Add. 131-33. Plaintiffs Reporters sans Frontieres and Reporters

 Without Borders, Inc. (together, the “RSF”) and TNG-CWA each represent

 journalists who rely on USAGM programming for their own work and safety while

 reporting abroad. See Add. 23 ¶¶ 15-16; Add. 135-26 ¶¶ 4-6; Add. 116-22 ¶¶ 11-

 26. The lack of programming puts their safety at risk. It also injures RSF’s “ability

 to distribute its broadcasting and amplify press freedom concerns.” Dissent at 21.

 And the union Plaintiffs stand to be decimated, with AFSCME Local 1418 losing

 its entire membership and AFGE losing nearly its entire membership. Add. 48-49

 ¶¶ 3-6; Add. 58-59 ¶¶ 3-5.




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       C. Procedural History

       On March 21, Plaintiffs sued USAGM and its leadership, alleging that the

 Agency’s self-imposed radio silence and its actions to dismantle itself violated

 statutory law, the separation of powers, the First Amendment, and the

 Appointments Clause. Plaintiffs brought Administrative Procedure Act (“APA”)

 and constitutional claims.

       On March 28, the District Court for the Southern District of New York

 entered a temporary restraining order, finding Defendants likely violated the APA

 and the Constitution and that Plaintiffs face a “laundry list of injuries” absent

 emergency relief. Widakuswara v. Lake, No. 25-CV-2390, 2025 WL 945869, at

 *10 (S.D.N.Y. Mar. 28, 2025). On April 4, the case was transferred to the District

 Court for the District of Columbia.

       After additional briefing and oral argument, the District Court for the

 District of Columbia entered the instant preliminary injunction. Widakuswara v.

 Lake, No. 25-CV-1015-RCL, 2025 WL 1166400 (D.D.C. Apr. 22, 2025). The

 injunction required Defendants to (1) “take all necessary steps to return USAGM

 employees and contractors to their status prior to the March 14, 2025, Executive

 Order”; (2) “restore the FY 2025 grants with USAGM Networks Radio Free Asia

 [(“RFA”)] and Middle East Broadcasting Networks [(“MBN”)]”; and (3) “restore




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 VOA programming such that USAGM fulfills its statutory mandate” embodied in

 22 U.S.C. § 6202(c).

       Defendants moved for a stay pending appeal, which the district court denied.

 The district court also corrected Defendants’ misunderstanding of the scope of the

 injunction: Part (1) of the injunction does not prohibit the Agency from making

 personnel decisions, but is instead “tailored to undoing the agency’s unlawful

 actions in furtherance of the Executive Order.” Widakuswara v. Lake, No. 25-CV-

 0887-RCL, 2025 WL 1210937, at *3 (D.D.C. Apr. 25, 2025). “When USAGM

 returns to pre-March 14 functioning . . . the injunction does not prevent USAGM

 from executing personnel decision for reasons unrelated to the Executive Order.”

 Id.

       Defendants also moved this Court for an emergency stay pending appeal. A

 divided special panel granted Defendants’ motion.

                                    ARGUMENT

       The per curiam order involves a question of exceptional importance:

 Whether the judiciary is powerless to stop the executive branch from dismantling

 executive agencies, in clear defiance of congressional will, merely because such

 dismantling is carried out by dispensing with federal personnel. In the per curiam’s

 view, Congress, in enacting the Civil Service Reform Act and the Foreign Service

 Act, silently stripped the federal courts of jurisdiction over challenges to executive


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 branch overreach and reassigned that role to a subpart of the executive that was

 designed to hear individual employment-related administrative claims. If not

 corrected by this Court en banc, the per curiam’s overreading of Thunder Basin

 will expand the channeling doctrine far beyond its guardrails.

       The per curiam order also overlooks that multiple Plaintiffs have no

 relationship to federal employment and therefore cannot be channeled to

 administrative agencies. On this basis alone, the per curiam order is fatally flawed.

       The order is also inconsistent with a recent order of the same special panel in

 NTEU v. Vought, No. 25-5091, causing confusion about when channeling attaches

 to the dismantling of an executive agency and when it does not. This confusion

 will be particularly disruptive because this and other Courts are now regularly

 hearing challenges to the executive’s dismantling of federal agencies without

 congressional input.

       The per curiam’s invocation of the Tucker Act is similarly flawed,

 expanding beyond recognition the reach of jurisdiction stripping by implication

 and ignoring certain Plaintiffs’ status as third parties to the grants at issue.

       Because the per curiam order involves a question of exceptional importance,

 distorts Supreme Court precedent, ignores parties to the case, and conflicts with

 prior orders of the same panel, the Court should grant en banc review and vacate

 the stay. See Fed. R. App. P. 40(b).

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 I.    THIS CASE IS NOT CHANNELED TO AGENCY REVIEW

       At stake here is nothing less than the separation of powers—the foundational

 premise of our constitutional structure.

       “When the President takes measures incompatible with the express or

 implied will of Congress, his power is at its lowest ebb.” Youngstown, 343 U.S. at

 637. “To reiterate, the President and federal agencies may not ignore statutory

 mandates or prohibitions merely because of policy disagreement with Congress.”

 In re Aiken Cnty., 725 F.3d 255, 260 (D.C. Cir. 2013) (Kavanaugh, J.).

       Prior to the per curiam order, it was uncontroversial that the judiciary played

 an integral role in preserving this boundary. Courts were to “scrutinize[] with

 caution” a “Presidential claim to power at once so conclusive and preclusive . . .

 for what is at stake is the equilibrium established by our constitutional system.”

 Youngstown, 343 U.S. at 637.

       Defendants here have acted contrary to the express will of Congress and

 have not raised any justifying constitutional authority inherent to the Presidency.

 “[I]ndeed, [they] have opted not to argue the merits of the plaintiffs’ arbitrary and

 capricious challenge at all, which formed the bedrock of” the preliminary

 injunction opinion and the TRO opinion. Widakuswara, 2025 WL 1210937, at *2;

 see Widakuswara, 2025 WL 945869, at *5. They have simply said the judiciary is

 powerless to stop them.


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       The per curiam adopted Defendants’ narrative that this is a case about

 personnel issues and that the sheer scale of illegality afoot divests the federal

 courts of the power to intervene. In doing so, the per curiam ignores the record and

 all but ensures the demise of USAGM.

       1. This is not a case about “personnel actions.” Order at 2. “The plaintiffs in

 this lawsuit challenge the evisceration of their jobs only insofar as it is the means

 by which they challenge defendants’ unlawfully halting the work of [VOA] and

 shutting it down.” Dissent at 5-6. The fact that the agency would eliminate

 employees, just as it would close offices and turn off the lights, does not make this

 unlawful decision a personnel action any more than it makes this case about

 facilities maintenance. The district court’s factual finding that this was not a

 “personnel dispute” but a “breaking” of the agency was not clear error. 2025 WL

 1166400, at *11; Awad v. Obama, 608 F.3d 1, 6–7 (D.C. Cir. 2010).

       In point of fact, Defendants have never attributed their mass administrative

 leave placements and terminations to anything other than the blanket effort to

 dismantle the agency. See Add. 105 (administrative leave placement “is not being

 done for any disciplinary purpose.”); Add. 51 (attributing reduction in force

 (“RIF”) notices solely to executive order); Add. 62 (same); Add. 111-12 ¶¶ 6, 9-10

 (USAGM HR Director attributing administrative leave and RIFs solely to

 executive order); Add. 4-5 ¶¶ 5, 8-9 (same).

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          2. This case independently has no place in administrative channels because

 multiple Plaintiffs have no connection to federal employment—a fact the per

 curiam ignores. RSF and TNG-CWA represent journalists who rely on USAGM

 programming for their work and safety while reporting abroad. See Add. 23 ¶¶ 15-

 16; Add. 135-26 ¶¶ 4-6; Add. 116-22 ¶¶ 11-26. In order to remediate their harms,

 Defendants must resume broadcasting, which requires reinstating agency

 personnel. See Widakuswara, 2025 WL 1210937, at *1. There is “no basis to

 conclude the threshold challenge to the district court’s jurisdiction to hear these

 plaintiffs’ APA and constitutional claims is likely to succeed.” Dissent at 6; see

 also Per Curiam at 4 (concluding “USAGM’s employees and contractors . . . must

 [pursue their claims] through other remedial channels,” but saying nothing about

 the other plaintiffs). The per curiam offers no such basis, instead ignoring these

 parties’ presence in the case.

          3. Alternatively, if the per curiam order implicitly held that “[t]he district

 court likely lacked jurisdiction over USAGM’s personnel actions,” Order at 2, as

 to all Plaintiffs, it has extended Thunder Basin channeling well beyond any prior

 court.

          The mere fact that a federal personnel action is “embedded within [a]

 dispute” between the government and private third parties does not divest federal

 courts of subject matter jurisdiction. Am. Fed’n of Gov’t Emps., AFL-CIO v. U.S.

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 Off. of Pers. Mgmt., No. C 25-01780 WHA, 2025 WL 660053, at *7 (N.D. Cal.

 Feb. 28, 2025) (“OPM”); see Am. Fed’n of Gov’t Emps., AFL-CIO v. U.S. Off. of

 Pers. Mgmt., No. 25-1677, 2025 WL 914823, at *1 (9th Cir. Mar. 26, 2025)

 (affirming district court’s view that third parties are not channeled). 2 Moreover, a

 “statutory review scheme [that precludes district court jurisdiction] does not

 necessarily extend to every claim concerning agency action.” Axon Enter., Inc. v.

 Fed. Trade Comm’n, 598 U.S. 175, 185 (2023). Here, either the per curiam panel

 incorrectly held that it does, or it failed entirely to consider an independent basis

 for this Court’s jurisdiction.

        4. The dissent correctly concluded that “[t]he administrative channeling

 defense is inapposite here.” Dissent at 4. It then correctly determined that even

 under Thunder Basin’s own terms, it does not apply. See 510 U.S. at 212-13.

       “Channeling plaintiffs’ claims . . . would entirely shut off meaningful

 judicial review.” Dissent at 5. The per curiam disputes this by pointing out that

 “administrative agencies are not powerless to issue broad-reaching relief in large-

 scale personnel matters,” pointing to the now-abandoned request by the now-

 terminated special counsel to stay the mass firing of federal probationary

 employees on personnel-rule grounds. Per Curiam at 3 n.2. But the question here is


 2
  The Supreme Court recently stayed the order in OPM, but acted only on the basis
 of the third parties’ standing, not channeling grounds. See OPM v. AFGE, No.
 24A904, 2025 WL 1035208 (U.S. Apr. 8, 2025).
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 not whether the MSPB could order USAGM to reinstate individual employees on

 personnel-rule grounds. The question is whether the MSPB is the venue to

 determine if the agency must continue to exist and perform its statutory functions,

 which it can only do with staff. See Defs. Add. 24 n.22. The per curiam order does

 not address the agency’s self-evident impotence to undertake that sweeping task.

       Plaintiffs’ claims are collateral to administrative review in at least two ways:

 (1) the agency dispensed with its staff en masse only in service of its dismantling;

 and (2) Plaintiffs’ constitutional claims are not employment-based. Dissent at 6

 (citing Andrade v. Lauer, 729 F.2d 1475, 1493 (D.C. Cir. 1984); Weaver v. U.S.

 Info. Agency, 87 F.3d 1429, 1433-34 (D.C. Cir. 1996)).

       And the relevant administrative agencies lack “expertise or capacity to

 address plaintiffs’ properly framed APA and constitutional claims.” Dissent at 6-7

 (citing Axon, 598 U.S. at 194).

       4. Further crying out for en banc review is the per curiam order’s

 inconsistency with the same panel’s recent actions in NTEU v. Vought, No. 25-

 5091. There, the panel unanimously required that the CFPB reinstate employees

 necessary to the performance of the agency’s statutory duties. See Doc. #2110720,

 No. 25-5091 (D.C. Cir. Apr. 11, 2025). After the agency responded by announcing

 its intention to terminate 90% of its workforce, the panel reinstated the district

 court’s injunction precluding the agency from carrying out any RIFs. Doc.

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 #2113309, No. 25-5091 (Apr. 28, 2025). Defendants in NTEU did not raise the

 channeling issue in their stay motion, but this Court has “an independent obligation

 to assure [itself] of jurisdiction,” rendering Defendants’ failure to raise it a

 difference creating no distinction. City of N.Y. v. Nat’l R.R. Passenger Corp., 776

 F.3d 11, 14 (D.C. Cir. 2015). Because the question of federal-court jurisdiction

 over agency dismantling is certain to recur in the district court and this Court, the

 en banc Court should clarify the correct standard. 3 See Dissent at 9.

        5. Finally, to the extent the per curiam held this case presents unreviewable

 agency action because it amounts to a programmatic challenge, see Per Curiam at 4

 n.3, it fails to grapple with the fact that Plaintiffs “asked the district court to revive

 and protect . . . no more than what Congress prescribed,” Dissent at 8. The fact that

 Defendants walked away from multiple unambiguous and nondiscretionary

 mandates does not divest APA review. See id. at 9.




 3
   See, e.g., AFSA v. Trump, No. 1:25-cv-352 (D.D.C. 2025) (USAID); Brehm v.
 Marocco, No. 1:25-cv-660 (D.D.C.) (USADF); Carter v. Dep’t of Ed., 1:25-cv-744
 (D.D.C.) (Department of Education); Assoc. for Ed. Finance and Policy Inc. v.
 McMahon, 1:25-cv-999 (D.D.C.) (Department of Education Institute of Education
 Sciences); Robert F. Kennedy Human Rights v. U.S. Dep’t of Homeland Sec., 1:25-
 cv-1270 (D.D.C.) (DHS Office for Civil Rights and Civil Liberties); Pueblo of
 Isleta v. Sec’y of Dep’t of Interior, No. 1:25-cv-696 (D.D.C.) (Bureau of Indian
 Education); Am. Assoc. of People with Disabilities v. Dudek, No. 1:25-cv-977
 (D.D.C.) (Social Security Administration); Am. Library Ass’n v. Sonderling, No.
 1:25-cv-1050 (D.D.C.) (dismantling IMLS).

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 II.   THIS IS NOT A TUCKER ACT CASE

       The per curiam also erred in holding the Tucker Act likely divests this Court

 of jurisdiction to review the executive’s decision to flout mandatory statutory

 directives that it fund network grantees including RFA and MBN. Plaintiffs

 incorporate and adopt the arguments set forth in the en banc petition filed by those

 parties in Nos. 25-5150, 25-5151.

       Plaintiffs in this case are not subject to Tucker Act jurisdiction for another

 reason: They are not grantees, but rather third parties harmed as a result of

 Defendants’ unlawful withholding. They seek relief entirely “unavailable in the

 Court of Federal Claims.” See Dissent at 17 (citing Bowen v. Massachusetts, 487

 U.S. 879, 905 (1988)).

       Plaintiffs’ harms, like the grantees’, cannot be remedied after-the-fact: TNG-

 CWA members who work at RFA have been furloughed without pay since March

 21. RFA cannot return those employees to pay status until USAGM resumes its

 grant funding on a consistent basis. Add. 131-32 ¶¶ 5-6. As a result of their

 extended furlough, TNG-CWA members are losing health insurance this month.

 Defs’ Add. 35-36; Add. 131 ¶ 6. These members include individuals with serious

 health conditions who rely on their health insurance to cover life-saving treatment.

 Add. 132-33 ¶ 7. TNG-CWA members also include people “with H1-B visas”

 who, “as a result of their furlough status,” “face deportation to their home countries


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 where they could face threats, harassment, or imprisonment for their work as

 journalists.” Defs’ Add. 35-36. These harms cannot be remedied after-the-fact and

 certainly not in the Court of Federal Claims.

 III.   THE REMAINING STAY FACTORS FAVOR PLAINTIFFS

        The per curiam’s assessment of the remaining stay factors was similarly

 flawed and provides no basis to stay the district court’s injunction.

        1. In staying part (1) of the district court’s injunction, the per curiam held

 Defendants would be harmed by the loss of “control over personnel matters.” Per

 Curiam at 9-10. In so holding, the per curiam joins the government in overreading

 the scope of the district court’s order. See Widakuswara, 2025 WL 1210937, at *2.

        It also overlooks the purpose of injunctive relief: to return the parties to the

 “last uncontested status which preceded the pending controversy,” Huisha-Huisha

 v. Mayorkas, 27 F.4th 718, 733 (D.C. Cir. 2022); provide “necessary [interim]

 relief to the plaintiffs”; and “preserve the relative positions of the parties” so that

 effective relief remains available at the end of litigation, Dissent at 23-24.

 Defendants have moved quickly to dismantle USAGM and slowly to comply with

 court orders meant to pause or undo their damage. See Dissent at 2-3. Absent the

 injunction, there is little hope that USAGM and its broadcasters can be put back

 together at the end of litigation. Dissent 19-20; Add. 14 ¶ 18. True, Defendants

 have not asked to stay part (3) of the injunction, but there is “no reason to conclude


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 that the government is in fact complying with” part (3). Dissent at 3. Just today,

 counsel learned the Agency has once again revoked staff email access that was

 restored last week. “VOA cannot resume programming if all staff remains on leave

 indefinitely.” Add. 125. Parts (1) and (3) of the injunction are inextricably linked

 and together provide necessary relief.

       2. On the other side of the harm equation are the Plaintiffs’ “various” harms

 whose “gravity” the per curiam “appreciate[s],” but nonetheless holds can be

 remediated through other means and therefore apparently considers undeserving of

 weight in the forum in which Plaintiffs have chosen to litigate. Per Curiam at 11.

 The dissent saw clearly the harm that a stay will precipitate and granted it the

 weight it deserves under the law. Dissent at 19-23; see Nken v. Holder, 556 U.S.

 418, 435 (2009).

       3. The only public interest the per curiam identifies to counteract the

 profound public interest in an executive branch that follows the law is “potentially

 costly claims” to the “public fisc” arising from “personnel . . . disputes.” Per

 Curiam at 12. Of course, no Plaintiff seeks back pay or any other monetary remedy

 from Defendants. The only cost, therefore, is retaining staff who already work for

 the Agency unless there is a reason apart from the Executive Order to dismiss

 them. See Widakuswara, 2025 WL 1210937, at *3.




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                                  CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully urge this Court to grant en

 banc rehearing and deny Defendants’ emergency motion for a stay.




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 Dated:       May 5, 2025                      Respectfully Submitted,


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 1
  The views expressed herein do not purport to represent the institutional views of
 Yale Law School, if any.
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                      CERTIFICATE OF COMPLIANCE

       This brief complies with Federal Rule of Appellate Procedure 40(d)(3)

 because it contains 3,900 words. This brief also complies with Federal Rule of

 Appellate Procedure 32(a)(5) and (6) because it was prepared using Times New

 Roman, a proportionally spaced typeface.


 Dated: May 5, 2025                           s/Daniel M. Eisenberg
                                              Daniel M. Eisenberg




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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
 No. 25-5144                                                 September Term, 2024
                                                                       1:25-cv-01015-RCL
                                                        Filed On: May 3, 2025
 Patsy Widakuswara, et al.,

               Appellees

        v.

 Kari Lake, in her official capacity as Senior
 Advisor to the Acting CEO of the U.S. Agency
 for Global Media, et al.,

               Appellants



 No. 25-5145                                                           1:25-cv-00887-RCL




 Michael Abramowitz, in his official capacity as
 Director of Voice of America, et al.,

               Appellees

        v.

 Kari Lake, in her official capacity as Senior
 Advisor to the Acting CEO of the United
 States Agency for Global Media, et al.,

               Appellants
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                    United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
 No. 25-5144                                                 September Term, 2024


 No. 25-5150
                                                                       1:25-cv-00966-RCL


 Middle East Broadcasting Networks, Inc.,

               Appellee

        v.

 United States of America, et al.,

               Appellants


 No. 25-5151
                                                                       1:25-cv-00907-RCL


 Radio Free Asia,

               Appellee

        v.

 United States of America, et al.,

               Appellants

        BEFORE:       Pillard*, Katsas, and Rao, Circuit Judges

                                          ORDER

        Upon consideration of the motions for stay pending appeal filed in the above-
 captioned cases, the responses thereto, and the replies; and the administrative stay
 entered on May 1, 2025, it is


 *Judge Pillard dissents from the grant of the motions for stay.
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                   United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
 No. 25-5144                                                 September Term, 2024

        ORDERED that the motions for stay pending appeal be granted. The following
 orders, or parts thereof, are stayed pending further order of the court:

        In No. 25-5144, provisions (1) and (2) of the district court’s preliminary injunction
 filed April 22, 2025;

        In No. 25-5145, the district court’s preliminary injunction filed April 22, 2025, to
 the extent the relief granted falls within provisions (1) and (2) of the April 22, 2025
 preliminary injunction in No. 25-5144;

        In No. 25-5150, the district court’s preliminary injunction filed April 25, 2025;

        In No. 25-5151, the district court’s preliminary injunction filed April 25, 2025.

        A per curiam concurring statement and a dissenting statement of Judge Pillard
 are attached. It is

       FURTHER ORDERED that the administrative stay entered in Nos. 25-5144, 25-
 5150, and 25-5151 be dissolved.


                                         Per Curiam


                                                           FOR THE COURT:
                                                           Clifton B. Cislak, Clerk

                                                   BY:     /s/
                                                           Amy Yacisin
                                                           Deputy Clerk




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                 PER CURIAM: For the following reasons, we grant the
             government’s motion for a stay pending appeal.

                                            I

                 The United States Agency for Global Media oversees six
             federally funded broadcast networks. One of these, Voice of
             America, is operated by government employees and
             contractors. Others, including Radio Free Asia and Middle
             East Broadcasting Networks, operate as private, non-profit
             corporations. Through appropriations, Congress has allocated
             specific funding for the private networks, which USAGM
             disburses through grants.      E.g., Further Consolidated
             Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
             138 Stat. 460, 735; Explanatory Statement Submitted by Ms.
             Granger, Chair of the House Committee on Appropriations,
             Regarding H.R. 2882, Further Consolidated Appropriations
             Act, 2024, 170 Cong. Rec. H1501, H2089 (Mar. 22, 2024).

                 On March 14, 2025, the President issued Executive Order
             14238, which directed USAGM leadership to reduce the
             agency to the minimum level of operations required by statute.
             90 Fed. Reg. 13043. In response, USAGM placed over 1,000
             employees on administrative leave, terminated nearly 600
             personal-service contractors, and terminated RFA’s and
             MBN’s grant agreements for the 2025 fiscal year.
             Widakuswara v. Lake, No. 25-CV-1015, 2025 WL 1166400, at
             *3 (D.D.C. Apr. 22, 2025). USAGM further directed its
             personnel abroad to cease broadcasting through VOA. Id.

                  Various plaintiffs, including USAGM employees,
             contractors, and grantees, filed lawsuits to challenge these
             actions in our district court. In one of the cases, the district
             court granted a preliminary injunction requiring USAGM to
             (1) restore its employees and contractors to their pre-March 14
             status, (2) restore its FY 2025 grants with RFA and MBN, and
             (3) restore VOA as “a consistently reliable and authoritative
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             source of news.” Widakuswara, 2025 WL 1166400, at *18.
             The court granted parallel relief in the other cases.

                  USAGM appealed and sought a stay of the first two
             portions of the preliminary injunction. Because of imminent
             funding deadlines, parties on both sides have requested
             expedited consideration of the stay motion.1

                                             II

                  To resolve the stay motion, we consider whether the
             government is likely to prevail on appeal, any irreparable harm
             to the government, harms to the plaintiffs and others, and the
             public interest. See Nken v. Holder, 556 U.S. 418, 425–26
             (2009). Applying these factors, we conclude that a stay is
             warranted.

                                             A

                  The government is likely to succeed on the merits because
             the district court likely lacked subject-matter jurisdiction to
             enjoin USAGM’s personnel actions and to compel the agency
             to restore RFA’s and MBN’s FY 2025 grants.

                                             1

                  The district court likely lacked jurisdiction over
             USAGM’s personnel actions. “We have long held that federal
             employees may not use the Administrative Procedure Act to
             challenge agency employment actions.” Filebark v. U.S. Dep’t

                 1
                      Radio Free Europe, another private network funded by
             USAGM, filed a similar suit and received a temporary restraining
             order. See RFE/RL, Inc. v. Lake, No. 25-CV-799, 2025 WL 1232863
             (D.D.C. Apr. 29, 2025). The government has filed a separate motion
             to stay that order, which we do not resolve here.
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             of Transp., 555 F.3d 1009, 1010 (D.C. Cir. 2009). Congress
             has instead established comprehensive statutory schemes for
             adjudicating employment disputes with the federal
             government.2 See, e.g., 5 U.S.C. §§ 1204, 7121–22, 7701
             (Merit Systems Protection Board); id. § 1214 (Office of the
             Special Counsel); id. § 7104 (Federal Labor Relations
             Authority); 22 U.S.C. § 4107 (Foreign Service Labor Relations
             Board); id. § 4136 (Foreign Service Grievance Board); 41
             U.S.C. §§ 7103–05 (Civilian Board of Contract Appeals).
             These remedial schemes “provide[] the exclusive procedures
             by which federal employees” may pursue employment- and
             contractor-related claims. Am. Fed’n of Gov’t Emps., AFL-
             CIO v. Trump, 929 F.3d 748, 755 (D.C. Cir. 2019); see, e.g.,
             Am. Foreign Serv. Ass’n v. Baker, 895 F.2d 1460, 1461–62
             (D.C. Cir. 1990) (foreign-service labor-related claims must go
             through FSLRB); Dalton v. Sherwood Van Lines, Inc., 50 F.3d
             1014, 1017 (Fed. Cir. 1995) (Contract Disputes Act provides
             exclusive remedial scheme for covered contracts). “Federal
             employees may not circumvent [these statutes’] requirements
             and limitations by resorting to the catchall APA to challenge
             agency employment actions.” Grosdidier v. Chairman, Broad.
             Bd. of Governors, 560 F.3d 495, 497 (D.C. Cir. 2009). “And
             that principle applies to a ‘systemwide challenge’ to an agency
             policy … just as it does to the implementation of such a policy
             in a particular case.” Nyunt v. Chairman, Broad. Bd. of
             Governors, 589 F.3d 445, 449 (D.C. Cir. 2009).


                 2
                     The dissent doubts that Congress’s chosen administrative
             methods could meaningfully process agency-wide claims for over
             1,000 employees. But administrative agencies are not powerless to
             issue broad-reaching relief in large-scale personnel matters. See
             Order on Stay Request, Special Counsel ex rel. John Doe v.
             Department of Agriculture, No. CB-1208-25-0020-U-1 (MSPB Mar.
             5, 2025), https://perma.cc/3F45-PKG5 (single MSPB order staying
             termination of nearly 6,000 employees).
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                  The district court nonetheless justified the injunction on
             the ground that “this case is not simply a collection of
             employment disputes” because the “facts on the record and on
             the ground” suggest USAGM is being “dismantl[ed].”
             Widakuswara, 2025 WL 1166400, at *11. And in their stay
             briefing, plaintiffs expressly frame their claims as challenging
             the “wholesale shuttering of VOA” and seeking to undo “broad
             government actions” to “dismantl[e] an entire federal agency.”
             Abramowitz Opp’n to Stay Mot. at 13, 18; Widakuswara
             Opp’n to Stay Mot. at 14. Yet plaintiffs may not use the APA
             to mount “wholesale” challenges to an agency’s “entire
             program.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 893
             (1990) (cleaned up). The APA cause of action, like its
             sovereign-immunity waiver, provides for judicial review of
             “discrete agency actions.” Norton v. S. Utah Wilderness All.,
             542 U.S. 55, 64 (2004); see 5 U.S.C. §§ 702, 704. The
             “dismantling” that plaintiffs allege is a collection of “many
             individual actions” that cannot be packaged together and “laid
             before the courts for wholesale correction under the APA.”
             Nat’l Wildlife Fed’n, 497 U.S. at 893.3 Thus, while USAGM’s
             employees and contractors might have viable, discrete claims
             with respect to their individual personnel actions, those claims
             must be pursued through other remedial channels.

                                              2

                The district court also likely lacked jurisdiction to restore
             RFA’s and MBN’s FY 2025 grants.



                 3
                    Before the district court and here, the government maintained
             that plaintiffs fail to challenge any discrete, circumscribed agency
             action as required under the APA and instead seek judicial review of
             the agency’s general compliance with its statutory mandate. See
             Opp. to Preliminary Injunction 30; Stay Mot. 22–23.
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                                             5
                  The Tucker Act vests the Court of Federal Claims with
             jurisdiction over claims against the United States “founded …
             upon any express or implied contract with the United States.”
             28 U.S.C. § 1491(a)(1). We have long held that this
             jurisdictional grant, where it applies, is exclusive and thus bars
             application of the sovereign-immunity waiver set forth in the
             APA. Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38
             F.4th 1099, 1106 (D.C. Cir. 2022); see 5 U.S.C. § 702
             (providing that APA waiver of sovereign immunity is
             inapplicable where “any other statute that grants consent to suit
             expressly or impliedly forbids the relief which is sought”). For
             Tucker Act purposes, whether a claim is “founded upon” a
             contract hinges on “the source of the rights upon which the
             plaintiff bases its claims, and upon the type of relief sought.”
             Crowley, 38 F.3d at 1106 (quoting Megapulse, Inc. v. Lewis,
             672 F.2d 959, 968 (D.C. Cir. 1982)). If a claim against the
             United States is contractual “at its essence,” district courts have
             no power to resolve it. Id. (quoting Megapulse, 672 F.2d at
             967). The same rule applies to claims for breach of grant
             agreements executed through binding government contracts.
             See Columbus Reg’l Hosp. v. United States, 990 F.3d 1330,
             1338–40 (Fed. Cir. 2021).

                  The Supreme Court recently applied these principles to
             issue a stay pending appeal in a case substantially similar to
             this one. In Department of Education v. California, 145 S. Ct.
             966 (2025) (per curiam), a district court entered an order
             “enjoining the Government from terminating various
             education-related grants.” Id. at 968. The Supreme Court
             stayed the order pending the disposition of an appeal to the
             First Circuit and any ensuing petition for certiorari. Id. at 696.
             The Court concluded that the district court likely lacked
             jurisdiction to bar termination of the grants, because the Tucker
             Act likely conferred jurisdiction over the dispute on the CFC.
             Id. Therefore, “the APA’s limited waiver of immunity d[id]
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             not extend” to the injunction at issue, which the Court
             described as an “order[] to enforce a contractual obligation to
             pay money.” Id. (cleaned up).

                  That reasoning controls this case. Congress created a
             contractual scheme for allocating funds to the grantees. It
             authorizes USAGM to fund RFA, MBN, and other networks
             through “grants and cooperative agreements.” 22 U.S.C.
             § 6204(a)(5). Likewise, the governing appropriation statute
             allocates specific funding amounts for “grants” to those
             networks. 2024 Appropriations Act, 138 Stat. at 735. In the
             grants at issue here, USAGM, acting through its Chief
             Executive Officer, promised to pay the appropriated funds to
             the networks in monthly installments. In return, the networks
             promised to use the funds to advance statutory objectives and
             to comply with all program requirements. These exchanges of
             promises—reflecting offer, acceptance, consideration,
             mutuality of intent, and action by an official with authority to
             bind the government—constitute government contracts for
             Tucker Act purposes. Columbus Reg’l Hosp., 990 F.3d at
             1338–39.

                   By the district court’s own telling, the dispute here arose
             when USAGM terminated these agreements. Widakuswara,
             2025 WL 1166400, at *3. The district court ordered
             “restor[ation] [of] the FY 2025 grants” and “disbursement to
             RFA and MBN of the funds Congress appropriated.” Id. at
             *18. Whether phrased as a declaration that the agreements
             remain in force, or an order to pay the money committed by
             those agreements, the injunction in substance orders specific
             performance of the grant agreements—a quintessentially
             contractual remedy. See Ingersoll-Rand Co. v. United States,
             780 F.2d 74, 79–80 (D.C. Cir. 1985); Spectrum Leasing Corp.
             v. United States, 764 F.2d 891, 894–95 (D.C. Cir. 1985). And
             it is the inherently contractual nature of the relief afforded—
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             not any characterization of the relief as money damages—that
             makes the CFC the exclusive forum for this suit. See Ingersoll-
             Rand, 780 F.2d at 79–80 (holding a plaintiff “may not sidestep”
             CFC jurisdiction by “avoiding a request for damages,” when
             their request relief “amount[s] to a request for specific
             performance”); see also Crowley, 38 F.4th at 1107 (cautioning
             against “creative drafting of complaints … to avoid the
             jurisdictional consequences of the Tucker Act” (cleaned up)).

                  To distinguish California, the plaintiffs stress that
             Congress appropriated specific sums for RFA and MBN.
             Accordingly, plaintiffs contend, they may file an APA claim—
             independent of and antecedent to their grant agreements—to
             force USAGM to disburse the appropriated amounts. But
             plaintiffs overread the governing statutes, which do not give
             the networks an unqualified right to the appropriated funds.
             Rather, they allocate funds for the networks, which may be
             disbursed only as grants. See 2024 Appropriations Act, 138
             Stat. at 735. If these statutes created any entitlement for the
             networks at all, they at most would require USAGM to enter
             grants obligating the appropriated amounts to the networks. Cf.
             Train v. City of New York, 420 U.S. 35, 40–43 & n.9 (1975).4
             Thus, any APA claim under these statutes would have to allege
             that the government failed to enter a grant agreement obligating
                  4
                     And even then, USAGM may impose various conditions on a
             network’s receipt of the appropriated funds. See 22 U.S.C. § 6208(c)
             (listing “limitations and restrictions” to be contained in “[a]ny grant
             agreement”); 2024 Appropriations Act, 138 Stat. at 735 (“funds
             appropriated under this heading shall be made available in
             accordance with the principles and standards” of the statute).
             Moreover, even after USAGM has entered into grant agreements, the
             agency still may “award the grant … to another entity” if, “at any
             time,” it determines that the network “is not carrying out the
             [statutory] functions … in an effective and economical manner.” 22
             U.S.C. § 6208(g).
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             the appropriated amount. See Nat’l Ctr. for Mfg. Scis. v. United
             States, 114 F.3d 196, 199–200 (Fed. Cir. 1997) (NCMS). But
             here, USAGM did obligate the appropriated funds through
             grants, thereby satisfying whatever duty (if any) it had under
             the appropriation statutes. See Widakuswara, 2025 WL
             1166400, at *4–*5. Once the agency entered these contracts,
             it incurred a new obligation: Unlike the relevant statutes, the
             grant agreements require the government to make monthly
             payments to the networks—the very obligation prompting this
             highly expedited stay litigation. Accordingly, the claims of
             government nonpayment necessarily challenge its performance
             under the grants. Such claims are squarely contract claims
             under the Tucker Act. See Boaz Housing Auth. v. United
             States, 994 F.3d 1359, 1368–69 (Fed. Cir. 2021) (explaining
             NCMS); see also Ingersoll-Rand, 780 F.2d at 78–80 (Tucker
             Act applies to claims that the government’s termination of a
             contract violated statutes or regulations incorporated therein).5

                 The plaintiffs’ non-APA claims regarding grant money are
             unlikely to fare any better. Below, plaintiffs raised mandamus,
             impoundment, Presentment Clause, Appropriations Clause,
             Spending Clause, Take Care Clause, Separation-of-Powers,

                 5
                    The dissent describes 22 U.S.C. § 6208(c)(5) as significantly
             limiting the circumstances in which USAGM may terminate grants.
             However, that provision sets forth when grants may be “terminated
             without fiscal obligation to the United States.” 22 U.S.C. §
             6208(c)(5) (emphasis added). It thus confirms our conclusion that
             Congress contemplated financial liability under the grant as the
             remedy for any breach. The dissent also notes that the government
             cannot prevent enforcement of statutes through the APA merely by
             incorporating the statutes into contracts. The dissent is correct on
             that point. See Megapulse, 672 F.2d at 967. But in this statute,
             Congress chose to use a contractual mechanism for obligating the
             appropriated funds, rather than creating a freestanding statutory
             entitlement.
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             and ultra vires claims. And before our Court, plaintiffs argue
             that “serious constitutional question[s]” would arise if we
             concluded that the CFC had exclusive jurisdiction, as that
             would deprive them of meaningful judicial review of their
             constitutional claims. Widakuswara Opp’n to Stay Mot. at 18
             (citing Webster v. Doe, 486 U.S. 592, 603 (1988)). But these
             constitutional claims simply flow from allegations that the
             Executive Branch has failed to abide by governing
             congressional statutes, which does not suffice to trigger the
             distinctively strong presumptions favoring judicial review of
             constitutional claims. Dalton v. Specter, 511 U.S. 462, 472–74
             (1994); see also Ingersoll-Rand, 780 F.2d at 78 (Tucker Act
             governs challenge to contract termination, “despite plaintiff’s
             allegations of statutory and constitutional violations” (cleaned
             up)).6 Moreover, these claims fall short for the same reason as
             plaintiffs’ APA claims: At most, the statutes in question
             required USAGM to allocate the appropriated amounts through
             grants enforceable as contracts, which USAGM has done.

                                              B

                 On balance, the remaining Nken factors support a stay.

                  Irreparable Harm. The government has shown that it will
             face irreparable harm absent a stay. As to the reinstatement of
             USAGM employees and personal-service contractors: The
             Executive Branch has a significant interest in maintaining
             control over personnel matters. See Sampson v. Murray, 415

                 6
                     In the district court, the Widakuswara plaintiffs also raised
             Appointments Clause and First Amendment claims. The district
             court did not address them in granting the preliminary injunction,
             Widakuswara, 2025 WL 1166400, at *5 n.13, *15 n.26, and the
             plaintiffs do not assert them as grounds for denying a stay. So, we
             do not consider these claims in resolving these stay motions.
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             U.S. 61, 83 (1974). In requiring the restoration of all
             employees and contractors to their pre-March 14 status, the
             injunction interferes with this important responsibility. This
             intrusion is particularly harmful because it implicates the
             Executive Branch’s foreign-affairs authority. USAGM is
             responsible for “present[ing] the views of the United States
             Government” and “support[ing] United States foreign policy
             objectives” in the international community. 22 U.S.C.
             § 6202(b)(3), (4). By depriving the Executive Branch of
             control over the individuals involved in its international
             broadcasting, the injunction threatens its prerogative to “speak
             with one voice” on behalf of the United States in foreign
             affairs. Cf. Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1,
             14 (2015); United States v. Curtiss-Wright Exp. Corp., 299
             U.S. 304, 319–20 (1936).

                  As to the restoration of the grants: Absent a stay, USAGM
             would be forced to imminently pay out some $15 million to
             RFA and MBN. And RFA and MBN have attested they intend
             to spend these funds “immediately.” Network Opp’n to Stay
             Mot. at 22. Because the district court did not require plaintiffs
             to post any injunction bond, Widakuswara, 2025 WL 1166400,
             at *17,7 USAGM cannot recover these funds even if it should
             prevail in its appeal. Under these circumstances, harm to the
             government is irreparable. See California, 145 S. Ct. at 969.


                 7
                    Federal Rule of Civil Procedure 65(c) provides that a district
             court “may issue a preliminary injunction or a temporary restraining
             order only if the movant gives security in an amount that the court
             considers proper to pay the costs and damages sustained by any party
             found to have been wrongfully enjoined or restrained.” Fed. R. Civ.
             P. 65(c) (emphasis added). The “precise purpose” of such a bond is
             to ensure that a defendant can be fairly compensated for injury
             stemming from a wrongfully granted injunction. Nat’l Kidney
             Patients Ass’n v. Sullivan, 958 F.2d 1127, 1134 (D.C. Cir. 1992).
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                  Harm to Others. Plaintiffs identify various harms that they
             and others may incur absent a stay, including loss of
             employment, the possible collapse of MBN and RFA, the
             elimination of a union’s bargaining unit, and the removal of
             alien employees and contractors to countries hostile to the free
             press. Although we appreciate the gravity of these harms, there
             remain several avenues for their remediation. See Chaplaincy
             of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.
             Cir. 2006) (“[T]he injury must be beyond remediation.”). Loss
             of government employment generally does not constitute
             irreparable injury, see Sampson, 415 U.S at 91–92 & n.68,
             especially since employees seeking to challenge their
             termination or placement on administrative leave may seek
             emergency stays from the Office of Special Counsel and
             MSPB, see 5 U.S.C. § 1214(b). Personal-service contractors
             may likewise challenge their termination under the Contract
             Disputes Act, and unions may file complaints on behalf of their
             members before the FLRA. E.g., Ho v. United States, 49 Fed.
             Cl. 96, 101 (2001) (CFC exercising jurisdiction over personal-
             service contract), aff’d, 30 F. App’x 964 (Fed. Cir. 2002); see
             41 U.S.C. § 7101 et seq.; 5 U.S.C. § 7118. Journalists may
             seek relief in immigration proceedings to avoid potential
             persecution based on their political opinions. See 8 U.S.C.
             §§ 1101(a)(42)(A), 1158 (asylum); id. § 1231(b)(3)
             (withholding of removal). As for MBN and RFA, they may
             seek to recover any wrongfully withheld grant funds in the
             CFC. 28 U.S.C. § 1491(a)(1). Indeed, for almost a month, the
             Supreme Court has made clear that the CFC is likely the only
             forum open to them. See California, 145 S. Ct. at 968.8



                 8
                     We need not consider any potential harm from shuttering
             VOA; the district court ordered USAGM to resume VOA’s
             statutorily required programming levels, and the government has not
             sought to stay that provision of the injunction.
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                  Public Interest.        Plaintiffs allege that USAGM’s
             implementation of the Executive Order has violated numerous
             statutory requirements. At this stage of the litigation, the
             government has raised jurisdictional, not merits, defenses. Of
             course, we recognize that the public has an interest in the
             Executive Branch’s compliance with congressional mandates.
             League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12
             (D.C. Cir. 2016). By the same token, however, the public has
             an interest in the Judicial Branch’s respect for the jurisdictional
             boundaries laid down by Congress. Because personnel and
             grant disputes directly concern the public fisc, Congress has
             limited the resolution of these potentially costly claims to
             specialized tribunals such as the MSPB and the CFC. We must
             respect those boundaries no less than the substantive and
             appropriations provisions governing the operation of USAGM.
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                  PILLARD, Circuit Judge, dissenting: Defendants are
             unlikely to succeed on the merits: They have not persuasively
             established that the district court lacked authority to enter the
             preliminary injunction. Meanwhile, Voice of America, Radio
             Free Asia, and Middle East Broadcasting Networks face severe
             and irreparable harm absent injunctive relief. Voice of
             America has gone dark for the first time since 1942. Radio
             Free Asia and Middle East Broadcasting Networks face
             imminent collapse if they do not receive the funding Congress
             directed to each of them by name. The purpose of a stay
             pending appeal is to maintain the status quo until a case can be
             fully adjudicated on its merits. This stay does the opposite,
             silencing Voice of America for the foreseeable future and
             eliminating Radio Free Asia and Middle East Broadcasting
             Networks’ ability to see this case through to the end.

                                             I.

                  Defendants are not likely to succeed on the merits. They
             do not claim that any court would likely hold that they are
             carrying out the will of Congress. They argue instead that other
             entities should have heard plaintiffs’ claims. Part A describes
             the strong likelihood that the plaintiffs who worked for Voice
             of America did not have to spend years attempting to channel
             their claims through federal labor and employment
             administrative processes before they could file this suit under
             the Administrative Procedure Act to set aside the Agency’s
             efforts to dismantle the work of Congress. It also defends the
             scope of the district court’s preliminary injunction as
             commensurate with defendants’ baby-with-the-bathwater
             approach to asserting their “policy priorities.” Part B turns to
             the strong likelihood that the district court had jurisdiction over
             the claims of Radio Free Asia and Middle East Broadcasting
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                                             2
             Networks, contrary to contentions that those claims belong in
             the Court of Federal Claims.

                                            A.

                  On March 14, 2025, the President signed Executive Order
             14238, Continuing the Reduction of the Federal Bureaucracy,
             directing USAGM to “reduce the performance of [its] statutory
             functions and associated personnel to the minimum presence
             and function required by law,” and to eliminate “the non-
             statutory components and functions” of the agency “to the
             maximum extent consistent with applicable law.” 90 Fed. Reg.
             13043 (Mar. 14, 2025). The EO directed the head of USAGM
             to report its compliance to OMB with an explanation of “which
             components or functions of the governmental entity, if any, are
             statutorily required and to what extent.” Id. (emphasis added).

                  The very next day, USAGM’s website featured a statement
             announcing that the Agency—which it described as producing
             “radical propaganda,” “rot from top to bottom”—is
             “irretrievably broken” and “not salvageable.”1 Apparently
             having concluded that none of the functions of Voice of
             America or the foreign affiliate networks is statutorily required,
             the agency’s acting leadership proceeded to dismantle all of
             them.

                  To that end, the district court found, defendants “took
             immediate and drastic action to slash USAGM, without
             considering its statutorily or constitutionally required
             functions.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL,
             2025 WL 1166400, at *14 (D.D.C. Apr. 22, 2025). The day

             1
              USAGM, Senior Advisor Kari Lake Cancels Obscenely Expensive
             15-Year-Lease that Burdened the Taxpayers and Enforces Trump’s
             Executive Order to Drastically Downsize Agency, U.S. AGENCY FOR
             GLOBAL MEDIA (Mar. 15, 2025), https://perma.cc/YQA4-3TVA.
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             after the EO was signed, the agency’s acting leadership sent a
             boilerplate e-mail to 1,042 of the 1,147 full-time employees
             placing them on administrative leave and another such email to
             each USAGM affiliated network terminating its grant on the
             ground that it “no longer effectuates agency priorities.” Id. at
             *3 & n.5. The next day, the government cancelled all USAGM
             personal service contracts. It then instructed all the USAGM
             foreign news services to shut down their transmitters and place
             locally employed staff on leave. USAGM prepared to send
             termination notices to every radio broadcast technician
             working for it anywhere in the world who was not already in
             the process of retiring. Id. at *3. The government informed
             plaintiff AFGE of its plan to terminate 594 employees who are
             AFGE members. Id.

                   As a result of those wholesale actions, USAGM’s flagship
             station, Voice of America, stopped reporting the news “for the
             first time in its 80-year existence.” Id. Voice of America’s
             affiliate networks abroad went dark or switched to airing only
             music. Widakuswara Compl. ¶ 82.

                  The statute is clear: Voice of America must “serve as a
             consistently reliable and authoritative source of news.” 22
             U.S.C. § 6202(c)(1). The government touts that it did not
             challenge part (3) of the injunction compelling its compliance
             with that statutory directive. Gov’t Stay Mot. 1. But the
             significance of that caveat—beyond the purely symbolic—
             remains a mystery. The district court found as fact that the
             Agency has placed on leave or terminated all the VOA
             employees and contractors who are necessary to fulfilling that
             mandate. See Widakuswara Compl. ¶ 83 (all transmitters
             abroad shuttered and all locally employed staff placed on
             administrative leave). And there is no reason to conclude that
             the government is in fact complying with the injunction to get
             Voice of America back up and running. Plaintiff Abramowitz
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             emailed Defendants Lake and Morales the morning after the
             district court entered the injunction, asking about their plans to
             bring VOA staff back to work. He received no response.
             Abramowitz Opp’n 21. No status report or other filing or
             source of information suggests that Voice of America has
             resumed broadcasting the news.

                   In support of its emergency motion for a stay pending
             appeal in the Voice of America cases, the government contends
             it is likely to succeed on the merits in its defense against the
             claims of Voice of America’s employees for two related
             reasons. First, as a threshold matter, it asserts that the district
             court lacked jurisdiction over the employee plaintiffs’ claims
             because the employees did not first seek relief from the Merit
             Systems Protection Board (MSPB) (for employment disputes),
             the Federal Labor Relations Authority (FLRA) (for labor
             disputes), or the Office of Special Counsel (for prohibited
             personnel practices). Gov’t Stay Mot. 20-21. Second, the
             government argues that the preliminary injunction is overbroad
             in ways that are unsupported by the claims the district court
             held were likely to succeed. Gov’t Stay Mot. 19-21.

                  1. The administrative channeling defense is inapposite
             here. The government contends that plaintiffs must treat their
             wholesale removal from the workplace as if it were an
             aggregation of individualized employment actions. It suggests
             that the correct response is for each of the hundreds of
             employees to proceed with a separate, identical administrative
             claim at the MSPB or FLRA. I would not indulge any such
             fiction. Defendants themselves never did. They took broad,
             blunt, and decisive action to gut USAGM and VOA. They sent
             identical notices to all VOA employees. Widakuswara Compl.
             ¶ 74. Nothing about each decision or its execution was
             individualized.      No employment-related rationale was
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             offered—except the cold comfort that the action was not for
             any “disciplinary purpose.” Id.

                  Defendants give no realistic indication why administrative
             exhaustion is required here other than to weakly suggest that,
             viewed as individual employment actions, some “may be
             entirely lawful.” Gov’t Stay Mot. 21. The government leaves
             unsaid how review by the agencies it identifies could discern
             in any individualized sense how a wholesale removal of public
             sector employees from their jobs without employment-related
             grounds, notice, or prospects for return “may” be found to be
             lawful—or not—by the employment-review agencies to which
             they would direct the plaintiffs.

                  Even taken at face value, the government’s channeling
             argument is unlikely to succeed. See Widakuswara, 2025 WL
             1166400, at *10-11.          Channeling plaintiffs’ claims to
             administrative bodies designed to adjudicate individual
             employment or labor disputes would entirely shut off
             meaningful judicial review of the claims plaintiffs assert. The
             VOA plaintiffs challenge the dismantling of USAGM through
             the wholesale placement of employees on administrative leave
             with one boilerplate letter. The agency took that action without
             any employee-related justification. The announced reason
             defendants acted as they did was to dismantle a broadcaster
             whose mission and operation they disdain. That is not a
             “covered agency action[]” that must proceed through the
             administrative review scheme. Elgin v. Dep’t of Treasury, 567
             U.S. 1, 5-6, 10 (2012) (emphasis added). Nor is the action
             challenged here a matter of federal sector “employee relations”
             that must proceed through the Federal Labor Relations
             Authority. Cf. Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump,
             929 F.3d 748, 755 (D.C. Cir. 2019). The plaintiffs in this
             lawsuit challenge the evisceration of their jobs only insofar as
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             it is the means by which they challenge defendants’ unlawfully
             halting the work of Voice of America and shutting it down.

                  The channeling defense does not in any event reach all
             claims in the VOA cases. As the district court pointed out,
             Widakuswara, 2025 WL 1166400, at *10, there is no scenario
             in which the claims the nonprofit press organizations or
             personal service contractors raise could conceivably be
             channeled through the Federal Service Labor-Management
             Relations Statute, the Civil Service Reform Act, or the Foreign
             Service Act. There is no administrative agency from which
             plaintiffs Reporters Without Borders, Reporters Sans
             Frontières, or personal service contractors John Does 3 and 4
             might seek relief, even if it made sense for them to try. Given
             defendants’ failure to acknowledge or address the lack of any
             administrative process available to these plaintiffs, there is no
             basis to conclude the threshold challenge to the district court’s
             jurisdiction to hear these plaintiffs’ APA and constitutional
             claims is likely to succeed.

                  Plus, all the employees raise constitutional claims,
             including under the First Amendment, separation of powers,
             and the Take Care Clause. The government fails to
             acknowledge those claims. Constitutional claims are collateral
             to any review afforded by the Civil Service Reform Act and the
             Federal Service Labor-Management Relations Statute. Article
             III courts may retain jurisdiction over employment claims of
             federal employees that raise constitutional challenges. See
             Andrade v. Lauer, 729 F.2d 1475, 1493 (D.C. Cir. 1984)
             (retaining jurisdiction over allegation that officials responsible
             for reduction-in-force action held office in violation of the
             Appointments Clause); Weaver v. U.S. Info. Agency, 87 F.3d
             1429, 1433-34 (D.C. Cir. 1996) (retaining jurisdiction over
             employee’s First Amendment claim). The agencies’ lack of
             expertise or capacity to address plaintiffs’ properly framed
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             APA and constitutional claims is another reason the channeling
             requirement is unlikely to apply to them. See generally, Axon
             Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 194 (2023)
             (“The Commission knows a good deal about competition
             policy, but nothing special about the separation of powers.”).
             Far more likely—and certainly more appropriate in every
             practical sense—is that the government’s mass action to
             eliminate virtually all the agency’s employees, like its action of
             wholesale elimination of the agency’s contractors, is subject to
             review directly in the district court to determine whether it was
             arbitrary or unlawful under the APA and in excess of the
             executive’s unilateral authority.

                  2. The plaintiffs are also likely to succeed in defending
             the district court’s injunction restoring the VOA employees to
             their pre-March 15 status as relief properly tailored to the
             employee-plaintiffs’ claims. The government protests that the
             district court issued a “broad programmatic order” to enforce
             compliance with a “broad statutory mandate,” which they
             claim exceeds the bounds of judicial review of agency actions
             set by Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871 (1990) and
             Norton v. S. Utah Wilderness All. (SUWA), 542 U.S. 55 (2004).
             Gov’t Stay Mot. 22-23. The fashioning of effective equitable
             relief is highly discretionary and context-specific. As applied
             here, the government’s cookie-cutter objection to the
             injunction in this case, entered by a highly experienced and
             able district judge based on a powerful record of extraordinary
             and categorical government conduct, does not persuade.

                  The scope of plaintiffs’ claims and the preliminary relief
             granted to preserve their chance of permanent relief should
             they prevail differs in important ways from what the Court
             deemed problematic in Lujan and SUWA. The plaintiffs in
             Lujan challenged the Department of the Interior’s operations in
             reviewing, classifying, and developing plans for various public
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             lands. 497 U.S. at 890. As the Supreme Court observed, the
             “so-called ‘land withdrawal review program’” they challenged
             was plaintiffs’ own construct. Id. The complaint did not “refer
             to a single [agency] order or regulation, or even to a completed
             universe of particular [agency] orders and regulations,” but to
             a “continuing” and “constantly changing” amalgam of
             discretionary activities. Id. Unsurprisingly, the Court saw no
             final, reviewable agency action in the “program” to which
             plaintiffs objected. The conduct plaintiffs challenge in this
             case is discrete and clear: halting the work of virtually all the
             employees working at Voice of America and bringing the
             operation of that station to a halt. What they asked the district
             court to revive and protect is no more than what Congress
             prescribed. The kind of difficulty described in Lujan is absent
             here. Here, there is no “continuing” and “constantly changing”
             set of agency operations being placed before the court.

                  This case is also not a “programmatic” challenge to agency
             policies and does not, contrary to the government’s
             remonstrance, require the court to run the agency. Defendants
             rely on SUWA, in which the Supreme Court rejected plaintiffs’
             request to force the Bureau of Land Management to comply
             with a statutory obligation to manage certain public lands “in a
             manner so as not to impair the suitability of such areas for
             preservation as wilderness.” 542 U.S. at 65 (quoting 43 U.S.C.
             § 1782(c)). Plaintiffs there urged the district court to order their
             preferred managerial regime by making the agency promulgate
             rules to prohibit the use of off-road vehicles. The Court
             observed that the statute at issue “assuredly [did] not mandate,
             with the clarity necessary to support judicial action . . . the total
             exclusion of [off-road vehicle] use.” Id. at 66. Unlike in
             SUWA, plaintiffs are not seeking to direct the court to bring into
             being an alternative suite of broadcast stations to the one that
             Congress defined and funded. Instead, there is a “completed
             universe” of agency actions that plaintiffs have alleged, and the
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             district court agreed, are unlawful. Again, because they are
             likely to succeed in that claim, I would deny the stay.

                  The government cannot seriously contend on this posture
             that the relevant statutes—or more foundationally the
             constitutional separation of powers—permit the President to
             wholly scupper Voice of America and its affiliated Networks.
             Defendants characterize the claims as an impermissible attempt
             to clump together “many individual actions” and
             impermissibly challenge them as one under the APA. The fact
             that the government elected to take many unlawful agency
             actions in short order—thereby putting the whole agency on the
             chopping block—does not exempt their violations from
             judicial scrutiny. See Widakuswara, 2025 WL 1166400, at
             *11. Yes, the pace and scope of the government’s destructive
             efforts present the courts with remedial challenges in this and
             many other recent cases. But the very volume of lawbreaking
             and the scope of operational functioning laid waste does not
             add up to courts losing the power to determine the lawfulness
             of agency action. And the government has not meaningfully
             disputed that the statute mandates “with the clarity necessary
             to support judicial action” that the USAGM operations
             Congress ordered be established and funded must continue to
             exist absent congressional action to the contrary.

                                            B.

                  Defendants are similarly unlikely to succeed on the merits
             of their challenge to the preliminary injunction as it applies to
             Radio Free Asia (RFA) and Middle East Broadcasting
             Networks (MBN) (the Networks). Federal laws passed by
             Congress require the allocation of specified grant funding to
             the Networks. Nonetheless, defendants purported to terminate
             the Networks’ grant agreements and are withholding funds
             allocated to them on the stated grounds that each grant award
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             “no longer effectuates agency priorities.” Plaintiffs sued to halt
             defendants’ impoundment of those funds.

                  The Networks claim that the defendants’ funding freeze is
             in violation of the International Broadcasting Act and related
             statutes, and that its defiance of Congress’s directives in those
             laws is ultra vires and unconstitutional. The government
             counters that plaintiffs’ claims sound in contract, so must be
             dismissed because the Tucker Act grants the Court of Federal
             Claims exclusive jurisdiction over contract claims against the
             federal government. That “restrictive—and unprecedented—
             interpretation of [the district court’s jurisdiction] should be
             rejected because the remedy available to the [plaintiffs] in the
             Claims Court is plainly not the kind of ‘special and adequate
             review procedure’ that will oust a district court of its normal
             jurisdiction under the APA” and the Constitution. Bowen v.
             Massachusetts, 487 U.S. 879, 904 (1988).

                  “This court retains the power to make rational distinctions
             between actions sounding genuinely in contract and those
             based on truly independent legal grounds,” Megapulse, Inc. v.
             Lewis, 672 F.2d 959, 969-70 (D.C. Cir. 1982), and it is clear
             from the Networks’ complaint that this is not a “disguised,” id.
             at 969, run-of-the-mill contract action “within the unique
             expertise of the Court of Claims,” Ingersoll-Rand Co. v. United
             States, 780 F.2d 74, 78 (D.C. Cir. 1985). At its core, the
             Networks’ suit challenges the government’s assertion that it
             may disregard specific congressional funding directives when
             it disagrees with Congress’s policy choices. Interpreting the
             Tucker Act to deny the district court jurisdiction over a matter
             with such “serious implications for our constitutional
             structure,” In re Aiken Cnty., 725 F.3d 255, 267 (D.C. Cir.
             2013), is utterly inconsistent with both this court’s and the
             Supreme Court’s longstanding understanding of the Tucker
             Act as providing the exclusive forum for a narrow category of
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             “actions based on government contracts.” Megapulse, 672
             F.2d at 967; see also United States v. Mottaz, 476 U.S. 834, 851
             (1986) (describing “the essence of a Tucker Act claim for
             monetary relief” as one requesting “damages for the
             Government’s past acts”); Crowley Gov’t Servs., Inc. v. Gen.
             Servs. Admin., 38 F.4th 1099, 1107 (D.C. Cir. 2022) (“[W]e
             have explicitly rejected the ‘broad’ notion ‘that any case
             requiring some reference to or incorporation of a contract is
             necessarily on the contract and therefore directly within the
             Tucker Act’ because to do so would ‘deny a court jurisdiction
             to consider a claim that is validly based on grounds other than
             a contractual relationship with the government.’”) (quoting
             Megapulse, 672 F.2d at 967-68). “It [is] nothing less than
             remarkable to conclude that Congress intended judicial review
             of these complex questions of [constitutional law] to be
             reviewed in a specialized forum such as the Court of Claims.”
             Bowen, 487 U.S. at 908.

                  To determine whether the Court of Federal Claims has
             exclusive jurisdiction, we must look to the source of the rights
             plaintiffs assert and the nature of the relief they seek. “The
             classification of a particular action as one which is or is not ‘at
             its essence’ a contract action depends both on the source of the
             rights upon which the plaintiff bases its claims, and upon the
             type of relief sought (or appropriate).” Megapulse, 672 F.2d at
             968. The following explains in more detail why the district
             court likely had jurisdiction to declare unlawful and enjoin the
             challenged agency action.

                  1. Consider the source of plaintiffs’ rights. In identifying
             their source, we consider factors including whether “the
             plaintiff’s asserted rights and the government’s purported
             authority arise from statute,” and “whether the plaintiff’s rights
             exist prior to and apart from rights created under the contract.”
             Crowley, 38 F.4th at 1107 (internal citations omitted and
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             formatting altered). Here, the plaintiffs’ asserted rights arise
             from federal statutes and the Constitution, and they exist
             independent of any contract with USAGM. See MBN Compl.
             ¶¶ 58-60, 65-68, 77-97; RFA Compl. ¶¶ 58-60, 65-68, 77-97.
             As such, the Networks’ claims belong in the district court, not
             the Court of Claims.

                  First, the Networks claim that the government has acted
             contrary to the APA, the Networks’ governing statutes, and
             congressional appropriations. By freezing their funding,
             defendants have placed them in dire financial consequences
             and will force them out of existence within a matter of days.
             Federal law established Radio Free Asia and Middle East
             Broadcasting Networks and required allocation of funds to
             those specific, named entities to enable them to “provide
             accurate and timely information, news, and commentary” to
             Asia and the Middle East, and to “be a forum for a variety of
             opinions and voices from within Asian nations whose people
             do not fully enjoy freedom of expression.” 22 U.S.C. §
             6208(a)-(b); see Emergency Wartime Supplemental
             Appropriations Act of 2003, Pub. L. No. 108-11, 117 Stat. 559,
             562 (2003).       Congress, with the President’s approval,
             appropriated funds earmarked for MBN and RFA to carry out
             statutorily assigned functions.        Further Consolidated
             Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
             138 Stat. 460, 735 (2024) (requiring appropriated funds to be
             “allocated in accordance with the table included … in the
             explanatory statement described in section 4”); Explanatory
             Statement Submitted by Ms. Granger, Chair of the House
             Committee on Appropriations, Regarding H.R. 2882, Further
             Consolidated Appropriations Act, 2024, 170 Cong. Rec.
             H1501, H2089 (Mar. 22, 2024) (table designating $60,830,000
             to be allocated to RFA and $100,000,000 to MBN).
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                  The Networks also point to Congress’s direction that funds
             appropriated for RFA and MBN “shall be allocated” to those
             entities. 2024 Appropriations Act, 138 Stat. at 735 (emphasis
             added); 22 U.S.C. § 6204(a)(5) (USAGM is to “make and
             supervise” the grants to the networks). And Congress
             expressly requires USAGM to provide RFA and MBN virtually
             all the funds appropriated for each network, strictly confining
             USAGM’s reprogramming authority to at most 5% of a
             network’s allocation. 2024 Appropriations Act, 138 Stat. at
             735; Full-Year Continuing Appropriations and Extensions Act,
             2025, Pub. L. No. 119-4, div. A, § 1101 (2025). The statute
             allows USAGM to terminate a grant to RFA only for “failure
             to comply with” the requirement “that grant funds be used only
             for activities consistent with” the statute.         22 U.S.C.
             § 6208(c)(5). Those specific provisions govern over the
             general regulatory prerogative the government cites. The
             Agency has not asserted that RFA or MBN did anything
             inconsistent with their statutory mandates, but it has
             nonetheless acted to “terminate” their grants and freeze all their
             funding. Plaintiffs bring a classic APA challenge to the
             Agency’s impoundment of funds—agency action that is both
             arbitrary and heedless of Congress’s commands.

                  In sum, Congress called for the Networks to be established
             as private nonprofit entities supported by federal
             appropriations. It called for them to be maintained for the
             purpose of broadcasting uncensored journalism, especially to
             countries that restrict freedom of speech. And Congress made
             appropriations explicitly allocating funds to RFA and MBN by
             name. Those provisions tightly restrict the use of the
             Networks’ funds for any other purpose. The Networks claim
             that the Agency acted contrary to those congressional
             directives when it impounded funds appropriated to support
             their operations. Their claims that the Agency violated the
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             International Broadcasting Act and the 2024 and 2025
             Appropriations Acts thus arise from statute, not from contract.

                  Second, the complaint raises various constitutional claims.
             Plaintiffs allege that defendants acted beyond the Executive’s
             authority by effectively repealing duly enacted law establishing
             the Networks for specified purposes and by freezing the funds
             Congress allotted to them. They frame those claims as
             violations of the separation of powers, the Presentment Clause,
             the Appropriations Clause, the Spending Clause, and the Take
             Care Clause. MBN Compl. ¶¶ 77-97; RFA Compl. ¶¶ 77-97.
             Constitutional claims for injunctive or declaratory relief face
             no sovereign immunity bar, per the Larson-Dugan exception.
             See Pollack v. Hogan, 703 F.3d 117, 120 (D.C. Cir. 2012)
             (“Under [the Larson-Dugan] exception, suits for specific relief
             against officers of the sovereign allegedly acting beyond
             statutory authority or unconstitutionally are not barred by
             sovereign immunity”) (internal quotation marks omitted);
             Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 690-
             91 (1949); Dugan v. Rank, 372 U.S. 609, 621-22 (1963). The
             government’s stay motion does not dispute that the Court of
             Claims could not adjudicate plaintiffs’ constitutional claims,
             see LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.
             1995), and the government does not appear to contest the
             district court’s jurisdiction over them.

                  Defendants dispute plaintiffs’ framing of their claims as
             statutory and constitutional. They argue that, because the
             Networks are funded by grants, plaintiffs’ challenge to the
             impoundment must be treated as a breach of contract claim that
             belongs in the Court of Claims. Reply at 3. That
             misapprehends the plaintiffs’ case. Their claim of entitlement
             rests on USAGM’s alleged contravention of applicable
             statutory and constitutional constraints—not the terms of any
             particular contract. As the Networks note, if the grant
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             agreements never existed at all, they would have the same
             claims against USAGM.             RFA/MBN Br. 14.           The
             Congressional basis of their entitlement precedes the individual
             grants that deliver their allocations. Cf. Spectrum Leasing
             Corp. v. United States, 764 F.2d 891, 894 (D.C. Cir. 1985).
             USAGM’s use of grants as a vehicle to deliver appropriated
             funds to the Networks does not “automatically transform” their
             case into a contract action. Megapulse, 672 F.2d at 968.

                  What matters is what the court must examine to resolve the
             case: If a plaintiff’s claim depends on interpretations of
             statutes and regulations rather than the terms of an agreement
             negotiated by the parties, the claim is not in essence
             contractual. Crowley, 38 F.4th at 1109-10 (claim was
             statutory, not contractual, when it “require[d] primarily an
             examination of the statutes”). Judge Bork’s opinion for our
             court in Maryland Department of Human Resources v. U.S.
             Department of Health and Human Services, 763 F.2d 1441
             (D.C. Cir. 1985), illustrates the point. We recognized there that
             the state’s claim to funding under a federal grant-in-aid
             program for social workers’ training expenses bore some
             resemblance to “a request for specific performance of a
             contract that obliges the promisor to pay money.” Id. at 1449.
             But we held that, because “federal grant programs originate in
             and remain governed by statutory provisions expressing the
             judgment of Congress concerning desirable public policy,” the
             state’s claim of entitlement was not within the Court of Claims’
             jurisdiction over contracts with the government. Id. (quoting
             Bennett v. Kentucky Dep’t of Educ., 470 U.S. 656, 669 (1985)).

                 The majority submits that, “[o]nce the agency entered
             these contracts” appropriating the congressionally specified
             funds to the Networks, “it incurred a new obligation” to make
             monthly grant payments, and any claims of nonpayment “are
             squarely contract claims under the Tucker Act.” Maj. at 8. But
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             we have long since rejected the notion that “an agency action
             may not be enjoined, even if in clear violation of a specific
             statute, simply because that same action might also amount to
             a breach of contract.” Megapulse, 672 F.2d at 971. As we
             explained in Megapulse, the majority’s premise allows the
             government to “avoid injunctions against activities violative of
             a statutory duty simply by contracting not to engage in those
             activities. Because government involvement in any such
             activities would thereby also constitute a breach of a contract
             term, any injunction would be equivalent to an award of
             specific performance, which, as a matter of public policy, is not
             available against the government.” Id. There, we held that
             “[w]e cannot accept such an interpretation of the law.” Id. The
             majority does not explain under what authority or reasoning it
             decides that it can accept such an interpretation today.

                  2. Consider next the type of relief sought. On this point,
             “[t]he crux of this inquiry . . . boils down to whether the
             plaintiff effectively seeks to attain money damages in the suit.”
             Crowley, 38 F.4th at 1107. Here we must look at the causes of
             action in plaintiffs’ complaints. Greenhill v. Spellings, 482
             F.3d 569, 573 (D.C. Cir. 2007) (“Jurisdiction is determined by
             looking to the complaint.”). RFA and MBN seek injunctive
             and declaratory relief. No count sounds in contract, and none
             seeks money damages for breach. Plaintiffs’ claims therefore
             do not belong in the Court of Claims, which exists to provide a
             centralized, specialized forum to resolve “actions based on
             government contracts,” Megapulse, 672 F.2d at 967, which
             result in “naked money judgment[s] against the United States,”
             Bowen, 487 U.S. at 905; see also Kidwell v. Dep’t of Army, Bd.
             for Correction of Mil. Recs., 56 F.3d 279, 284 (D.C. Cir. 1995).

                 True, courts must be wary of plaintiffs who seek to avoid
             Tucker Act jurisdiction by “disguising a money claim as a
             claim requesting a form of equitable relief.” Kidwell, 56 F.3d
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             at 284. But that risk is not present here. The reality that the
             Networks’ funding is at stake does not change the analysis:
             “The fact that a judicial remedy may require one party to pay
             money to another is not a sufficient reason to characterize the
             relief as ‘money damages.’” Bowen, 487 U.S. at 893; Kidwell,
             56 F.3d at 284 (prospect that “success on the merits may
             obligate the United States to pay the complainant” does not
             make a claim one for “money damages”).

                  The Supreme Court in Bowen distinguished orders for
             specific relief—there, an order directing the Secretary to
             reverse his refusal to financially reimburse the state—from
             money damages. Money damages “refers to a sum of money
             used as compensatory relief” that “substitutes for that which
             ought to have been done.” 487 U.S. at 895, 910. When
             plaintiffs seek funds under statutory entitlement, rather than as
             compensation for losses suffered, the funds are not “money
             damages” for purposes of the Tucker Act. Md. Dep’t of Hum.
             Res., 763 F.2d at 1446; Nat’l Ctr. for Mfg. Scis. v. United
             States, 114 F.3d 196, 200 (Fed. Cir. 1997).               Unlike
             disgorgement of funds owed, “money damages represent
             compensatory relief, an award given to a plaintiff as a
             substitute for that which has been lost.” Am.’s Cmty. Bankers
             v. FDIC, 200 F.3d 822, 829 (D.C. Cir. 2000).

                  The type of relief plaintiffs seek is unavailable in the Court
             of Federal Claims, which “has no power to grant equitable
             relief.” Bowen, 487 U.S. at 905. RFA and MBN are seeking
             more than the restoration of their past-due funding for April;
             they also request a declaration that USAGM is “required by law
             to take all necessary steps” to ensure that USAGM disburses to
             them “all congressionally appropriated funds through
             September 30, 2025” and an injunction against future
             withholding of congressionally appropriated funds. RFA
             Compl. 24-25; MBN Compl. 24-25. The Court of Federal
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             Claims’ lack of authority to address these aspects of plaintiffs’
             claims underscores why it is not the appropriate court. See
             Crowley, 38 F.4th at 1109; Nat'l Ctr. for Mfg. Scis., 114 F.3d
             at 201. When a private entity funded by federal appropriations
             has “a cooperative, ongoing relationship” with the agency “in
             the allocation and use of the funds,” a simple money judgment
             is unlikely to be fitting relief. Nat'l Ctr. for Mfg. Scis., 114 F.3d
             at 201.

                  3. The stay order in Department of Education v.
             California, 145 S. Ct. 966 (2025), does not change the
             landscape. Unlike the Networks here, the Department of
             Education plaintiffs raised no constitutional claim. Their only
             claim was to sums awarded to them in previously awarded
             discretionary grants. Those plaintiffs were not entities created
             by statute and designated by Congress to receive specified
             sums. The equities there were also very different: The Court
             relied on the Department of Education plaintiffs’
             representation that they had financial resources, even without
             the grant funding, to keep their programs running during the
             litigation. RFA and MBN have no financial cushion and are on
             the verge of collapse.

                  This case is more like Department of State v. AIDS
             Vaccine Advocacy Coalition, 145 S. Ct. 753 (2025), in which
             the Supreme Court declined to stay interim injunctive relief
             despite assertions that the plaintiffs’ statutory claims were
             really claims for monetary relief that belonged in the Court of
             Claims. See id. at 756 (Alito, J., joined by Thomas, Gorsuch,
             and Kavanaugh, JJ., dissenting from the denial of the
             application to vacate the district court’s order). The plaintiffs
             in AIDS Vaccine Advocacy Coalition, like the Networks here,
             claimed a right to be free from government action—the
             wholesale termination of the plaintiffs’ grant funding—they
             claimed exceeded the authority conferred by statute and the
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             Constitution. As here, their claims did not depend on whether
             their contracts were breached, but on whether the agency’s
             policy directives were unlawful in the face of federal statutes
             appropriating funds for specific purposes. To the extent that
             the Supreme Court’s action on emergency stay orders
             influences how we apply binding precedent of that court and
             this one, it favors denying the stay here as in AIDS Vaccine
             Advocacy Coalition.

                                           II.

                  1. Plaintiffs in each case have established that they will
             suffer irreparable injury if the district court’s preliminary
             injunction is stayed. The plaintiffs in the two VOA lawsuits
             will be substantially and irreparably injured by the stay. VOA
             has not published or aired a single piece of news content since
             March 15, 2025. Abramowitz Decl. ¶ 33. “Its website is
             frozen, its radio and television channels are looping filler
             material, and its newsroom has shuttered.” Id.           VOA’s
             journalists have been unable to exercise their First Amendment
             rights to free speech and free press. And the “loss of First
             Amendment freedoms, for even minimal periods of time,
             unquestionably constitutes irreparable injury.” Nat’l Ass’n of
             Mfrs. v. SEC, 800 F.3d 518, 559 (D.C. Cir. 2015) (quoting
             Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality)).

                  Each day that passes without VOA publishing any content
             only compounds the irreparable harm: The stifling of its
             distinctive journalistic voice, the erosion of its audience, and
             the breach of the trust of every reporter and listener who has
             relied on its broadcasts. The blight on VOA’s reputation, and
             that of the United States, when a publicly sponsored news
             source with an eight-decade track record of reliability is
             shuttered under accusations of fraud, waste, and producing
             “anti-American content,” Abramowitz Decl. ¶¶ 44-45, will
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             only fester while the preliminary injunction is stayed. The
             asserted harm to VOA’s reputation is irreparable. See, e.g.,
             Beacon Assocs., Inc. v. Apprio, Inc., 308 F. Supp. 3d 277, 288
             (D.D.C. 2018); Patriot, Inc. v. HUD, 963 F. Supp. 1, 5 (D.D.C.
             1997).

                  VOA employees also will be exposed to irreparable
             professional and personal consequences absent injunctive
             relief. For example, plaintiff John Doe 3, a foreign national on
             a J-1 visa, is a journalist working for VOA as a personal service
             contractor. Widakuswara Compl. ¶ 22. His home country is
             governed by an authoritarian regime that has labeled VOA a
             “subversive organization.” Id. John Doe 4 is a VOA contractor
             whose home country is hostile to LGBTQ people like himself.
             Id. ¶ 23. The district court found that “defendants’ actions
             virtually ensure that Does 3 and 4 will be subject to deportation
             immediately,” and may face elevated risks in their home
             countries because of the work they did under the auspices of
             USAGM. Widakuswara, 2025 WL 1166400, at *16.

                  That the USAGM employees and personal service
             contractors are currently receiving full pay and benefits does
             not erase the harm. The government’s own announced
             assessment that the existing agency was beyond repair spells
             widespread terminations once the injunction is stayed. The
             district court recounted the March 25, 2025, notice from
             USAGM’s HR Director to Plaintiff AFGE that it had decided
             to terminate 594 AFGE members working for USAGM.
             Widakuswara, 2025 WL 1166400, at *3. That notice is a red
             flag for USAGM employees once the preliminary injunction is
             lifted. As to the personal service contractors, they are currently
             receiving full pay and benefits only because of court
             intervention; USAGM withheld the termination order only
             after the U.S. District Court for the Southern District of New
             York issued a temporary restraining order to halt it.
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             Widakuswara Opp’n 2 n.2. The district court also foresaw
             irreparable harm to plaintiff Reporters Sans Frontières in the
             absence of a preliminary injunction because “VOA’s silence
             injured [its] ability to distribute its broadcasting and amplify
             press freedom concerns.” Widakuswara, 2025 WL 1166400,
             at *8. Defendants have not challenged that finding on appeal.

                  2. RFA and MBN face existential harm absent injunctive
             relief. Contrary to defendants’ assertions, the imminent
             injuries that the affiliated Networks and their employees face
             cannot be remedied by money damages at some unspecified
             date in the future. RFA “now expects that it does not have
             enough funds to get through May 9, 2025, absent extreme
             measures.” Second Fleming Decl. ¶ 8. At the start of this
             litigation, MBN employed more than 500 people. Because
             USAGM withheld its statutorily mandated funding, by April
             12 MBN had been forced to lay off 90 per cent of those
             employees. Second Kline Decl. ¶ 3. Layoffs of remaining staff
             and the organization’s bankruptcy are imminent once the
             preliminary injunction is stayed. Id. ¶ 12. The network “will
             cease to exist except on paper” no later than May 31, 2025. Id.
             ¶ 15. That existential threat should have moved this court to
             deny the government’s stay motion.

                  RFA employees, represented by Plaintiff NewsGuild-
             CWA in the Widakuswara suit, also face unplanned, costly, and
             stressful dislocations they would not have suffered absent the
             agency’s challenged actions. Many RFA employees, including
             NewsGuild members—work in the United States under H1-B
             visas. Schleuss Decl. ¶ 8. Losing their jobs likely means
             deportation to their home countries. Professionals who have
             served the USAGM mission of bringing objective news
             coverage to people living under repressive regimes, including
             in some cases their own home countries, may have to return to
             countries “that persecute journalists for reporting the news,”
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             making them all the more vulnerable because of the service
             they have rendered to USAGM. Id.

                  3. Meanwhile, the government is unable to identify
             substantial harm it would suffer if the preliminary injunction
             were not stayed. It principally points to the order’s restriction
             of its authority to manage the agency and its employees. The
             nature of injunctive relief is to interfere with what the enjoined
             party would otherwise do. And when agency action that a court
             concludes is likely unlawful is on a grand scale, an appropriate
             preliminary injunction must have scope commensurate to that
             of the challenged deeds. That much is unavoidable. The
             district court nonetheless made clear it respected the
             government’s lawful prerogatives. In denying its motion for
             stay pending appeal, the court reiterated that USAGM retains
             its discretionary management authority: “When USAGM
             returns to pre-March 14 functioning, as is required by the PI,
             the injunction does not prevent USAGM from executing
             personnel decisions for reasons unrelated to the Executive
             Order . . . such execution of normal operations would, to the
             contrary, be in accordance with the status quo pre-March 14.”
             Order Denying Motion for Stay Pending Appeal at 5 [ECF No.
             104] (emphasis added).

                  Defendants also protest that the preliminary injunction
             “does not account for the various costs associated with
             reinstating all employees and contractors.” Gov’t Stay Mot.
             25. Again, the cost of that restoration is proportionate to the
             dislocation the government chose to undertake. There are less
             precarious ways to effect institutional change that might be
             easier to dial back. In eschewing them, the government
             presumably accepts the heightened risk calculus attending its
             preferred approach. But it cannot “be heard to complain about
             damage inflicted by its own hand.” Pennsylvania v. New
             Jersey, 426 U.S. 660, 664 (1976).
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                  Nor has the government demonstrated that restoration of
             congressionally appropriated funds to the Networks amounts to
             irreparable harm. Plaintiffs have shown that they are likely
             entitled to that relief. The government may be right that it
             would be unable to recover that money once handed over. The
             Networks are entirely dependent on it to stay afloat and, if they
             had it in hand, would promptly use it for that purpose. That
             said, the harm to the government from being required to release
             funds that are statutorily earmarked for the very purpose and
             entity to which the injunction directs them—funds that are
             legally restricted against reprogramming to other functions or
             entities—seems less substantial than the loss of the same
             amount of money might be in another circumstance.

                  4. That leaves only the public interest. Duly enacted
             legislation, fashioned by Congress and signed by the President,
             is a strong indicator of where the public interest lies. See
             League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12
             (D.C. Cir. 2016). Congress founded, supported, and expanded
             the family of USAGM broadcast networks. It started with
             Voice of America to counter Nazi propaganda. In response to
             the need to more actively counter anti-American narratives
             with concrete and timely factual reporting, Congress has
             established affiliate networks in various regions of the world—
             Europe, Asia, and the Middle East. Dismantling that family of
             networks cannot be squared with the public interest. By
             contrast, restoring VOA, RFA, and MBN to operate as
             Congress intended, providing news that that is “consistently
             reliable and authoritative, accurate, objective, and
             comprehensive” serves the interest of the American people. 22
             U.S.C. § 6202(b).

                  The district court’s preliminary injunction was tailored to
             provide necessary relief to the plaintiffs while the courts work
             to resolve their claims on the merits. The panel errs in staying
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             that injunction. Rather than preserving the relative positions of
             the parties, this stay all but guarantees that the networks will no
             longer exist in any meaningful form by the time this case is
             fully adjudicated. I regret that networks charged with
             exemplifying the ideals of free speech, free opinion, and a free
             press to the world at large are silenced by our own
             government’s action in disregard of the expressed will of
             Congress—actions that, as the district court most ably
             explained, are likely to be found unlawful.

                 I respectfully dissent.
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By the authority vested in me as President by the Constitution and the laws of the United
States of America, it is hereby ordered:
Section 1. Purpose. This order continues the reduction in the elements of the Federal
bureaucracy that the President has determined are unnecessary.
Sec. 2.    Reducing   the Scope of the Federal Bureaucracy.
(a) Except as provided in subsection (b) of this section, the non-statutory components
and functions of the following governmental entities shall be eliminated to the
maximum extent consistent with applicable law, and such entities shall reduce the
performance of their statutory functions and associated personnel to the minimum
presence and function required by law:
(i)    the Federal Mediation and Conciliation Service;
(ii) the United States Agency for Global Media;
(iii) the Woodrow Wilson International Center for Scholars in the
Smithsonian Institution;
(iv)   the Institute of Museum and Library Services;
(v)    the United States Interagency Council on Homelessness;
(vi)   the Community Development Financial Institutions Fund; and

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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


PATSY WIDAKUSWARA, et al.,

               Plaintiffs,

         v.
                                                         Civil Action No. 25-1015 (RCL)
KARI LAKE, Senior Advisor to the Acting
CEO of U.S. Agency for Global Media, et al.,

               Defendants.



                             DECLARATION OF CRYSTAL THOMAS

          I, CRYSTAL THOMAS, hereby make the following declaration pursuant to 28 U.S.C. §

 1746:

          1.    I have been the Director of Human Resources for the U.S. Agency for Global Media

(“USAGM”) since 2024. I base this declaration on knowledge and information I have gained in

the course of performing my official duties.

          2.    In that capacity, I have personal knowledge of, and direct involvement, in personnel

decisions for USAGM.

          3.    USAGM currently employs a total of approximately 1,147 full-time employees. As

of March 14, 2025, USAGM had active employment contracts with 598 personal service

contractors.

          4.    On March 14, 2025, President Trump issued an Executive Order directing that “the

non-statutory components and functions of [USAGM] shall be eliminated to the maximum extent

consistent with applicable law, and such entities shall reduce the performance of their statutory

functions and associated personnel to the minimum presence and function required by law” (the


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“Executive   Order”).     See   Continuing    the    Reduction   of   the   Federal   Bureaucracy,

https://www.whitehouse.gov/presidential-actions/2025/03/continuing-the-reduction-of-the-

federal-bureaucracy/ (Mar. 14, 2025).

        5.     On March 15, 2025, pursuant to the Executive Order, USAGM placed 1,042 full-

time employees on administrative leave with full pay and benefits. On March 16, 2025, and

terminated the contracts with all personal services contractors. On March 26, 2025, all personal

services contractors were reinstated and are receiving full pay and benefits, but they are not

currently working. The agency has retained the ability to recall employees from administrative

leave to work status as it seeks to implement the Executive Order.

        6.     In the course of that implementation, on March 25, 2025, I sent an email to 33

 employees who work at Office of Cuba Broadcasting recalling them from administrative leave

 effective March 26, 2025. As of the end of the day on March 26, 2025, I can confirm that all

 employees were on work status. I have been advised that the Office of Cuba Broadcasting resumed

 radio service on March 26, 2025, and television broadcasting resumed on March 27, 2025.

        7.     In addition to the employees recalled from administrative leave at the Office of

 Cuba Broadcasting, the agency has recalled approximately 69 other employees from

 administrative leave to provide mission support including broadcasting support for the Office of

 Cuba Broadcasting, facilities management, contracts management, and IT support. No additional

 employees have been placed on administrative leave.

        8.     The American Federal Government Employees Local 1812 (“AFGE”) serves as the

exclusive representative for a bargaining unit consisting of approximately 713 USAGM employees.

On March 25, 2025, I sent an email to the AFGE Local 1812 President enclosing a preliminary

notification to the union stating USAGM’s intent to implement a reduction in force (“RIF”) for

multiple competitive areas in USAGM in furtherance of the Executive Order.
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        9.     The American Federation of State, County and Municipal Employees Local 1418,

AFL-CIO (“AFSCME”) serves as the exclusive representative for a bargaining unit consisting of

approximately 33 USAGM employees. On March 25, 2025, I sent an email to the AFSCME Local

1418 President, enclosing a preliminary notification to the union stating USAGM’s intent to

implement a RIF for multiple competitive areas in furtherance of the Executive Order.

        10.    Both of the foregoing notifications informed the respective unions of USAGM’s

intention to implement a RIF in a manner consistent with USAGM’s Negotiated Labor Management

Agreements (“NLMA”) with each union.

        11.    The notifications that were issued will not directly result in the termination of any

USAGM employee. Rather, it is a first step in the process of conducting a RIF, pursuant to the

NLMAs with each respective union. Additional steps in the RIF process with both unions will

include, among other things, impact and implementation bargaining to the extent requested by the

unions; providing additional information to the unions, including responding to union information

requests; providing the unions with retention registers; and specific notice to bargaining unit

employees. Each of these steps would occur prior to removing any bargaining unit employees in

the RIF implementation process.

        I declare under penalty of perjury that the foregoing is true and correct.


 Dated: April 14, 2025
        Washington, District Columbia



                                                      ______________________________
                                                      CRYSTAL THOMAS




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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK

              PATSY WIDAKUSWARA, et al.,
                                                                          No. 25 Civ. 2390
                                       Plaintiffs,

                      -against-

              KARI LAKE, et al.,

                                       Defendants.


                                           DECLARATION OF JOHN DRYDEN

                     I, John Dryden, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

            following is true and correct:

                1. I am over 18 years of age and competent to give this declaration. This declaration is

                     based on my personal knowledge, information, and belief.

                2. I am the president of the Voice of America Employees Union, Local 1418, District

                     Council 20, American Federation of State, County and Municipal Employees, AFL-CIO

                     (“AFSCME Local 1418” or “Union”). AFSCME Local 1418 is affiliated with AFSCME

                     District Council 20 and AFSCME International Union. District Council 20, through its

                     constituent local unions like Local 1418, represents federal civilian employees in

                     agencies and departments across the federal government. I have served as president of

                     Local 1418 since August 2020.

                3. Both before and since becoming the local union president, I have been employed by the

                     U.S. Agency for Global Media (USAGM) as a Radio Broadcast Technician for the Voice

                     of America (VOA) in its Radio Studios. I have been employed at VOA for 17 years.

                     VOA is overseen by USAGM, and is an international broadcasting state media network

                     funded by the federal government. Its primary mission is to provide objective news and
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                     information about the U.S., the audience’s specific region and the world to people who

                     lack access to objective information. For over 80 years, VOA has broadcast content over

                     the radio, television, or the internet in almost 50 languages all over the world.

                4. AFSCME Local 1418 represents a collective bargaining unit of approximately 32

                     employees who work for USAGM on VOA. The collective bargaining agreement

                     covering these workers is applicable, by its terms, to “all non-supervisory Radio

                     Broadcast Technicians employed by USAGM in the Radio Master Control” and “Radio

                     Studios” in Washington, D.C., as well as those “assigned to the New York News Bureau”

                     in New York City, NY. Currently, all members of the bargaining unit work in

                     Washington, D.C. Some bargaining unit members have been in the past, and may also be

                     periodically in the future pursuant to the collective bargaining agreement, assigned to the

                     New York News Bureau, which mainly covers the United Nations, when the bureau there

                     produces radio programing or audio support for television.

                5. Under the collective bargaining agreement, AFSCME Local 1418 represents two types of

                     employees: Radio Broadcast Technicians (RBT) who work in Radio Studios and RBTs

                     who work in the Radio Master Control. These employees are generally responsible for

                     being present at each language service live broadcast studio at the time the language

                     service is producing a live show and engineering the live show for broadcast. These

                     employees are responsible for engineering live broadcasts of radio programing by

                     running the mixing console in the Radio Studios or working in the Radio Master Control.

                     Most of the bargaining unit members work in the Radio Studios. VOA broadcasts

                     approximately 49 live radio programs in different languages that these employees must

                     engineer to be broadcast. Some of these programs also have video components that are



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                     broadcast on television or the internet. Engineering the radio programming includes

                     setting up and running equipment for the radio broadcasts such as computer programs,

                     audio and video files, microphones, lights, and cameras for programs with video

                     components. Working under the direction of bilingual directors and producers who

                     understand the language of the programing and can communicate in English with the

                     RBTs, these employees operate the broadcast mechanics of live radio programs. RBTs

                     are essential employees that are vital to maintaining uninterrupted broadcasting

                     operations for VOA. For example, these employees are in the building 24 hours during

                     snow emergencies, continued working during the entire pandemic, and must work during

                     government shutdowns as essential staff.

                6. AFSCME Local 1418 represents the interests of the VOA’s Radio Broadcast

                     Technicians. Our core functions include providing support, guidance, and resources to

                     bargaining unit employees as their officially recognized exclusive representative.

                7. As the exclusive representative for the nonsupervisory RBTs, AFSCME Local 1418

                     enters into collective bargaining negotiations with the USAGM, VOA on a wide variety

                     of terms and conditions of employment and represents bargaining unit members through

                     the negotiated grievance process.

                8. AFSCME Local 1418 and the USAGM, VOA are parties to a collective bargaining

                     agreement that memorializes negotiated terms and conditions of employment, benefits,

                     rules, a grievance procedure and other procedures of the workplace.

                9. Early on Saturday, March 15, 2025, I received a notice from the Director of Human

                     Resources, Crystal G. Thomas, to my VOA email address informing me that “[p]ursuant

                     to the Presidential Executive Order Continuing the Reduction of the Federal Bureaucracy



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                     – The White House and the Office of Personnel Management Guidance on Probationary

                     Periods, Administrative Leave and Details and additional authorities, including but not

                     limited to, 5 C.F.R. § 630.1403, effective immediately, the United States Agency for

                     Global Media (USAGM) is placing you on administrative leave with full pay and benefits

                     until otherwise notified.” The email notice also stated that I no longer had access to

                     USAGM systems or premises and may be required to return government property. The

                     notice further stated that “[w]hile on administrative leave, you remain an employee of the

                     Agency. You are required to comply with the instructions of your supervisors, all laws

                     and regulations, and agency policies, including the Broadcasting Administrative Manual

                     (BAM).” A true and correct copy of this notice is attached hereto as Exhibit 1.

                10. Soon after receiving the administrative leave notice, bargaining unit members began

                     notifying the union by phone, email and text message that the USAGM sent these

                     employees the same administrative leave email that I received. I also received a call from

                     a VOA supervisor informing me of the decision to place all bargaining unit members on

                     administrative leave and that employees were prohibited from accessing the VOA offices.

                11. On Saturday, March 15, 2025, several bargaining unit members were at the VOA offices

                     working on weekend programing; because Master Control RBTs are required to be

                     present in-person to broadcast programming, we have bargaining unit members on-site

                     24/7. These members were told by their supervisors to finish their live broadcasts and

                     then to vacate the building because they needed to clear the building out. At

                     approximately 5:00 p.m. on the same day, bargaining unit members lost access to

                     USAGM systems, including email.




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                12. All bargaining unit members were placed on administrative leave on March 15, 2025.

                     USAGM did not provide the union advance notice of the decision to place employees on

                     administrative leave or provide the union with a list of all affected bargaining unit

                     members.

                13. On March 19, 2025, I received an email from the USAGM Human Resources Director

                     informing me that I was no longer on administrative leave, and I regained access to my

                     VOA email. However, I was not returned to work as an RBT. As of the date of this

                     declaration, I am not aware of any other bargaining unit members who have been

                     removed from administrative leave and reinstated to their duties of broadcasting radio

                     programing as RBTs.

                14. VOA broadcasting ended and went dark on Saturday March 15, 2025 for the first time in

                     the over 80-year history of the agency and radio broadcasting has not resumed as of the

                     date of this declaration. For more than 80 years, a Master Control RBT was required to be

                     in the Radio Master Control Facility 24/7 to make sure the VOA’s radio programming

                     was broadcast around the world and for the first time, the Radio Master Control Facility

                     went dark when all RBTs were told they needed to vacate the building.

                15. Since the administrative leave notices were sent to affected employees, the union has

                     been flooded with emails, texts, and phone calls from affected employees and other

                     bargaining unit members who are distraught and are concerned about their livelihoods

                     and the mission of their agency. Affected employees have contacted the union to seek

                     information, guidance, and explanations of their rights, including retirement rights for

                     those of retirement age because they are receiving only scant guidance from USAGM.




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                16. Affected employees are physically and emotionally stressed by the negative impact of the

                     USAGM’s decision to place all employees on administrative leave and the implications

                     of this decision on their future employment with the VOA and their livelihoods. Members

                     are worried about their ability to pay for housing, education, daycare, and to provide food

                     for their families. Some members have decided to retire early because they cannot handle

                     the financial uncertainty. Others are concerned that the agency’s action will negatively

                     impact their ability to retire. Affected employees are looking to their union to protect

                     them and to provide information on their options if they are eventually terminated. The

                     union has had to research information that in normal circumstances would have been

                     provided by the agency to provide to members and has been forced to seek legal advice

                     and resources from AFSCME International, the parent labor federation of AFSCME

                     District Council 20, on union on members’ legal rights.

                17. The Union continues to respond to a flood of calls, texts, and emails from bargaining unit

                     members. Members are asking for information on the future of their employment, as they

                     are not getting information from the USAGM. Members are asking how long they will be

                     on administrative leave; how payroll will be processed; how employees can submit

                     timesheets for hours worked up until Saturday March 15 without access to USAGM

                     systems; how can they retrieve their personal belongings left behind at the office; and

                     how their retirement benefits will be affected if the VOA is shutdown. Those that are

                     retirement eligible are asking the Union for advice on submitting retirement applications.

                     The Union is providing almost daily updates by emails and text messages to the entire

                     bargaining unit about what we know and can share about potential legal actions to




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                     challenge the shuttering of the VOA, whether brought by our Union or other parties, and

                     its critical work of broadcasting news and content to the global community.

                18. Bargaining unit members and the Union are concerned about the negative impact of the

                     USAGM’s decision to shutter the VOA on its critical mission to provide information to

                     people around the world who lack access to objective news. In Broadcasting, if your

                     programing is on every day and suddenly you stop broadcasting your program, the station

                     will begin to lose its audience, and you will never gain them all back. The taxpayers have

                     invested more than 80 years into VOA programing that has built a loyal and broad global

                     audience, and this investment can be destroyed in a very short amount of time. The

                     danger to the public is that the global audience will not get any objective news about their

                     own country or about the U.S. The mission of the agency is not being fulfilled by not

                     broadcasting its programing and paying skilled and essential workers to stay home and

                     not do their important work. And many of our members do this work because of how

                     deeply we believe in its mission, so we are deeply distraught to see that mission

                     destroyed.

                19. One of the most important parts of the VOA’s programing that fulfilled the VOA’s

                     mission was the daily North Korean program. This broadcast is one of the few ways

                     people in North Korea can get objective news of what is happening in the rest of the

                     world. This programming delivers content that is critical to the North Korean people. For

                     example, this program has a longer than usual weather news cast that provides detailed

                     information about the weather because when people want to defect to China, they must

                     walk there. Being able to check the weather for favorable conditions is crucial for their

                     survival during the dangerous journey. Another important program is the broadcast into



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                     Iran, where the public does not have access to objective news about the outside world and

                     can receive VOA’s satellite television broadcast.

                20. Since the USAGM decided to place all VOA employees on administrative leave, the

                     Union has had to divert virtually all of its time and resources to engage with the

                     membership on this issue and address their concerns. Since the agency’s decision,

                     member representation has become my full-time job. I have been spending at least 8

                     hours per day addressing the concerns of bargaining unit members who are concerned

                     about the future of their employment and their livelihoods. I have also had to coordinate

                     with the local’s executive board, District Council 20 and AFSCME International on how

                     to communicate advice and counsel to our members. The local’s vice president has also

                     worked extensive hours each day assisting our affected members and investigating the

                     issue. This representational work for the Union is only increasing because of the mass

                     confusion caused by the abrupt shuttering of the VOA.

                21. The substantial increase in emails, phone calls, text messages, and requests for

                     counseling concerning the closing of VOA has diverted resources and time that the union

                     dedicates to its mission of advocating and negotiating for improved workplace

                     conditions, organizing new members, representing employees, and the administrative

                     tasks to maintain the union.

                22. Members of the VOA bargaining unit pay voluntary membership dues to the union,

                     which is the union’s overwhelming source of operational funding. The union’s budget

                     will be negatively impacted because of the loss of dues if members are terminated, and its

                     bargaining power will be diminished because of the loss of members due to potential

                     terminations. We will also lose membership and dues if members choose to retire as a



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                     result of the uncertainty the USAGM has caused. To my knowledge, three members have

                     submitted retirement applications and others are considering doing the same.

                23. I declare under penalty of perjury under the laws of the United States that the foregoing is

                     true and correct.

                     Executed at Germantown, MD on the 22nd day of March, 2025.




                                                                               John Dryden




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                  EXHIBIT 3




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      ;<A602 ;<A <;9F 16@2;3?.;056@2@ A52 ;2.?9F  :6996<; =2<=92 D5< AB?; A< %M@ ?2=<?A6;4

      <; . D2289F /.@6@ A< 92.?; A52 A?BA5 /BA 6A .9@< /2;236A@ :2?60.M@ .1C2?@.?62@ .A <B? <D;

      2E=2;@2L

      #; !.?05         % 2:=9<F22@ ?2026C21 ;<A602@ @A.A6;4  <3 A52 (& /.@21 @A.33

      D<B91 /2 =9.021 <; B;=.61 3B?9<B45@ @A.?A6;4 <; ?61.F !.?05            D5605 6@ A52

      3B?9<B4521 2:=9<F22@M 9.@A 1.F <3 =.F %M@ 5B:.; ?2@<B?02@ 12=.?A:2;A ;<A63621

      2:=9<F22@ <; !.?05             D5< D<B91 /2 @B/720A A< 3B?9<B45 % :.;.42:2;A




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      .@821 '"* 3<? A52 ./696AF A< 12A2?:6;2 D5605 2:=9<F22@ D699 /2 3B?9<B4521 %

      :.;.42:2;A @.61 2:=9<F22@ 9<0.A21 6; <A52? 0<B;A?62@ D699 ;<A /2 @B/720A A< A52 3B?9<B45

      % 161 ;<A 6;160.A2 5<D 9<;4 A52 3B?9<B45 D699 9.@A /BA % @A.A21 A5.A 52.9A5

      6;@B?.;02 .;1 <A52? /2;236A@ 9682 9632 6;@B?.;02 16@./696AF 12;A.9 .;1 C6@6<; D699 <;9F /2

      :.6;A.6;21 A5?<B45 A52 2;1 <3 =?69        .3A2? D5605 % D699 6;3<?: 3B?9<B4521

      2:=9<F22@ <3 .;F 05.;42@ % 5.@ 5<D2C2? .9?2.1F =?<C6121 2:=9<F22@ D6A5

      6;3<?:.A6<; <; 5<D A< </A.6; 52.9A50.?2 0<C2?.42 6; .;A606=.A6<; <3 2:=9<F22@ 9<@6;4

      52.9A5 6;@B?.;02 .3A2? =?69     

      @ $?2@612;A <3 '"* A52@2 2C2;A@ .A % 5.C2 /22; ?2=<?A21 A< :2 16?20A9F /F

      /.?4.6;6;4 B;6A :2:/2?@ D5< D<?8 3<? %  0<?2 3B;0A6<; <3 <B? B;6<; 6;09B12@

      =?<C616;4 @B==<?A 4B61.;02 .;1 ?2@<B?02@ A< /.?4.6;6;4 B;6A 2:=9<F22@ .@ A526?

      @A.ABA<?F ?2=?2@2;A.A6C2 B;12? A52 " % '52 05.;42@ A< A52 D<?86;4 0<;16A6<;@ .A %

      1B2 A< (&! 3B;16;4 0BA@ D699 ?2>B6?2 '"* A< /.?4.6; <C2? A52 23320A@ <3 A5<@2

      05.;42@ D6A5 % ;1 /20.B@2 A52 <C2?D529:6;4 :.7<?6AF <3 '"* 3B;16;4

      0<:2@ 3?<: /.?4.6;6;4 B;6A 2:=9<F22@M :2:/2?@56= 1B2@ .;1 322@ 121B0A21 3?<: A526?

      =.F05208@ A52 3B?9<B45 .;1 .;F <A52? .0A6<; A5.A ?21B02@ D<?82? D.42@ 1B2 A< (&!

      0BA@ D699 5.?: '"* 16?20A9F /F ?21B06;4 A52 6;0<:2 6A ?2026C2@ .;1 B@2@ A<

      ?2=?2@2;A A52 2:=9<F22@M 6;A2?2@A@

      3320A21 % 2:=9<F22@ .?2 52.?A/?<82; .;1 @A?2@@21 /F A52 ;24.A6C2 6:=.0A <3 B;=.61

      3B?9<B45@ 3<? . 9.?42 ;B:/2? <3 0<992.4B2@ % 3B;16;4 D?6A 9.?42 .;1 A52 B;2E=20A21

      .;1 ./?B=A 0.;0299.A6<; <3 A526? ;2D@ D6?2 @2?C602@ '52@2 @D22=6;4 05.;42@ =BA =?2@@B?2

      <; A526? 96C2@ A52 96C2@ <3 A526? 3.:6962@ .;1 1206:.A2 A526? 6:=<?A.;A D<?8 3<? %

      3645A6;4 .;A612:<0?.A60 3<?02@ /F =?<1B06;4 ;2D@ .;1 =?<:<A6;4 . 3?22 =?2@@ <?




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      6;@A.;02 . (F45B? &2?C602 2:=9<F22 ?2=<?A@ A5.A A526? D<?8 .A % 5.@ .9?2.1F ?2@B9A21

      6; @2C2?2 0<;@2>B2;02@ 3<? A526? 3.:69F 6; 56;. B2 A< A526? ?2=<?A6;4 <; 5B:.; ?645A@

      ./B@2@ .4.6;@A (F45B?@ A52F 5.C2 9<@A .99 0<;A.0A D6A5 ?29.A6C2@ 6; 56;. D6A;2@@21

      3.:69F :2:/2?@ /26;4 5.?.@@21 /F .BA5<?6A62@ .;1 5.1 9<C21 <;2@ 12A.6;21 <? @2;A A<

      6;A2?;:2;A 0.:=@ .@ =B;6@5:2;A 3<? A526? D<?8 .A % '52 6:=2;16;4 3B?9<B45

      2E.02?/.A2@ A52@2 ?6@8@ .@ 3.:69F :2:/2?@ :.F /2 @22; .@ 2C2; :<?2 CB9;2?./92 A<

      ?2A.96.A6<; !<?2<C2? A52 @692;06;4 <3 A52@2 7<B?;.96@A@ D2.82;@ 49</.9 233<?A@ A< 5<91

      .BA5<?6A.?6.; 4<C2?;:2;A@ .00<B;A./92 3<? A526? .0A6<;@

      '52 @6AB.A6<; .A % 6@ 2EA?2:29F A6:2@2;@6A6C2 .;1 ?2>B6?2@ 6::216.A2 .0A6<; 

      ;B:/2? <3 % 2:=9<F22@ .?2 =?2@2;A 6; A52 0<B;A?F .;1 D<?8 3<? % =B?@B.;A A<

      ;<;6::64?.;A D<?8 C6@.@ % 5.@ A5B@ 3.? =?6<?6A6G21 0<;A6;B6;4 A52 2:=9<F:2;A 3<?

      2:=9<F22@ 6; A52 (& <; ;<;6::64?.;A D<?8 C6@.@ D5692 3B?9<B456;4 <A52? @A.332?@

      <D2C2? /20.B@2 <3 9<@6;4 A526? 4?.;A 3?<: A52 (& 42;0F 3<? 9</.9 !216. % D699

      96829F @<<; ;<A 5.C2 A52 ?2@<B?02@ A< 0<;A6;B2 2:=9<F6;4 @A.33 6; A52 (& <;

      ;<;6::64?.;A D<?8 C6@.@ 3 A5.A 5.==2;@ % D699 A2?:6;.A2 A52@2 2:=9<F22@ ?2>B6?6;4

      A52: A< B=?<<A A526? 96C2@ .;1 ?2AB?; A< A526? 5<:2 0<B;A?62@ D52?2 @2C2?.9 .?2 96829F A<

      3.02 ?2A.96.A6<; .;1 =2?@20BA6<; /20.B@2 <3 A526? =?2@@ 3?221<: D<?8 .A % '56@ 0?2.A2@

      . @2?6<B@ ?6@8 <3 6::216.A2 5.?: <? 6;@A.;02 A52 :.7<?6AF <3 2:=9<F22@ 6; .;A<;2@2

      &2?C602 3921 3?<: <;4 <;4 D52; A52 56;2@2 <::B;6@A $.?AF 921 . /?BA.9 0?.081<D;

      <; 12:<0?.0F .1C<0.A2@ .;1 7<B?;.96@A@ '52F D699 /2 A.?42A21 /F A52 56;2@2

      4<C2?;:2;A 63 A52F .?2 3<?021 A< ?2AB?;

      23<?2 /20<:6;4 $?2@612;A <3 '"*  D.@ . 7<B?;.96@A 3<? :.;F F2.?@ 6;09B16;4 .A

      A52 <@ ;4292@ '6:2@ D52?2  D.@ . :2:/2? <3 '"* '"* .9@< ?2=?2@2;A@



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      7<B?;.96@A@ .A :.7<? ;2D@ <?4.;6G.A6<;@ @B05 .@ A52 "2D +<?8 '6:2@ *.99 &A?22A <B?;.9

      A52 @@<06.A21 $?2@@ 42;02 ?.;02$?2@@2 A52 $569.129=56. ;>B6?2? <@A<; 9</2

      .;1 :.;F :<?2

     9A5<B45 '"* :2:/2?@M 7</@ .?2 /.@21 6; A52 (;6A21 &A.A2@ .;1 .;.1. @<:2

      :2:/2?@ @B05 .@ ?2=<?A2?@ .;1 =5<A<7<B?;.96@A@ ?2=<?A <; @A<?62@ A5.A ?2>B6?2 A?.C29 A<

      <A52? 0<B;A?62@ 6;09B16;4 0<B;A?62@ D52?2 (&! =?<4?.:@ @B05 .@ % /?<.10.@A A<

      0<:/.A A52 9.08 <3 . 3?22 =?2@@

     <? 2E.:=92 A52      #9F:=60 .:2@ D2?2 5291 6; 2676;4 56;.J.;1 :.;F @A.A2@612

      '"* :2:/2?@ .AA2;121 A< ?2=<?A 52.1 <3 A52              #9F:=60@ % 6A@293

      ?2=<?A21 <; A52 ?6@8@ A< ?2=<?A2?@ <3 /26;4 =?2@2;A 6; 56;. D52?2 A52?2 6@ ;< :216.

      3?221<: K'52 56;2@2 4<C2?;:2;A 5.1 =921421 A< ?2@=20A :216. 3?221<: 9./<? ?645A@

      .;1 =2.023B9 12:<;@A?.A6<;@ 1B?6;4 A52 #9F:=60@ BA A52?2 6@ ;< 2C612;02 A5.A 6A 5.@

      3<99<D21 A5?<B45L % ?2=<?A21 06A6;4 :;2@AF ;A2?;.A6<;.9 ;1 1B?6;4 A52 4.:2@

      B:.; %645A@ *.A05 ?2=<?A21 A5.A 56;2@2 :216. 02;@<?@56= 0<;A6;B21 6;09B16;4 <;

      /<A5 @A.A2 A292C6@6<; .;1 A52 6;A2?;2A .@ .002@@6/92 6; 56;. BA A52 6;0<B;A?F

      .C.69./696AF <3 % 529=21 A< :6A64.A2 A52 6;52?2;A 1.;42?@ A< 7<B?;.96@A@ @A2::6;4 3?<:

      02;@<?@56= /F .99<D6;4 3<? A52 3?22 39<D <3 6;3<?:.A6<; <C2? ?.16< .6?D.C2@ .;1 <;96;2

      6;A< 56;.

     !.6;A.6;6;4 . 3?22 .;1 6;12=2;12;A =?2@@ 6@ 3B;1.:2;A.9 A< A52 7<B?;.96@A60 =?<32@@6<;J

      '"* :2:/2?@ @6:=9F 0.;;<A 1< A526? 7</@ D6A5<BA 6A .;1 A52 =?<:<A6<; <3

      3?221<: <3 A52 =?2@@ D<?91D612 6@ . 0<?2 =.?A <3 '"*M@ :6@@6<; ?A6092  <3 A52

      '"* <;@A6ABA6<; A6A921 K".:2 .;1 #/720AL 6;09B12@ 6; 6A@ :6@@6<; KA< 6:=?<C2

      A52 D<?86;4 0<;16A6<;@ <3 6A@ :2:/2?@ A< 4B.?.;A22    0<;@A.;A 5<;2@AF 6; ;2D@



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      216A<?6.9@ .1C2?A6@6;4 .;1 /B@6;2@@ =?.0A602@ ,.;1- A< ?.6@2 A52 @A.;1.?1@ <3 7<B?;.96@:

      .;1 2A560@ <3 A52 6;1B@A?FL

     (&! =?<4?.:@ 6;09B16;4 /BA ;<A 96:6A21 A< % 3B?A52? '"*M@ 3B;1.:2;A.9

      <?4.;6G.A6<;.9 :6@@6<; /F   6:=?<C6;4 6A@ :2:/2?@M D<?86;4 0<;16A6<;@ ./?<.1 /F

      =?<:<A6;4 3?22 =?2@@ 6; A52 0<B;A?62@ D52?2 :2:/2?@ A?.C29 A< ?2=<?A A52 ;2D@  

      =?<A20A6;4 A526? @.32AF 6; A5<@2 0<B;A?62@ /F .99<D6;4 3<? A52 3?22 39<D <3 6;3<?:.A6<; 6;A<

      0<B;A?62@ <A52?D6@2 /2@2A D6A5 4<C2?;:2;A 02;@<?@56= .;1   =?<:<A6;4 A52 C.9B2 <3

      3?22 =?2@@ :<?2 42;2?.99F D5605 6@ .; 2@@2;A6.9 /.@296;2 0<;16A6<; 3<? '"*

      :2:/2?@ A< 1< A526? 7</@ 6; A52 (& .;1 .?<B;1 A52 D<?91

     '52 3B?9<B45 D699 .9@< .1C2?@29F 6:=.0A A52 D<?8 <3 A52@2 7<B?;.96@A@  8;<D 3?<: :F

      <D; 2E=2?62;02 .@ . ?.16< 7<B?;.96@A A5.A 96@A2;2?@ 0.; /2 9<@A D52; /?<.10.@A@ 4< @692;A

      '52 =2<=92 D5< 96@A2; A< % .?2 12=2;12;A <; 6A 3<? B;/6.@21 ;2D@ 6; A52 12@=<A60

      0<B;A?62@ D52?2 A52F ?2@612 .;1 .?2 6;B;1.A21 D6A5 @A.A2 :216. A5.A 6@ ;<A56;4 :<?2 A5.;

      =?<=.4.;1. *52; % 4<2@ @692;A A52@2 =2<=92 D699 ;<A <;9F 46C2 B= <; % .@ . ;2D@

      @<B?02 /BA .9@< <; A52 612.9@ <3 12:<0?.0F . 3?22 =?2@@ .;1 3?22 @=2205 A5.A % 5.@

      3<@A2?21 6; A52@2 0<B;A?62@ C2; 63 % ?2@B:21 <? D.@ ?2=9.021 6; A52 3BAB?2 A52?2 6@

      ;< 4B.?.;A22 96@A2;2?@ D699 ?2AB?; <;02 A52 /?<.10.@A 4<2@ @692;A #;02 96@A2;2?@ <? C62D2?@

      9<@2 .002@@ A< %M@ =?<4?.::6;4 A52F :.F AB?; A< <A52? @<B?02@ <3 6;3<?:.A6<;

      6;09B16;4 @A.A20<;A?<9921 :216. .;1 :.F ;<A ?2AB?; 2C2; 63 %M@ @2?C602@ .?2

      2C2;AB.99F ?2@A<?21 '56@ 0<B91 ?2@B9A 6; .; 6??2C2?@6/92 @2A/.08 A< %M@ :6@@6<; <3

      =?<C616;4 B;02;@<?21 ;2D@ .;1 =?<:<A6;4 12:<0?.A60 C.9B2@ 6; A52@2 ?246<;@

      MC2 ?2026C21 :<?2 A5.; AD< 1<G2; @A.A2:2;A@ 3?<: <B? B;6<; :2:/2?@ .A %

      2E=9.6;6;4 A52 6:=.0A@ A52 3B?9<B45@ D699 5.C2 <; A526? =2?@<;.9 96C2@ .;1 <; A526? ?<92 .@



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      7<B?;.96@A@ '52@2 @A.A2:2;A@ .?2 .AA.0521 A< A56@ 1209.?.A6<; .@ E56/6A  D6A5 B;6<;

      :2:/2?@M ;.:2@ ?21.0A21 A< =?<A20A A52 =?6C.0F .;1 @.32AF <3 A52@2 D<?82?@ &<:2 <3

      A52@2 @A.A2:2;A@ ;<A2 A52 ?6@8 A< % 7<B?;.96@A@ =2?@<;.99F <3 9<@6;4 A526? ;<;6::64?.;A

      D<?8 C6@.@ .;1 5.C6;4 A< ?2AB?; 5<:2 A< 0<B;A?62@ D52?2 A52F 0<B91 /2 =2?@20BA21 1B2 A<

      A526? D<?8 3<? % .@ 7<B?;.96@A@ @B05 .@ )62A;.: <? 56;. <? A52 1.;42? A5.A . 9<@@ <3

      % =?<4?.:6;4 D699 2E=<@2 A526? 3.:69F :2:/2?@ A< ?2A.96.A6<; ./?<.1 &2C2?.9 <3 <B?

      :2:/2?@ 56459645A A526? ?<92@ .@ A52 05623 /?2.1D6;;2? 6; A526? 5<B@25<91@ @B==<?A6;4

      @=<B@2@ 05691?2; .;1 2912?9F =.?2;A@ &2C2?.9 612;A63621 :2160.9 6@@B2@ A5.A .?2 A?2.A21

      A5?<B45 A526? 2:=9<F2?=?<C6121 52.9A5 6;@B?.;02 #B? :2:/2?@ .9@< 56459645A A52 C.9B2

      <3 A526? D<?8 3?<: ?2=<?A6;4 <; 5B:.; A?.336082?@ A< 42;<0612 A< 0<C2?.42 <3 "<?A5

      <?2.; 12320A<?@ .;1 2:=5.@6G2 5<D A52 ?<92 <3 A52 3?22 =?2@@ 6; A52 0<B;A?62@ @2?C21 /F

      % D699 /2 B;12?:6;21 63 %M@ /?<.10.@A@ .?2 0B?A.6921 <? 296:6;.A21



      E20BA21 .A *.@56;4A<;  <; A52      ?1 1.F <3 !.?05      




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                            Exhibit B




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             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK

              PATSY WIDAKUSWARA, et al.,
                                                                             No. 25 Civ. 2390
                                      Plaintiffs,

                          -against-

              KARI LAKE, et al.,

                                      Defendants.


                                  SUPPLEMENTAL DECLARATION OF JOHN DRYDEN

                      I, John Dryden, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

             following is true and correct:

                  1. I am over 18 years of age and competent to give this declaration. This declaration is

                      based on my personal knowledge, information, and belief.

                  2. I am the president of the Voice of America Employees Union, Local 1418, District

                      Council 20, American Federation of State, County and Municipal Employees, AFL-CIO

                      (“AFSCME Local 1418” or “Union”).

                  3. At 10:50 p.m. EST on March 25, 2025, I received an email from the U.S. Agency for

                      Global Media’s (USAGM) Director of Human Resources that included two attachments,

                      a “Reduction in Force Notification” and an excel spreadsheet with data on the employees

                      affected by the Reduction in Force (RIF). The notice states “This is a notice of

                      management’s decision to implement a [RIF] for multiple competitive areas. The agency

                      plans to send termination notices to employees in the next few weeks. Extraordinary

                      circumstances, driven by the President’s March 14, 2025 executive order Continuing the

                      Reduction of the Federal Bureaucracy and the need to provide clarity to employees

                      necessitate a notification period shorter than three months.” The notice further states that
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                      at least 29 AFSCME Local 1418 bargaining unit members will be affected by the RIF. A

                      true and correct copy of this notice is attached hereto as Exhibit 1.

                  4. Also included in the email from the USAGM Human Resources Director is an excel

                      spreadsheet with data on the 29 affected employees, which includes 23 Radio Broadcast

                      Technicians (RBT) who work in Radio Studios and 6 who work in Radio Master Control.

                      A true and correct copy of this document is attached hereto as Exhibit 2.

                  5. AFSCME Local 1418 represents a collective bargaining unit of approximately 32

                      employees in the position of RBT who work for USAGM at Voice of America (VOA), of

                      which 26 work in Radio Studios and 6 work in Radio Master Control. To my knowledge,

                      3 members have submitted retirement applications.

                  6. If USAGM terminates the 29 listed employees and the 3 members referenced above

                      retire, the entire bargaining unit of VOA RBTs will be eliminated. Without any RBTs to

                      engineer radio programing, VOA will not be able to broadcast any live radio programing.

                  7. I declare under penalty of perjury under the laws of the United States that the foregoing is

                      true and correct.

                      Executed at Germantown, MD on the 26th day of March, 2025.




                                                                                  John Dryden




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                       EXHIBIT 1




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 330 Independence Ave SW, Washington, D.C. 20237

 MEMORANDUM FOR             AFSCME

 FROM:                      CRYSTAL THOMAS
                            Director of Human Resources

 DATE:                      March 25, 2025

 SUBJECT:                   Reduction in Force Notification

 This is a notice of management’s decision to implement a reduction in force (RIF) for multiple competitive
 areas. The agency plans to send termination notices to employees in the next few weeks. Extraordinary
 circumstances, driven by the President’s March 14, 2025 executive order Continuing the Reduction of the
 Federal Bureaucracy and the need to provide clarity to employees necessitate a notification period shorter
 than three months.

 1. The reason for the reduction in force:

 The President’s March 14, 2025, executive order Continuing the Reduction of the Federal Bureaucracy.
 Statutory positions and functions will remain.

 2. The approximate number of employees who may be affected initially:

 Approximately 29 AFSCME bargaining unit employees, but this number is subject to change.

 3. The competitive areas and levels that may initially be involved in a reduction in force:

 See the accompanying attachment for the competitive areas and levels.

 4. The anticipated effective date of the action.

 Termination notices may be sent in the next few weeks, with a 60-calendar day period prior to the effective
 date.




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                       EXHIBIT 2




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                            Exhibit C




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                       EXHIBIT 1




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 330 Independence Ave SW, Washington, D.C. 20237

 MEMORANDUM FOR             AFGE

 FROM:                      CRYSTAL THOMAS
                            Director of Human Resources

 DATE:                      March 25, 2025

 SUBJECT:                   Reduction in Force Notification

 This is a notice of management’s decision to implement a reduction in force (RIF) for multiple competitive
 areas. The agency plans to send termination notices to employees in the next few weeks. Extraordinary
 circumstances, driven by the President’s March 14, 2025 executive order Continuing the Reduction of the
 Federal Bureaucracy and the need to provide clarity to employees necessitate a notification period shorter
 than three months.

 1. The reason for the reduction in force:

 The President’s March 14, 2025, executive order Continuing the Reduction of the Federal Bureaucracy.
 Statutory positions and functions will remain.

 2. The approximate number of employees who may be affected initially:

 Approximately 594 AFGE bargaining unit employees, but this number is subject to change.

 3. The competitive areas and levels that may initially be involved in a reduction in force:

 See the accompanying attachment for the competitive areas and levels.

 4. The anticipated effective date of the action.

 Termination notices may be sent in the next few weeks, with a 60-calendar day period prior to the effective
 date.




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                       EXHIBIT 2




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sϭϯϲϬϴϳ͘/EdZK^dZ D d/D/  , ^ ͘ϭϲϴϵϰ͘/ϬϬ͘WWZ
sϭϯϲϬϴϳ͘/EdZK^dZ D d/D/  , ^ ͘ϭϲϵϵϳ͘/ϬϬ͘WWZ
sϭϵϭϬϱϲ͘/EdZK^dZ D d/D/ ^,KE E  ͘ϭϳϯϮϰ͘/ϬϬ͘WWZ
sϭϲϵϭϲϭ͘/EdZK^dZ D d/D/  , ^ ͘ϭϳϮϬϭ͘/ϬϬ͘WWZ
sϮϮϬϬϯϴ͘/EdZEd/KE ZK^dZ D d/D/  ^,KE E  ͘ϭϴϰϬϯ͘/ϬϬ͘WWZ
sϮϭϬϬϵϴ͘D d/D/^W/ /^d E /^, ͘ϭϴϮϱϮ͘/ϬϬ͘WWZ
sϭϳϬϮϭϯ͘/EdZK^dZ D d/D/  d/ Z/ E ͘ϭϳϯϲϭ͘/ϬϬ͘WWZ
sϭϵϬϮϬϮ͘/EdZK^dZ D d/D/  , ^ ͘ϭϳϵϲϮ͘/ϬϬ͘WWZ
sϭϱϴϬϴϯ͘/EdZK^dZ D d/D/  ^KD / ͘ϭϲϵϱϲ͘/ϬϬ͘WWZ
sϭϲϵϭϴϴ͘/EdZK^dZ D d/D/  ZE, ͘ϭϲϳϯϵ͘/ϬϬ͘WWZ
sϮϭϬϭϰϳ͘D d/D/^W/ /^d D,Z/  EKZKDK d/ Z/ E ͘ϭϴϭϳϯ͘/ϬϬ͘WWZ
sϭϰϳϬϱϱ͘D d/D/WZK d/KE^W/ /^d͘ϭϱϳϱϮ͘/ϬϬ͘WWZ
sϭϲϵϬϳϳ͘/EdZK^dZ D d/D/  ^KD / ͘ϭϱϳϵϳ͘/ϬϬ͘WWZ
sϮϭϬϭϰϳ͘D d/D/^W/ /^d D,Z/  EKZKDK d/ Z/ E ͘ϭϴϭϳϮ͘/ϬϬ͘WWZ
sϭϲϵϬϴϰ͘/EdZK^dZ D d/D/  DZ ͘ϭϱϱϱϲ͘/ϬϬ͘WWZ
sϭϵϬϭϲϲ͘/EdZK^dZ D d/D/ ^KD / ͘ϭϳϮϭϱ͘/ϬϬ͘WWZ
sϮϮϬϬϲϯ͘/ /d DE /E /dKZ ^t,/ / ͘ϭϵϰϵϲ͘/ϬϬ͘WWZ
sϮϮϬϭϭϯ͘/EdZEd/KE ZK^dZ D d/D/  , ^ ͘ϭϴϳϲϬ͘/ϬϬ͘WWZ
sϭϲϵϭϴϴ͘/EdZEd/KE ZK^dZ D d/D/  ZE, ͘ϭϳϱϰϯ͘/ϬϬ͘WWZ


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sϭϱϴϬϴϯ͘/EdZK^dZ D d/D/  ^KD / ͘ϭϰϵϭϲ͘/ϬϬ͘WWZ
sϮϭϬϬϲϰ͘D d/D/^W/ /^d ZE, ͘ϭϳϵϲϭ͘/ϬϬ͘WWZ
sϭϱϴϭϰϱ͘/EdZK^dZ Z/K ds  ^t,/ / ͘ϭϱϬϱϱ͘/ϬϬ͘WWZ
sϭϵϬϮϬϮ͘/EdZK^dZ D d/D/  , ^ ͘ϭϳϮϲϳ͘/ϬϬ͘WWZ
sϮϭϬϭϰϭ͘D d/D/^W/ /^d E /^, ͘ϭϴϭϳϱ͘/ϬϬ͘WWZ
sϭϲϵϭϴϴ͘/EdZK^dZ D d/D/  ZE, ͘ϭϲϵϱϳ͘/ϬϬ͘WWZ
sϭϯϲϮϬϲ͘/ D d/D/  WKZd      ^ ͘ϭϰϴϯϯ͘/ϬϬ͘WWZ
sϭϳϬϮϭϲ͘/EdZK^dZ D d/D/   EKZKDK ͘ϭϲϯϱϯ͘/ϬϬ͘WWZ
sϭϳϬϮϭϯ͘/EdZK^dZ D d/D/  d/ Z/ E ͘ϭϲϯϱϱ͘/ϬϬ͘WWZ
sϭϳϬϮϭϲ͘/EdZK^dZ D d/D/   EKZKDK ͘ϭϲϯϱϮ͘/ϬϬ͘WWZ
sϭϳϬϮϭϯ͘/EdZK^dZ D d/D/  d/ Z/ E ͘ϭϲϯϱϰ͘/ϬϬ͘WWZ
sϰϭϬϮ͘/EdZK^dZ ^t,/ / ͘ϭϮϳϱϯ͘/ϬϬ͘WWZ
sϮϭϬϬϲϰ͘D d/D/^W/ /^d ZE, ͘ϭϳϵϮϰ͘/ϬϬ͘WWZ
sϴϮϭϭ͘Z/KWZK d/KE^W͘ϵϲϵϴ͘/ϬϬ͘WWZ
sϮϭϬϮϭϬ͘/EdZK^dZ d/ Z/ E  D d/D/  dD  ͘ϭϴϲϯϲ͘/ϬϬ͘WWZ
sϮϰϬϬϮϴ͘/EdZEd/KE ZK^dZ D,Z/  D d/D/  dD  ͘ϮϬϭϵϭ͘/ϬϬ͘WWZ
sϮϭϬϭϰϯ͘D d/D/^W/ /^d E /^, ͘ϭϴϭϴϱ͘/ϬϬ͘WWZ
sϮϭϬϭϯϯ͘WZK ZͲ/ZdKZ͘ϭϴϭϰϳ͘/ϬϬ͘WWZ
sϮϭϬϭϰϮ͘D d/D/^W/ /^d E /^, ͘ϭϴϭϳϭ͘/ϬϬ͘WWZ
sϮϭϬϭϰϱ͘D d/D/^W/ /^d E /^, ͘ϭϴϭϴϲ͘/ϬϬ͘WWZ
sϭϱϴϬϬϲ͘/EdZK^dZ /Z E/ ͘ϭϰϲϮϬ͘/ϬϬ͘WWZ
sϮϭϬϬϲϰ͘D d/D/^W/ /^d ZE, ͘ϭϳϵϲϬ͘/ϬϬ͘WWZ
sϳϰϴϳ͘/EdZK^dZ Z/K /EdZEd  /E ZtE ͘ϴϯϬϬ͘/ϬϬ͘WWZ
sϭϳϬϮϭϳ͘/EdZK^dZ D d/D/  D,Z/ ͘ϭϲϯϰϵ͘/ϬϬ͘WWZ
sϭϯϲϬϲϰ͘/EdZK^dZ Z/K /EdZEd  /E ZtE ͘ϭϰϬϲϲ͘/ϬϬ͘WWZ
sϴϱϵϴ͘/EdZK^dZ Z/K  E /^, ͘ϭϮϬϭϲ͘/ϬϬ͘WWZ
sϴϯϴϴ͘/EdZK^dZ Z/K WKZd        ^ ͘ϭϬϭϵϳ͘/ϬϬ͘WWZ
sϮϰϬϬϳϭ͘/EdZEd/KE ZK^dZ͘ϮϬϮϭϯ͘/ϬϬ͘WWZ
sϮϮϬϮϭϬ͘WZK ZDKKZ/EdKZ͘ϭϴϳϬϴ͘/ϬϬ͘WWZ
sϮϬϬϬϯϰ͘  d/sWZK Z ds , ^ ͘ϭϳϰϬϯ͘/ϬϬ͘WWZ
sϮϮϬϬϯϮ͘D d/D/^W/ /^d E /^, ͘ϭϴϯϲϯ͘/ϬϬ͘WWZ
sϮϯϬϬϮϲ͘/EdZEd/KE ZK^dZ D d/D/  WKZd           ^ ͘ϭϴϳϲϭ͘/ϬϬ͘WWZ
 ϭϳϬϮϳϯ͘/EdZEd/KE ZK^dZ D d/D/  ZE, ͘ϭϲϰϵϲ͘/ϬϬ͘WWZ
sϮϬϬϬϵϯ͘/EdZEd/KE ZK^dZ D d/D/ ͘ϭϳϰϴϰ͘/ϬϬ͘WWZ
sϭϵϬϭϳϬ͘/EdZK^dZ D d/D/  ^KD / ͘ϭϳϮϭϴ͘/ϬϬ͘WWZ
sϭϳϬϮϱϵ͘/EdZK^dZ D d/D/  ^KD / ͘ϭϲϰϳϱ͘/ϬϬ͘WWZ
sϭϲϵϬϲϳ͘  d/sWZK Z ds  ^t,/ / ͘ϭϲϴϮϴ͘/ϬϬ͘WWZ
sϭϴϬϭϴϯ͘/ /d  ZW,/^Zd/^d͘ϭϲϵϮϱ͘/ϬϬ͘WWZ
sϮϭϬϬϴϭ͘/EdZK^dZ D d/D/  ^t,/ / ͘ϭϴϬϲϵ͘/ϬϬ͘WWZ
sϭϲϵϭϴϭ͘  d/sWZK Z ds ^KD / ͘ϭϱϳϮϱ͘/ϬϬ͘WWZ
sϮϱϬϬϭϬ͘/EdZEd/KE ZK^dZͲ/dKZ͘ϮϬϰϵϬ͘/ϬϬ͘WWZ
sϰϬϵϬ͘ EZ ^^/ EDEd^ZWKZdZ E /^, ͘ϭϮϱϵϮ͘/ϬϬ͘WWZ
sϭϭϰϮϴϮ͘D d/D/WZK d/KE^W͘ϭϮϵϯϲ͘/ϬϬ͘WWZ
sϭϳϬϬϰϭ͘/EdZK^dZ Z/K  E /^, ͘ϭϱϵϱϰ͘/ϬϬ͘WWZ
sϭϱϴϬϵϴ͘WZK dDE Z͘ϭϰϵϰϮ͘/ϬϬ͘WWZ
sϭϳϬϬϵϭ͘  d/sWZK Z d s/^/KE ͘ϭϲϬϭϲ͘/ϬϬ͘WWZ
sϰϭϬϮ͘/EdZK^dZ ^t,/ / ͘ϭϲϴϮϵ͘/ϬϬ͘WWZ


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sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϯϱ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϳϰϴϲ͘/ϬϬ͘WWZ
sϮϭϬϬϮϭ͘D d/D/^W/ /^d ZW,/^ ͘ϭϳϴϬϵ͘/ϬϬ͘WWZ
sϭϲϵϬϴϯ͘/d^W/ /^d  ^d^Wd ͘ϭϴϵϱϱ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d dsWZK d/KE dKDd/KE ͘ϭϴϳϴϮ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϯϯ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϯϭ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϯϬ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d dsWZK d/KE dKDd/KE ͘ϭϴϴϯϳ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϴϲϴϮ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϯϮ͘/ϬϬ͘WWZ
sϮϭϬϬϮϭ͘D d/D/^W/ /^d ZW,/^ ͘ϭϳϴϭϬ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϮϵ͘/ϬϬ͘WWZ
sϭϳϬϭϳϬ͘dsZK^dd,E//E DZ Z/Z / ,d/E ͘ϭϲϯϰϭ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϴϰϵϲ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϳϮϰϮ͘/ϬϬ͘WWZ
sϮϭϬϭϲϲ͘ZK^dd,E//E͘ϭϴϮϬϱ͘/ϬϬ͘WWZ
sϭϳϬϮϰϳ͘d KDD E/d/KE^^W/ /^d͘ϮϬϰϭϱ͘/ϬϬ͘WWZ
sϮϭϬϭϲϲ͘ZK^dd,E//E͘ϭϴϮϬϰ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEd,E//E D d/D/ ͘ϭϲϴϬϰ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d dsWZK d/KE dKDd/KE ͘ϭϴϯϬϵ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϳϮϵϲ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϳϯϳϴ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϳϮϵϱ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϳϳϬϬ͘/ϬϬ͘WWZ
sϮϭϬϬϴϬ͘/d^W/ /^d ^ ^D/E ͘ϭϵϭϲϬ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϳϲϵϵ͘/ϬϬ͘WWZ
sϭϲϵϬϴϯ͘ /d^W/ /^d  ^d^Wd ͘ϭϱϱϮϳ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϳϳϬϮ͘/ϬϬ͘WWZ
sϭϳϬϮϰϳ͘d KDD E/d/KE^^W/ /^d͘ϮϬϰϭϰ͘/ϬϬ͘WWZ
sϭϳϬϭϱϴ͘WZK ZDKKZ/EdKZ͘ϭϲϳϰϭ͘/ϬϬ͘WWZ
sϭϵϬϬϲϰ͘dsZK^dd,E//E s/K/dKZ ͘ϭϳϭϮϯ͘/ϬϬ͘WWZ
sϭϵϬϭϰϮ͘dsD^dZKEdZK d,E//E͘ϭϳϱϮϵ͘/ϬϬ͘WWZ
sϭϵϬϬϰϭ͘/d^W/ /^d  ^d^Wd ͘ϭϳϯϬϬ͘/ϬϬ͘WWZ
sϭϵϬϬϲϰ͘dsZK^dd,E//E s/K/dKZ ͘ϭϳϵϲϵ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϴϯϵϮ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϳϬ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϳϰϭϴ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϴϲϭϴ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϯϰ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϲϲ͘/ϬϬ͘WWZ
sϭϳϬϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϲϯϮϴ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϵϲ͘/ϬϬ͘WWZ
sϮϮϬϬϬϰ͘dsZK^dd,E//E s/K/dKZ ͘ϭϴϯϮϱ͘/ϬϬ͘WWZ
sϮϬϬϬϴϳ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϳϰϲϬ͘/ϬϬ͘WWZ
sϮϮϬϬϬϰ͘dsZK^dd,E//E s/K/dKZ ͘ϭϴϯϮϰ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϳϯϯϵ͘/ϬϬ͘WWZ


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sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϳϰϴϳ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϳϰϭϳ͘/ϬϬ͘WWZ
sϭϳϬϮϰϳ͘d KDD E/d/KE^^W/ /^d͘ϭϲϰϴϱ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϴϱϰϲ͘/ϬϬ͘WWZ
sϭϲϵϬϭϭ͘/d^W/ /^d ^ ^D/E ͘ϭϱϳϭϰ͘/ϬϬ͘WWZ
sϭϳϬϮϰϳ͘d KDD E/d/KE^^W/ /^d͘ϭϲϰϴϭ͘/ϬϬ͘WWZ
sϭϵϬϬϰϭ͘/d^W/ /^d  ^d^Wd ͘ϭϳϮϵϵ͘/ϬϬ͘WWZ
sϭϵϬϬϰϭ͘/d^W/ /^d  ^d^Wd ͘ϭϳϭϰϵ͘/ϬϬ͘WWZ
sϮϮϬϬϬϱ͘dsZK^dd,E//E s/K/dKZ ͘ϭϴϯϬϮ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d dsWZK d/KE dKDd/KE ͘ϭϵϭϱϮ͘/ϬϬ͘WWZ
sϭϳϮϭϬ͘dsZK^dd,E//E  /K ͘ϭϵϬϮϲ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϳϮ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϵϴ͘/ϬϬ͘WWZ
sϱϳϯϯ͘dsZK^dd,E//E͘ϭϭϮϮϴ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϵϯ͘/ϬϬ͘WWZ
sϮϬϬϬϴϳ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϳϰϲϮ͘/ϬϬ͘WWZ
sϭϳϬϭϵϰ͘dsD^dZKEdZK d,E//E͘ϭϲϮϵϮ͘/ϬϬ͘WWZ
sϵϬϮϬ͘dsWZK d/KE^W͘ϰϲϮϱ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϴϮϯϮ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϳϮϱϯ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϳϯϲϳ͘/ϬϬ͘WWZ
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sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϮϬϭϱϭ͘/ϬϬ͘WWZ
sϭϭϰϭϴϯ͘ d KDD E/d/KE^^W/ /^d͘ϭϲϴϲϰ͘/ϬϬ͘WWZ
sϮϬϰϵ͘/d^W/ /^d  ^d^Wd ͘ϭϭϲϭϰ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W/ /^d dsWZK d/KE dKDd/KE ͘ϭϴϯϭϭ͘/ϬϬ͘WWZ
sϳϵϬϵ͘/d^W/ /^d ^ ^D/E ͘ϵϯϵϵ͘/ϬϬ͘WWZ
sϭϵϬϬϲϱ͘ /Ks/^  WZK d/KE^W dsWZK d/KE dKDd/KE ͘ϭϴϯϬϲ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϮϬϬϵϮ͘/ϬϬ͘WWZ
sϭϴϬϬϮϱ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϮϬϭϯϭ͘/ϬϬ͘WWZ
sϭϴϬϭϳϮ͘dsZK^dd,E//E͘ϭϲϴϲϮ͘/ϬϬ͘WWZ
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sϮϰϬϬϭϴ͘  dE ^d͘ϭϵϯϮϲ͘/ϬϬ͘WWZ
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sϮϭϬϭϮϰ͘WZK dDE Z͘ϭϴϭϯϭ͘/ϬϬ͘WWZ
sϭϯϲϭϳϱ͘/ /d KEdEdKKZ/EdKZ͘ϭϯϵϬϮ͘/ϬϬ͘WWZ
sϮϰϬϭϯϱ͘s KWDEdEdZ/E/E WZK dDE Z͘ϮϬϯϯϲ͘/ϬϬ͘WWZ
sϭϴϬϭϳϰ͘/E KZDd/KEd,EK K ^W/ /^d WW^t ͘ϭϲϴϲϱ͘/ϬϬ͘WWZ
sϭϳϬϮϲϴ͘^ Ws/d^W/ /^d /Ed ͘ϭϲϴϲϲ͘/ϬϬ͘WWZ
sϮϮϬϭϰϲ͘/EdZK^dZ D d/D/ ͘ϭϴϰϵϯ͘/ϬϬ͘WWZ
sϮϮϬϬϱϰ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϴϰϰϰ͘/ϬϬ͘WWZ


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sϭϭϰϮϭϯ͘/EdZK^dZ ds  DEZ/E ͘ϭϱϭϰϴ͘/ϬϬ͘WWZ
sϭϭϰϮϭϴ͘/EdZEd/KE ZK^dZ d s/^/KE  DEZ/E ͘ϭϯϳϱϱ͘/ϬϬ͘WWZ
sϭϭϰϮϭϯ͘/EdZEd/KE ZK^dZ d s/^/KE  DEZ/E ͘ϭϯϳϱϯ͘/ϬϬ͘WWZ
sϮϬϬϭϮϱ͘D d/D/^W/ /^d DEZ/E ͘ϭϳϱϱϯ͘/ϬϬ͘WWZ
sϮϭϬϬϰϬ͘D d/D/^W/ /^d DEZ/E ͘ϭϴϯϴϮ͘/ϬϬ͘WWZ
sϬϵϮϭ͘/EdZK^dZ EdKE^ ͘ϭϯϬϴϱ͘/ϬϬ͘WWZ
sϭϭϰϮϮϰ͘/EdZK^dZ DEZ/E ͘ϭϮϴϬϴ͘/ϬϬ͘WWZ
sϭϭϰϮϮϰ͘/EdZK^dZ DEZ/E ͘ϭϮϴϬϰ͘/ϬϬ͘WWZ
sϮϭϬϬϰϬ͘D d/D/^W/ /^d DEZ/E ͘ϭϳϳϵϴ͘/ϬϬ͘WWZ
sϭϱϴϬϵϮ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϲϲϱϮ͘/ϬϬ͘WWZ
sϮϭϬϬϬϴ͘D d/D/^W/ /^d EdKE^ ͘ϭϳϵϭϲ͘/ϬϬ͘WWZ
sϭϭϰϮϭϯ͘/EdZK^dZ ds  DEZ/E ͘ϭϮϴϬϯ͘/ϬϬ͘WWZ
sϭϭϰϮϭϵ͘/EdZEd/KE ZK^dZ DEZ/E ͘ϭϯϲϰϵ͘/ϬϬ͘WWZ
sϮϭϬϬϰϬ͘D d/D/^W/ /^d DEZ/E ͘ϭϳϴϬϭ͘/ϬϬ͘WWZ
sϭϯϲϭϵϮ͘/EdZEd/KE ZK^dZ͘ϭϱϵϮϲ͘/ϬϬ͘WWZ
sϭϵϬϮϬϱ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϳϮϳϰ͘/ϬϬ͘WWZ
sϭϮϱϬϯϭ͘/EdZK^dZ DEZ/E ͘ϭϯϭϵϯ͘/ϬϬ͘WWZ
sϮϭϬϭϮϯ͘KEdZd^W/ /^d͘ϮϬϯϯϯ͘/ϬϬ͘WWZ
sϮϭϬϭϮϯ͘KEdZd^W/ /^d͘ϭϴϲϴϱ͘/ϬϬ͘WWZ
sϮϭϬϭϮϮ͘KEdZd^W/ /^d͘ϭϵϰϮϴ͘/ϬϬ͘WWZ
sϮϭϬϭϮϮ͘KEdZd^W/ /^d͘ϮϬϮϴϵ͘/ϬϬ͘WWZ
sϮϯϬϬϱϭ͘WZK ZDEdE ^d͘ϭϵϬϯϴ͘/ϬϬ͘WWZ
sϭϵϬϭϭϰ͘KEdZd^W/ /^d͘ϭϴϳϯϳ͘/ϬϬ͘WWZ
sϭϭϰϭϳϳ͘K /D Z͘ϭϯϰϬϱ͘/ϬϬ͘WWZ
sϮϭϬϭϮϮ͘KEdZd^W/ /^d͘ϭϵϬϵϬ͘/ϬϬ͘WWZ
sϮϭϬϭϮϮ͘KEdZd^W/ /^d͘ϭϵϱϬϭ͘/ϬϬ͘WWZ
sϴϬϴϰ͘KEdZd^W/ /^d ^/DW / / /^/d/KE^ ͘ϭϮϰϱϭ͘/ϬϬ͘WWZ
sϮϭϬϭϮϮ͘KEdZd^W/ /^d͘ϮϬϯϭϭ͘/ϬϬ͘WWZ
sϮϬϬϬϱϳ͘WZK ZDEdE ^d͘ϭϳϱϯϬ͘/ϬϬ͘WWZ
sϭϭϰϭϯϵ͘WZK ZDEd^^/^dEd͘ϭϮϴϯϱ͘/ϬϬ͘WWZ
sϭϵϬϬϲϯ͘ /EE  DEdE ^d͘ϭϳϱϵϰ͘/ϬϬ͘WWZ
sϭϳϬϮϲϰ͘Z^Z,E ^d͘ϭϲϰϳϮ͘/ϬϬ͘WWZ
sϭϯϲϬϱϮ͘t^/ EZ͘ϭϯϳϯϵ͘/ϬϬ͘WWZ
sϭϰϳϬϭϭ͘/d^W/ /^d /Ed ts KWZ͘ϭϰϭϭϭ͘/ϬϬ͘WWZ
sϭϴϬϬϲϵ͘WZK ZDE ^d DdZ/^ ͘ϭϲϲϵϯ͘/ϬϬ͘WWZ
sϮϭϬϬϰϬ͘D d/D/^W/ /^d DEZ/E ͘ϭϳϳϵϱ͘/ϬϬ͘WWZ
sϭϳϬϭϵϭ͘/EdZEd/KE ZK^dZ DEZ/E ͘ϭϲϮϲϬ͘/ϬϬ͘WWZ
sϮϯϬϭϰϱ͘D d/D/^W/ /^d ,DZ ͘ϭϵϰϱϰ͘/ϬϬ͘WWZ
sϭϱϴϭϳϳ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϱϱϬϳ͘/ϬϬ͘WWZ
sϮϬϬϭϮϭ͘D d/D/^W/ /^d /EKE^/E ͘ϭϵϮϭϬ͘/ϬϬ͘WWZ
sϮϬϬϭϮϭ͘D d/D/^W/ /^d /EKE^/E ͘ϭϵϮϭϭ͘/ϬϬ͘WWZ
sϮϭϬϭϲϳ͘D d/D/^W/ /^d d/dE ͘ϭϴϯϲϵ͘/ϬϬ͘WWZ
sϮϮϬϭϮϯ͘/EdZEd/KE ZK^dZ D d/D/   ZD^ ͘ϭϴϳϬϰ͘/ϬϬ͘WWZ
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sϮϬϬϭϮϭ͘D d/D/^W/ /^d /EKE^/E ͘ϭϳϴϵϵ͘/ϬϬ͘WWZ
sϮϭϬϬϭϲ͘/EdZEd/KE ZK^dZ D d/D/ s/dED^ ͘ϭϳϳϯϱ͘/ϬϬ͘WWZ
sϮϰϬϬϬϲ͘/EdZEd/KE ZK^dZ D d/D/  K ͘ϭϵϰϱϴ͘/ϬϬ͘WWZ


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sϮϬϬϬϳϬ͘Z/KWZK d/KE^W/ /^d KZE ͘ϭϳϱϬϯ͘/ϬϬ͘WWZ
sϮϮϬϬϲϵ͘/EdZEd/KE ZK^dZ D d/D/  s/dED^ ͘ϭϴϯϴϰ͘/ϬϬ͘WWZ
sϮϰϬϬϮϳ͘D d/D/^W/ /^d s/dED^ ͘ϭϵϵϱϱ͘/ϬϬ͘WWZ
sϮϯϬϭϰϲ͘/EdZEd/KE ZK^dZ D d/D/  ,DZ ͘ϭϵϰϱϳ͘/ϬϬ͘WWZ
sϭϴϬϭϯϭ͘/Ed ZK^dZ D d/D/  s/dED^ ͘ϭϲϴϭϲ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZEd/KE ZK^dZ D d/D/   ZD^ ͘ϭϳϭϱϰ͘/ϬϬ͘WWZ
sϭϴϬϬϱϬ͘/EdZK^dZ D d/D/   ZD^ ͘ϭϲϲϵϮ͘/ϬϬ͘WWZ
sϭϴϬϬϰϯ͘/EdZEd/KE ZK^dZ D d/D/   ZD^ ͘ϭϲϲϰϲ͘/ϬϬ͘WWZ
sϭϵϬϮϭϳ͘/EdZEd/KE ZK^dZ D d/D/  d/dE ͘ϭϳϮϵϳ͘/ϬϬ͘WWZ
sϭϯϲϭϮϮ͘/dE ZK^dZ KZE ͘ϭϲϵϮϲ͘/ϬϬ͘WWZ
sϭϯϲϭϮϮ͘/EdZEd/KE ZK^dZ D d/D/  KZE ͘ϭϳϭϯϬ͘/ϬϬ͘WWZ
sϮϮϬϬϱϯ͘/EdZK^dZ D d/D/  s/dED^ ͘ϭϴϲϮϯ͘/ϬϬ͘WWZ
sϮϮϬϬϯϵ͘/EdZEd/KE ZK^dZ D d/D/  s/dED^ ͘ϭϴϰϬϱ͘/ϬϬ͘WWZ
sϮϭϬϬϰϳ͘D d/D/^W/ /^d /EKE^/E ͘ϭϳϴϵϴ͘/ϬϬ͘WWZ
sϮϯϬϬϵϯ͘/EdZEd/KE ZK^dZ D d/D/  ,DZ ͘ϭϵϭϱϭ͘/ϬϬ͘WWZ
sϭϯϲϮϯϭ͘/EdZEd/KE ZK^dZ D d/D/  ,DZ ͘ϭϲϳϲϮ͘/ϬϬ͘WWZ
sϮϯϬϬϮϮ͘/EdZEd/KE ZK^dZ KZE ͘ϭϴϳϱϵ͘/ϬϬ͘WWZ
sϭϴϬϬϲϳ͘/EdZEd/KE ZK^dZ D d/D/  d,/ ͘ϭϳϳϭϯ͘/ϬϬ͘WWZ
sϭϲϵϭϮϮ͘/EdZEd/KE ZK^dZ D d/D/  s/dED^ ͘ϭϱϲϭϬ͘/ϬϬ͘WWZ
sϮϭϬϭϱϰ͘D d/D/^W/ /^d KZE ͘ϭϴϭϴϯ͘/ϬϬ͘WWZ
sϮϭϬϬϭϯ͘D d/D/^W/ /^d KZE ͘ϭϳϳϬϵ͘/ϬϬ͘WWZ
sϮϭϬϬϭϯ͘D d/D/^W/ /^d KZE ͘ϭϳϳϭϬ͘/ϬϬ͘WWZ
sϭϲϵϭϭϱ͘/EdZEd/KE ZK^dZ D d/D/  K ͘ϭϲϯϲϭ͘/ϬϬ͘WWZ
sϭϱϴϬϵϰ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϲϱϵϵ͘/ϬϬ͘WWZ
sϭϱϴϬϵϰ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϲϱϵϮ͘/ϬϬ͘WWZ
sϮϯϬϬϭϯ͘/EdZK^dZ D d/D/  DEZ/E ͘ϭϴϳϱϰ͘/ϬϬ͘WWZ
sϭϱϴϬϵϮ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϳϯϯϱ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZEd/KE ZK^dZ D d/D/   ZD^ ͘ϭϳϯϵϳ͘/ϬϬ͘WWZ
sϮϯϬϭϰϲ͘/EdZEd/KE ZK^dZ D d/D/  ,DZ ͘ϭϵϰϱϯ͘/ϬϬ͘WWZ
sϭϯϲϮϯϭ͘/EdZEd/KE ZK^dZ D d/D/  ,DZ ͘ϭϱϯϬϲ͘/ϬϬ͘WWZ
sϭϱϴϬϵϮ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϱϲϬϵ͘/ϬϬ͘WWZ
sϭϯϲϭϮϮ͘/EdZEd/KE ZK^dZ D d/D/  KZE ͘ϭϳϭϵϱ͘/ϬϬ͘WWZ
sϭϰϳϭϰϴ͘/EdZK^dZ d/dE ͘ϭϰϱϳϬ͘/ϬϬ͘WWZ
sϭϲϵϭϱϵ͘/EdZEd/KE ZK^dZ D d/D/  s/dED^ ͘ϭϲϯϲϵ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZEd/KE ZK^dZ  ZD^ ͘ϭϰϴϮϴ͘/ϬϬ͘WWZ
sϭϴϬϬϱϬ͘/EdZEd/KE ZK^dZ D d/D/   ZD^ ͘ϭϳϴϰϭ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZK^dZ  ZD^ ͘ϭϰϰϬϬ͘/ϬϬ͘WWZ
sϭϱϴϭϳϳ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϲϯϬϲ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZEd/KE ZK^dZ  ZD^ ͘ϭϰϰϬϮ͘/ϬϬ͘WWZ
sϭϬϭϴ͘/EdZEd/KE ZK^dZ KZE ͘ϭϰϲϮϳ͘/ϬϬ͘WWZ
sϭϱϴϭϳϴ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϱϱϴϮ͘/ϬϬ͘WWZ
sϭϱϴϭϮϳ͘/EdZEd/KE ZK^dZ D d/D/  ,DZ ͘ϭϰϵϵϮ͘/ϬϬ͘WWZ
sϭϱϴϭϳϳ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϱϱϬϲ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZEd/KE ZK^dZ  ZD^ ͘ϭϰϰϬϭ͘/ϬϬ͘WWZ
sϭϱϴϭϳϴ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϱϱϴϰ͘/ϬϬ͘WWZ
sϮϭϬϬϮϳ͘D d/D/^W/ /^d d,/ ͘ϭϳϳϯϰ͘/ϬϬ͘WWZ
sϳϵϭϲ͘/EdZK^dZ  ZD^ ͘ϭϲϯϴϵ͘/ϬϬ͘WWZ


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sϮϭϬϬϭϬ͘D d/D/^W/ /^d ,DZ ͘ϭϳϳϬϲ͘/ϬϬ͘WWZ
sϭϬϭϳ͘Z/KWZK d/KE^W/ /^d KZE ͘ϭϲϲϱϯ͘/ϬϬ͘WWZ
sϭϯϲϭϮϯ͘/Ed ZK^dZ D d/D/  KZE ͘ϭϱϳϯϴ͘/ϬϬ͘WWZ
sϮϬϬϭϮϭ͘D d/D/^W/ /^d /EKE^/E ͘ϭϳϴϬϳ͘/ϬϬ͘WWZ
sϭϱϴϭϳϴ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϱϭϬϬ͘/ϬϬ͘WWZ
sϮϭϬϬϰϳ͘D d/D/^W/ /^d /EKE^/E ͘ϭϳϴϬϲ͘/ϬϬ͘WWZ
sϭϯϲϬϵϲ͘/EdZEd/KE ZK^dZ D d/D/  /EKE^/E ͘ϭϱϱϳϬ͘/ϬϬ͘WWZ
sϭϬϮϬ͘/EdZK^dZ KZE ͘ϭϭϮϬϯ͘/ϬϬ͘WWZ
sϯϮϭϵ͘/EdZK^dZ ds  d/dE ͘ϭϮϬϬϰ͘/ϬϬ͘WWZ
sϯϯϲϬ͘/EdZK^dZ /EKE^/E ͘ϭϮϮϳϬ͘/ϬϬ͘WWZ
sϯϮϮϬ͘/EdZK^dZ ds  d/dE ͘ϭϮϬϬϭ͘/ϬϬ͘WWZ
sϳϴϭϰ͘/EdZK^dZ d/dE ͘ϴϳϱϰ͘/ϬϬ͘WWZ
sϮϮϬϭϮϭ͘/ /d /dKZ KZE ͘ϭϴϰϵϭ͘/ϬϬ͘WWZ
sϮϭϬϭϳϭ͘/EdZEd/KE ZK^dZ D d/D/ DEZ/E ͘ϭϴϮϭϯ͘/ϬϬ͘WWZ
sϮϰϬϬϰϬ͘/EdZK^dZ D d/D/  KZE ͘ϭϵϴϭϵ͘/ϬϬ͘WWZ
sϮϮϬϭϵϭ͘/EdZEd/KE ZK^dZ D d/D/  KZE ͘ϭϴϳϯϮ͘/ϬϬ͘WWZ
sϭϲϵϭϯϮ͘D d/D/WZK d/KE^W/ /^d d/dE ͘ϭϳϬϭϳ͘/ϬϬ͘WWZ
sϭϳϬϮϴϬ͘/EdZEd/KE ZK^dZ d/dE ͘ϭϲϲϬϵ͘/ϬϬ͘WWZ
sϭϴϬϬϲϯ͘/EdZK^dZ KZE ͘ϭϴϭϳϴ͘/ϬϬ͘WWZ
sϮϯϬϭϭϲ͘/EdZEd/KE ZK^dZ D d/D/  KZE ͘ϭϵϭϱϬ͘/ϬϬ͘WWZ
sϳϰϯϮ͘dsWZK d/KE^W /ZdKZ  /EKE^/E ͘ϴϳϲϰ͘/ϬϬ͘WWZ
sϭϴϬϬϲϯ͘/EdZK^dZ KZE ͘ϭϴϬϳϮ͘/ϬϬ͘WWZ
sϮϭϬϬϰϳ͘D d/D/^W/ /^d /EKE^/E ͘ϭϳϴϬϱ͘/ϬϬ͘WWZ
sϭϱϴϬϵϮ͘/EdZEd/KE ZK^dZ D d/D/  DEZ/E ͘ϭϲϵϭϰ͘/ϬϬ͘WWZ
sϮϭϬϬϰϬ͘D d/D/^W/ /^d DEZ/E ͘ϭϳϳϵϵ͘/ϬϬ͘WWZ
sϭϲϵϭϬϭ͘ dZKE/^E /EZ͘ϭϲϰϵϮ͘/ϬϬ͘WWZ
sϬϵϯϰ͘d KDD E/d/KE^^W͘ϭϭϭϳϴ͘/ϬϬ͘WWZ
sϴϭϱϵ͘WZKWZd DE DEd^W͘ϭϬϬϵϴ͘/ϬϬ͘WWZ
sϲϲϲϲ͘ dZKE/^E /EZ͘ϭϬϰϮϲ͘/ϬϬ͘WWZ
sϭϳϬϭϮϴ͘D,E/ E /EZ͘ϭϳϯϮϯ͘/ϬϬ͘WWZ
sϭϲϵϬϵϵ͘ K /^d/^DE DEd^W/ /^d͘ϭϲϳϴϮ͘/ϬϬ͘WWZ
sϭϴϬϭϮϴ͘ dZKE/^E /EZ͘ϭϲϳϴϵ͘/ϬϬ͘WWZ
sϳϭϭϯ͘/s/ E /EZ͘ϴϯϰϳ͘/ϬϬ͘WWZ
sϭϲϵϬϲϵ͘D/ /sZ ^ ^dD^K /Z͘ϭϱϱϭϭ͘/ϬϬ͘WWZ
sϭϯϲϬϱϭ͘/EdZEd/KE ZK^dZ KE /E  Z ^^/E ͘ϭϯϲϰϴ͘/ϬϬ͘WWZ
sϮϬϬϭϱϱ͘ DE /E /dKZ Z ^^/E ͘ϭϳϲϭϵ͘/ϬϬ͘WWZ
sϮϭϬϬϮϲ͘/EdZEd/KE ZK^dZ D d/D/  Z ^^/E ͘ϭϳϴϭϳ͘/ϬϬ͘WWZ
sϮϮϬϬϭϱ͘/ /d D/^W/ /^d Z ^^/E ͘ϭϵϬϭϱ͘/ϬϬ͘WWZ
sϮϯϬϬϭϰ͘D d/D/^W/ /^d Z ^^/E ͘ϭϴϵϱϳ͘/ϬϬ͘WWZ
sϮϯϬϬϭϰ͘D d/D/^W/ /^d Z ^^/E ͘ϭϴϵϵϰ͘/ϬϬ͘WWZ
sϮϭϬϬϴϯ͘D d/D/ ZW,/^^W/ /^d Z ^^/E ͘ϭϴϵϱϯ͘/ϬϬ͘WWZ
sϭϵϬϮϮϲ͘/EdZEd/KE ZK^dZ ds KE /E   E/E ͘ϭϴϰϮϮ͘/ϬϬ͘WWZ
sϮϮϬϬϯϰ͘/EdZK^dZ ds KE /E  ^Z/E ͘ϭϴϲϱϭ͘/ϬϬ͘WWZ
sϭϵϬϮϮϭ͘/EdZEd/KE ZK^dZ ds KE /E  ^Z/E ͘ϭϵϵϱϲ͘/ϬϬ͘WWZ
sϮϮϬϭϲϯ͘WZK ZDKKZ/EdKZ͘ϭϴϴϰϴ͘/ϬϬ͘WWZ
sϮϮϬϬϴϳ͘/ /d D/^W/ /^d Z/E/E ͘ϭϴϲϯϬ͘/ϬϬ͘WWZ
sϮϬϬϬϳϭ͘/EdZEd/KE ZK^dZ D d/D/  K^E/E ͘ϭϳϱϱϰ͘/ϬϬ͘WWZ


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sϮϮϬϬϱϴ͘D d/D/ ZW,/^^W/ /^d Z ^^/E ͘ϭϴϱϰϭ͘/ϬϬ͘WWZ
sϮϭϬϬϮϴ͘/EdZEd/KE ZK^dZ D d/D/  Z/E/E ͘ϭϴϯϵϵ͘/ϬϬ͘WWZ
sϭϴϬϭϮϮ͘/EdZK^dZ D d/D/  Z/E/E ͘ϭϲϵϯϱ͘/ϬϬ͘WWZ
sϭϵϬϮϮϭ͘/EdZEd/KE ZK^dZ ds KE /E  ^Z/E ͘ϭϳϱϬϮ͘/ϬϬ͘WWZ
sϭϲϵϭϬϳ͘/EdZK^dZ ds KE /E  Z/E/E ͘ϭϱϳϳϴ͘/ϬϬ͘WWZ
sϮϯϬϭϭϳ͘D d/D/^W/ /^d Z ^^/E ͘ϭϵϬϴϵ͘/ϬϬ͘WWZ
sϮϭϬϬϮϴ͘/EdZEd/KE ZK^dZ D d/D/  Z/E/E ͘ϭϳϴϭϵ͘/ϬϬ͘WWZ
sϮϯϬϭϰϰ͘/EdZEd/KE ZK^dZ ds KE /E   E/E ͘ϭϵϯϭϬ͘/ϬϬ͘WWZ
sϭϵϬϮϮϭ͘/EdZEd/KE ZK^dZ ds KE /E  ^Z/E ͘ϭϳϱϬϭ͘/ϬϬ͘WWZ
sϭϲϵϬϮϴ͘/EdZK^dZ ds KE /E  Z ^^/E ͘ϭϲϭϴϳ͘/ϬϬ͘WWZ
sϭϲϵϭϳϯ͘/EdZK^dZ ds KE /E  Z ^^/E ͘ϭϱϳϳϱ͘/ϬϬ͘WWZ
sϮϯϬϬϱϯ͘/EdZEd/KE ZK^dZ ds KE /E  Z ^^/E ͘ϭϵϰϵϴ͘/ϬϬ͘WWZ
sϮϭϬϬϱϬ͘D d/D/^W/ /^d  E/E ͘ϭϳϴϭϯ͘/ϬϬ͘WWZ
sϭϱϴϬϭϬ͘/EdZK^dZ ds KE /E  Z ^^/E ͘ϭϱϳϯϭ͘/ϬϬ͘WWZ
sϭϱϴϮϬϲ͘/EdZK^dZ ds KE /E  DKE/E ͘ϭϱϭϰϲ͘/ϬϬ͘WWZ
sϭϵϬϭϭϮ͘/EdZK^dZ ds KE /E  Z ^^/E ͘ϭϳϭϲϳ͘/ϬϬ͘WWZ
sϭϵϬϬϰϴ͘/EdZK^dZ ds KE /E  Z ^^/E ͘ϭϳϭϭϮ͘/ϬϬ͘WWZ
sϮϮϬϭϲϴ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϴϱϰϳ͘/ϬϬ͘WWZ
sϭϳϬϭϳϯ͘/Es^d/ d/stZ/dZͲ/dKZ͘ϭϵϭϮϳ͘/ϬϬ͘WWZ
sϯϮϬϴ͘/EdZK^dZ ^Z/E ͘ϭϭϵϳϳ͘/ϬϬ͘WWZ
sϭϭϰϮϲϴ͘/EdZK^dZ KZ /E ͘ϭϯϬϰϲ͘/ϬϬ͘WWZ
sϮϮϬϭϳϭ͘/EdZEd/KE ZK^dZ Z ^^/E KE /E͘ϭϴϴϰϬ͘/ϬϬ͘WWZ
sϭϵϬϮϯϱ͘/EdZEd/KE ZK^dZ s   E/E ͘ϭϳϰϭϵ͘/ϬϬ͘WWZ
sϭϭϰϯϭϳ͘/EdZK^dZ ds  K^E/E ͘ϭϮϵϴϴ͘/ϬϬ͘WWZ
sϮϭϬϬϱϬ͘D d/D/^W/ /^d  E/E ͘ϭϳϴϭϰ͘/ϬϬ͘WWZ
sϮϰϬϭϯϵ͘D d/D/ ZW,/^^/ EZ͘ϮϬϰϯϰ͘/ϬϬ͘WWZ
sϮϮϬϭϱϲ͘/EdZK^dZ D d/D/  Z ^^/E ͘ϭϴϲϰϮ͘/ϬϬ͘WWZ
sϭϳϬϬϵϳ͘/EdZK^dZ D d/D/  Z ^^/E ͘ϭϲϬϮϭ͘/ϬϬ͘WWZ
sϯϭϬϵ͘^E/KZE ^d͘ϭϴϯϳϱ͘/ϬϬ͘WWZ
sϰϬϴϰ͘/EdZK^dZ ds  Z/E/E ͘ϭϮϴϵϱ͘/ϬϬ͘WWZ
sϭϱϴϭϵϴ͘/dKZ ^W/ d ͘ϭϱϭϱϳ͘/ϬϬ͘WWZ
sϭϳϬϬϵϳ͘/EdZK^dZ D d/D/  Z ^^/E ͘ϭϲϬϮϮ͘/ϬϬ͘WWZ
sϭϲϵϬϮϴ͘/EdZK^dZ ds KE /E  Z ^^/E ͘ϭϲϲϰϳ͘/ϬϬ͘WWZ
sϮϱϬϬϬϱ͘/EdZK^dZ ds KE /E  Z/E/E ͘ϮϬϰϯϭ͘/ϬϬ͘WWZ
sϮϰϬϭϭϯ͘ /EE/ ^W/ /^d͘ϮϬϮϮϱ͘/ϬϬ͘WWZ
sϭϭϰϭϵϳ͘K EdEd /EdZE KEdZK ^ ͘ϭϴϳϵϰ͘/ϬϬ͘WWZ
sϮϭϬϭϭϳ͘W ZK ^W/ /^d͘ϭϴϮϱϰ͘/ϬϬ͘WWZ
sϭϭϰϭϵϳ͘K EdEd /EdZE KEdZK ͘ϭϴϴϬϲ͘/ϬϬ͘WWZ
sϭϭϰϮϲϳ͘K EdEd E ^/^ZWKZd/E EKDW /E ͘ϭϳϮϴϮ͘/ϬϬ͘WWZ
sϭϯϲϭϱϬ͘^E/KZK EdEd͘ϭϯϴϯϬ͘/ϬϬ͘WWZ
sϭϯϲϬϭϰ͘D d/D/WZK d/KE^W/ /^d͘ϭϯϲϬϮ͘/ϬϬ͘WWZ
sϭϯϲϬϭϰ͘D d/D/WZK d/KE^W/ /^d͘ϭϰϴϯϳ͘/ϬϬ͘WWZ
sϮϭϬϬϱϮ͘WZK Z͘ϭϳϴϮϭ͘/ϬϬ͘WWZ
sϴϱϵϮ͘/ Z/K ds  E /^, ͘ϭϬϲϲϬ͘/ϬϬ͘WWZ
sϮϰϬϬϴϱ͘, DEZ^K Z^^W/ /^d͘ϮϬϮϭϰ͘/ϬϬ͘WWZ
sϭϱϴϬϬϯ͘/d^W/ /^d ^ ^D/E ͘ϭϰϱϳϱ͘/ϬϬ͘WWZ
sϭϳϬϬϮϯ͘/d^W/ /^d /Ed ͘ϭϱϴϲϭ͘/ϬϬ͘WWZ


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sϭϮϱϭϴϰ͘/d^W/ /^d WZK D d ͘ϭϰϴϱϯ͘/ϬϬ͘WWZ
sϭϲϵϬϰϯ͘/d^W/ /^d /E K^ ͘ϭϱϮϳϲ͘/ϬϬ͘WWZ
sϭϱϴϮϭϯ͘/d^W/ /^d ^ ^D/E ͘ϭϱϳϯϵ͘/ϬϬ͘WWZ
sϭϱϴϬϬϮ͘/d^W/ /^d ^ ^D/E ͘ϭϰϱϳϲ͘/ϬϬ͘WWZ
sϭϮϱϭϬϵ͘/d^W/ /^d ^ ^D/E ͘ϭϮϵϰϵ͘/ϬϬ͘WWZ
sϭϳϬϬϲϮ͘/d^W/ /^d /E K^ ͘ϭϲϳϵϳ͘/ϬϬ͘WWZ
sϮϯϬϭϯϵ͘/d^W/ /^d ^ ^D/E ͘ϭϵϰϵϳ͘/ϬϬ͘WWZ
sϮϯϬϭϭϬ͘/EdZEd/KE ZK^dZ ZK  ͘ϭϵϰϱϵ͘/ϬϬ͘WWZ
sϮϭϬϬϴϰ͘D d/D/^W/ /^d ^WE/^, ͘ϭϴϮϬϭ͘/ϬϬ͘WWZ
sϮϭϬϬϬϵ͘D d/D/^W/ /^d ^WE/^, ͘ϭϳϲϵϯ͘/ϬϬ͘WWZ
sϭϯϲϭϳϴ͘/EdZEd/KE ZK^dZ D d/D/  ^WE/^, ͘ϭϰϵϳϱ͘/ϬϬ͘WWZ
sϭϲϵϭϲϮ͘/EdZEd/KE ZK^dZ ZK  ͘ϭϱϲϳϯ͘/ϬϬ͘WWZ
sϮϭϬϬϴϰ͘D d/D/^W/ /^d ^WE/^, ͘ϭϴϭϲϵ͘/ϬϬ͘WWZ
sϮϰϬϭϬϳ͘/EdZEd/dKZ ^WE/^, ͘ϮϬϭϳϭ͘/ϬϬ͘WWZ
sϳϳϮϲ͘/EdZK^dZ ds Z/K  ^WE/^, ͘ϵϬϯϰ͘/ϬϬ͘WWZ
sϳϮϭϳ͘/EdZ/KZK^dZ ^WE/^, ͘ϴϭϮϮ͘/ϬϬ͘WWZ
sϭϵϬϮϰϴ͘/EdZEd/KE ZK^dZ D d/D/  ^WE/^, ͘ϭϴϬϳϲ͘/ϬϬ͘WWZ
sϮϬϬϬϬϭ͘W EE/E WZK Z /dKZ ^WE/^, ͘ϭϳϳϬϱ͘/ϬϬ͘WWZ
sϭϵϬϭϱϵ͘/EdZEd/KE ZK^dZ ^WE/^, ͘ϭϳϲϭϴ͘/ϬϬ͘WWZ
sϭϲϵϭϲϮ͘/EdZEd/KE ZK^dZ ZK  ͘ϭϱϲϳϮ͘/ϬϬ͘WWZ
sϭϲϵϬϮϰ͘/EdZEd/KE ZK^dZ D d/D/  ^WE/^, ͘ϭϲϬϬϬ͘/ϬϬ͘WWZ
sϲϰϮϮ͘tZ/dZ͘ϭϬϰϰϰ͘/ϬϬ͘WWZ
sϱϳϱϲ͘tZ/dZ͘ϯϴϯϱ͘/ϬϬ͘WWZ
sϭϮϱϭϯϳ͘ ZW,/^^ WWKZd^W/ /^d͘ϭϲϬϵϮ͘/ϬϬ͘WWZ
sϭϵϬϮϰϵ͘s/KWZK d/KE^W/ /^d͘ϭϳϳϭϳ͘/ϬϬ͘WWZ
sϲϲϭϯ͘s/^  /E KZDd/KE^W͘ϴϱϬϰ͘/ϬϬ͘WWZ
sϭϳϬϬϰϯ͘W  / /Z^^W/ /^d͘ϭϲϴϱϰ͘/ϬϬ͘WWZ
sϮϯϬϭϬϯ͘d KDD E/d/KE^^W/ /^d͘ϮϬϬϭϭ͘/ϬϬ͘WWZ
sϭϵϬϬϮϳ͘d KDD E/d/KE^^W/ /^d͘ϭϴϬϬϱ͘/ϬϬ͘WWZ
sϭϰϳϭϯϰ͘/d^W/ /^d EdtKZ ͘ϭϰϰϵϱ͘/ϬϬ͘WWZ
sϭϰϳϭϭϴ͘/d^W/ /^d EdtKZ ͘ϭϰϰϭϭ͘/ϬϬ͘WWZ
sϭϵϬϬϮϳ͘d KDD E/d/KE^^W͘ϭϳϵϰϮ͘/ϬϬ͘WWZ
sϭϳϬϬϮϮ͘ /d^W/ /^d /Ed ͘ϭϱϴϲϬ͘/ϬϬ͘WWZ
sϳϵϬϳ͘/d^W/ /^d EdtKZ ͘ϵϯϰϵ͘/ϬϬ͘WWZ
sϭϴϬϬϳϳ͘d KDD E/d/KE^^W/ /^d͘ϭϲϳϭϮ͘/ϬϬ͘WWZ
sϯϯϯϲ͘/EdZK^dZ WZ^/E ͘ϭϮϭϱϮ͘/ϬϬ͘WWZ
sϮϰϬϬϱϲ͘d s/^/KE  d/sWZK Z WZ^/E ͘ϭϵϵϭϯ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϲϲϳϬ͘/ϬϬ͘WWZ
sϭϳϬϮϯϮ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϴϮϵϭ͘/ϬϬ͘WWZ
sϯϯϯϰ͘dsWZK d/KE^W/ /^d WZ^/E ͘ϭϳϱϴϳ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϴϮϳϬ͘/ϬϬ͘WWZ
sϭϳϬϮϯϮ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϳϵϬϮ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/ WZ^/E ͘ϭϳϴϰϮ͘/ϬϬ͘WWZ
sϮϭϬϬϯϳ͘WZK Z͘ϭϳϳϯϮ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϵϬ͘/ϬϬ͘WWZ
sϭϳϬϬϱϳ͘ dsWZK d/KE^W/ /^d WZ^/E ͘ϭϵϲϬϳ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϯϬ͘/ϬϬ͘WWZ


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sϭϳϬϬϱϳ͘ dsWZK d/KE^W/ /^d͘ϭϴϬϴϴ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϳϱϯ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϱϬϬϯ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϮϳ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϮϵ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϲϴϱ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϳϱϭ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϮϴ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϴϵ͘/ϬϬ͘WWZ
sϮϮϬϭϲϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϴϳϭϱ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϲϴϬ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϲϳϵ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϯϴϯϭ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϳϭϮ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϴϴ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϲϳϳ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϳϱϬ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϳϱϴ͘/ϬϬ͘WWZ
sϭϯϲϭϰϰ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϰϳϱϳ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϳϳϴϲ͘/ϬϬ͘WWZ
sϮϭϬϮϬϳ͘/EdZK^dZ KD^d/dKZZ^WKEEd WZ^/E ͘ϭϴϯϮϬ͘/ϬϬ͘WWZ
sϮϯϬϬϭϳ͘/EdZEd/KE ZK^dZ D d/D/  WZ^/E ͘ϭϴϲϳϴ͘/ϬϬ͘WWZ
sϯϯϮϰ͘/EdZK^dZ ^E/KZKZZ^WKEEd  WZ^/E ͘ϭϮϭϵϰ͘/ϬϬ͘WWZ
sϯϯϮϰ͘/EdZK^dZ ^E/KZKZZ^WKEEd  WZ^/E ͘ϭϯϭϰϯ͘/ϬϬ͘WWZ
sϯϭϬϲ͘/EdZK^dZ E /^,Ͳ d Z^ ͘ϭϮϯϱϭ͘/ϬϬ͘WWZ
sϮϭϬϬϬϲ͘D d/D/^W/ /^d WZ^/E ͘ϭϴϯϬϳ͘/ϬϬ͘WWZ
sϭϱϴϬϭϯ͘WZ KZDEZs/tE ^d͘ϭϴϲϴϲ͘/ϬϬ͘WWZ
sϭϱϴϬϭϯ͘WZ KZDEZs/tE ^d͘ϭϴϲϴϳ͘/ϬϬ͘WWZ
sϭϳϬϮϯϮ͘DE DEdEWZK ZDE ^d /EE/ ͘ϮϬϯϯϱ͘/ϬϬ͘WWZ
sϭϳϬϬϰϯ͘W  / /Z^^W/ /^d͘ϭϴϳϴϬ͘/ϬϬ͘WWZ
sϮϭϬϭϱϲ͘W  / /Z^^W/ /^d͘ϭϴϯϱϳ͘/ϬϬ͘WWZ
sϭϳϬϬϲϱ͘DE DEdEWZK ZDE ^d͘ϭϱϵϳϮ͘/ϬϬ͘WWZ
sϴϱϯϯ͘D/ KWZd/KE^^^/^dEd͘ϭϭϲϮϭ͘/ϬϬ͘WWZ
sϮϭϬϬϰϮ͘D/E/^dZd/sK /Z͘ϭϴϯϲϭ͘/ϬϬ͘WWZ
sϭϯϲϭϴϭ͘D/E/^dZd/sK /Z͘ϭϯϵϲϭ͘/ϬϬ͘WWZ
sϭϴϬϭϰϵ͘D/E/^dZd/s^^/^dEd K ͘ϭϲϴϮϬ͘/ϬϬ͘WWZ
sϭϴϬϬϳϴ͘WZK ZDE ^d͘ϭϲϳϭϲ͘/ϬϬ͘WWZ
sϮϰϬϬϬϵ͘/dWZK dDE Z W  W E ͘ϭϵϴϬϰ͘/ϬϬ͘WWZ
sϮϰϬϬϬϵ͘/dWZK dDE Z W  W E ͘ϭϵϮϲϳ͘/ϬϬ͘WWZ
sϮϰϬϬϬϵ͘/dWZK dDE Z W  W E ͘ϭϵϮϲϴ͘/ϬϬ͘WWZ
sϮϮϬϬϳϱ͘ EZ ^Zs/^^W/ /^d͘ϭϴϳϰϱ͘/ϬϬ͘WWZ
sϮϮϬϬϳϱ͘ EZ ^Zs/^^W/ /^d͘ϮϬϰϱϱ͘/ϬϬ͘WWZ
sϭϲϵϮϯϮ͘^ d EDZ E WZWZE^^^W/ /^d͘ϭϵϮϴϳ͘/ϬϬ͘WWZ
sϮϬϬϭϬϳ͘/ /d D/^W/ /^d W^,dK ͘ϭϳϱϯϰ͘/ϬϬ͘WWZ
sϭϭϳϱ͘D d/D/^W/ /^d W^,dK ͘ϭϴϳϱϯ͘/ϬϬ͘WWZ
sϮϮϬϭϱϬ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϵϵϭϮ͘/ϬϬ͘WWZ
sϮϬϬϭϬϳ͘/ /d D/^W/ /^d W^,dK ͘ϭϴϬϴϱ͘/ϬϬ͘WWZ


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sϮϬϬϭϭϳ͘/ /d Et^/dKZ Z/^, ͘ϭϳϵϵϰ͘/ϬϬ͘WWZ
sϮϰϬϭϭϲ͘/EdZEd/KE ZK^dZ / /d  d Z /^, ͘ϮϬϰϱϴ͘/ϬϬ͘WWZ
sϭϵϬϬϯϭ͘ ZW,/Zd/^d / /d D/ ͘ϭϳϭϱϱ͘/ϬϬ͘WWZ
sϭϴϬϬϮϮ͘/EdZK^dZ D d/D/  d Z /^,       Z/^, ͘ϭϲϴϰϯ͘/ϬϬ͘WWZ
sϭϴϬϬϲϱ͘/EdZK^dZ s  Z ͘ϭϲϳϯϬ͘/ϬϬ͘WWZ
sϭϳϬϮϬϳ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϲϲϳϲ͘/ϬϬ͘WWZ
sϰϬϳϱ͘/EdZK^dZ KE /E  d Z /^, ͘ϭϱϬϭϬ͘/ϬϬ͘WWZ
sϮϰϬϭϭϬ͘/EdZK^dZ D d/D/  d Z /^, ͘ϮϬϰϭϲ͘/ϬϬ͘WWZ
sϭϯϲϬϯϱ͘/EdZK^dZ W^,dK ͘ϭϰϭϭϳ͘/ϬϬ͘WWZ
sϮϰϬϬϬϴ͘/EdZEd/KE ZK^dZ D d/D/  d Z /^, ͘ϭϵϰϮϵ͘/ϬϬ͘WWZ
sϭϱϴϬϮϵ͘/EdZK^dZ KE /E  Z/^, ͘ϭϰϴϬϱ͘/ϬϬ͘WWZ
sϮϮϬϭϱϬ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϴϱϮϬ͘/ϬϬ͘WWZ
sϮϮϬϭϲϵ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϴϱϰϴ͘/ϬϬ͘WWZ
sϭϲϵϭϵϵ͘/EdZK^dZ D d/D/  E  ͘ϭϱϳϮϮ͘/ϬϬ͘WWZ
sϮϮϬϮϬϴ͘  d/sWZK Z͘ϭϴϵϵϯ͘/ϬϬ͘WWZ
sϮϭϬϬϱϭ͘D d/D/^W/ /^d Z/ ͘ϭϳϴϭϲ͘/ϬϬ͘WWZ
sϭϲϵϭϱϳ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϱϳϮϬ͘/ϬϬ͘WWZ
sϭϲϵϭϱϳ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϱϳϭϴ͘/ϬϬ͘WWZ
sϭϭϰϮϰϬ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϳϮϬϱ͘/ϬϬ͘WWZ
sϭϲϵϭϰϭ͘/EdZK^dZ D d/D/  Z ͘ϭϱϲϯϮ͘/ϬϬ͘WWZ
sϭϭϰϮϰϬ͘/EdZEd/KE ZK^dZ W^,dK ͘ϭϯϳϳϯ͘/ϬϬ͘WWZ
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sϭϭϭϰ͘/EdZK^dZ Z/ ͘ϭϱϰϭϮ͘/ϬϬ͘WWZ
sϮϭϬϬϰϰ͘D d/D/^W/ /^d W^,dK ͘ϭϳϴϬϮ͘/ϬϬ͘WWZ
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sϭϯϲϭϮϱ͘/EdZEd/KE ZK^dZ D d/D/  Z/ ͘ϭϯϳϳϰ͘/ϬϬ͘WWZ
sϭϭϰϮϰϬ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϲϳϲϯ͘/ϬϬ͘WWZ
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sϳϮϮϴ͘/EdZK^dZ  Z/ E/ ͘ϳϯϮϵ͘/ϬϬ͘WWZ
sϮϬϬϬϴϱ͘/EdZEd/KE ZK^dZ D d/D/ Z ͘ϭϳϰϳϰ͘/ϬϬ͘WWZ
sϭϭϳϱ͘/EdZK^dZ W^,dK ͘ϭϭϴϲϭ͘/ϬϬ͘WWZ
sϮϬϬϬϴϱ͘/EdZEd/KE ZK^dZ D d/D/ Z ͘ϭϳϰϳϯ͘/ϬϬ͘WWZ
sϮϬϬϭϮϳ͘^E/KZd s/^/KE^W/ /^d WZK Z     Z/^, ͘ϭϴϭϬϴ͘/ϬϬ͘WWZ
sϭϭϳϱ͘D d/D/^W/ /^d W^,dK ͘ϭϴϯϴϯ͘/ϬϬ͘WWZ
sϮϬϬϭϭϰ͘D d/D/^W/ /^d W^,dK ͘ϭϳϱϰϱ͘/ϬϬ͘WWZ
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sϭϳϬϭϯϱ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϲϭϯϵ͘/ϬϬ͘WWZ
sϮϬϬϭϭϬ͘D d/D/^W/ /^d d Z /^, ͘ϭϳϱϰϭ͘/ϬϬ͘WWZ
sϭϵϬϮϮϰ͘/dKZ Z/  ͘ϭϳϱϰϳ͘/ϬϬ͘WWZ
sϭϵϬϮϯϳ͘  d/sWZK Z ds  Z ͘ϭϳϯϮϵ͘/ϬϬ͘WWZ
sϭϰϳϬϴϱ͘dsWZK d/KE^W/ /^d Z ͘ϭϰϱϯϯ͘/ϬϬ͘WWZ
sϮϭϬϬϵϵ͘/EdZEd/KE ZK^dZ D d/D/  W^,dK ͘ϭϴϭϳϳ͘/ϬϬ͘WWZ
sϭϳϬϭϱϱ͘/EdZK^dZ D d/D/  W^,dK ͘ϭϲϭϴϲ͘/ϬϬ͘WWZ
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sϮϭϬϭϬϬ͘/EdZEd/KE ZK^dZ D d/D/  Z/ ͘ϭϴϭϳϲ͘/ϬϬ͘WWZ
sϭϴϬϭϬϴ͘/dKZ / /d  t ͘ϭϳϭϭϭ͘/ϬϬ͘WWZ


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sϭϲϵϭϲϵ͘^W/ WZK d^DE Z͘ϭϱϲϴϯ͘/ϬϬ͘WWZ
sϮϯϬϬϴϵ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϵϬϮϯ͘/ϬϬ͘WWZ
sϭϲϵϬϯϵ͘  d/sWZK Z ds  d Z /^, ͘ϭϱϮϲϳ͘/ϬϬ͘WWZ
sϮϯϬϭϯϬ͘  d/sWZK Z ds ͘ϭϵϬϲϳ͘/ϬϬ͘WWZ
sϭϳϬϭϯϰ͘/EdZK^dZ D d/D/  Z/^, ͘ϭϵϬϭϲ͘/ϬϬ͘WWZ
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sϭϲϵϭϳϭ͘^E/KZ/dKZ D d/D/  Z/ ͘ϭϱϲϴϭ͘/ϬϬ͘WWZ
sϭϲϵϬϯϲ͘/EdZK^dZ D d/D/   ͘ϭϱϮϲϭ͘/ϬϬ͘WWZ
sϭϳϬϭϯϰ͘/EdZK^dZ D d/D/  Z/^, ͘ϭϲϭϰϮ͘/ϬϬ͘WWZ
sϭϯϲϮϰϲ͘^E/KZE ^d͘ϭϲϭϳϱ͘/ϬϬ͘WWZ
sϭϴϬϭϱϲ͘/d^W/ /^d  ^d^Wd ͘ϭϳϴϵϲ͘/ϬϬ͘WWZ
sϭϴϬϭϱϲ͘/d^W/ /^d  ^d^Wd ͘ϭϳϴϵϳ͘/ϬϬ͘WWZ
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sϬϵϬϯ͘/d^W/ /^d  ^d^Wd ͘ϭϮϬϭϯ͘/ϬϬ͘WWZ
sϳϱϬϭ͘/d^W/ /^d  ^d^Wd ͘ϭϮϴϴϱ͘/ϬϬ͘WWZ
sϭϴϬϭϱϲ͘/d^W/ /^d  ^d^Wd ͘ϭϳϮϮϬ͘/ϬϬ͘WWZ
sϭϵϬϮϭϰ͘d KDD E/d/KE^^W/ /^d ZK^d/E D/d,EK K ͘ϭϴϬϴϯ͘/ϬϬ͘WWZ
sϭϵϬϮϭϰ͘d KDD E/d/KE^^W/ /^d ZK^dD/d,EK K ͘ϭϳϵϵϱ͘/ϬϬ͘WWZ
sϭϵϬϮϭϰ͘d KDD E/d/KE^^W/ /^d ZK^d/E D/d,EK K ͘ϭϴϭϴϭ͘/ϬϬ͘WWZ
sϭϱϴϭϴϵ͘d KDD E/d/KE^^W/ /^d͘ϭϳϭϵϬ͘/ϬϬ͘WWZ
sϭϵϬϬϯϲ͘/E KZDd/KEd,EK K ^W/ /^d  ^d^Wd ͘ϭϳϭϭϲ͘/ϬϬ͘WWZ
sϭϵϬϬϯϲ͘/E KZDd/KEd,EK K ^W/ /^d  ^d^Wd ͘ϭϳϭϭϱ͘/ϬϬ͘WWZ
sϭϵϬϮϭϰ͘d KDD E/d/KE^^W/ /^d ZK^d/E D/d,EK K ͘ϭϴϬϱϲ͘/ϬϬ͘WWZ
sϭϱϴϭϴϵ͘d KDD E/d/KE^^W/ /^d͘ϭϳϭϵϭ͘/ϬϬ͘WWZ
sϭϱϴϭϰϬ͘/d^W/ /^d  ^d^Wd ͘ϭϱϬϭϲ͘/ϬϬ͘WWZ
sϭϲϵϬϭϯ͘ /d^W/ /^d  ^d^Wd ͘ϭϱϮϭϬ͘/ϬϬ͘WWZ
sϭϱϴϭϴϵ͘d KDD E/d/KE^^W͘ϭϱϭϯϵ͘/ϬϬ͘WWZ
sϮϰϬϬϯϵ͘/d^W/ /^d ^ ^D/E ͘ϭϵϵϬϯ͘/ϬϬ͘WWZ
sϮϰϬϬϳϱ͘/d^W/ /^d  ^d^Wd ͘ϮϬϮϮϲ͘/ϬϬ͘WWZ
sϮϮϬϭϬϳ͘DE DEdEWZK ZDE ^d͘ϮϬϰϳϬ͘/ϬϬ͘WWZ
sϮϰϬϬϯϭ͘ZK^dD/EdEEd,E//E D d/D/ ͘ϭϵϰϱϲ͘/ϬϬ͘WWZ
sϮϰϬϬϯϯ͘ dsWZK d/KE^W/ /^d͘ϭϵϰϵϱ͘/ϬϬ͘WWZ
sϭϱϴϭϴϳ͘/ D d/D/ ͘ϭϵϱϳϵ͘/ϬϬ͘WWZ
sϰϬϵϬ͘ EZ ^^/ EDEd^ZWKZdZ E /^, ͘ϭϮϱϵϭ͘/ϬϬ͘WWZ
sϰϬϵϬ͘ EZ ^^/ EDEd^ZWKZdZ E /^, ͘ϭϴϬϳϭ͘/ϬϬ͘WWZ
sϮϮϬϬϲϭ͘/EdZK^dZ E /^, ͘ϭϴϳϭϭ͘/ϬϬ͘WWZ
sϮϭϬϬϲϲ͘ /EE  DEdE ^d͘ϭϳϵϯϴ͘/ϬϬ͘WWZ
sϮϭϬϬϲϲ͘ /EE  DEdE ^d͘ϭϴϰϯϬ͘/ϬϬ͘WWZ
sϯϭϭϲ͘/EdZEd/KE ZK^dZ E /^, ͘ϭϮϯϱϳ͘/ϬϬ͘WWZ
sϯϭϭϲ͘/EdZK^dZ E /^, ͘ϭϮϯϲϰ͘/ϬϬ͘WWZ
ssϮϮϬϬϮϵ͘WZ^^ ZKDD d/D/ZWKZdZ͘ϭϴϴϭϮ͘/ϬϬ͘WWZ
sϮϭϬϮϭϳ͘ ͘^ ͘WK /d/^EWK / ZWKZdZ͘ϭϴϲϱϴ͘/ϬϬ͘WWZ
sϮϭϬϬϵϴ͘/EdZEd/KE ZK^dZ KD^d/d ͘ϭϴϭϳϬ͘/ϬϬ͘WWZ
sϮϭϬϬϵϴ͘/EdZEd/KE ZK^dZ KD^d/dKZZ^WKEEd ͘ϭϴϬϭϰ͘/ϬϬ͘WWZ
sϮϮϬϬϯϲ͘/dKZ Z/  ͘ϭϴϯϱϬ͘/ϬϬ͘WWZ
sϭϴϬϬϬϳ͘ ZW,/Zd/^d͘ϭϲϱϳϴ͘/ϬϬ͘WWZ
sϭϱϴϭϯϮ͘/dKZ ^dKZ ͘ϭϳϯϬϯ͘/ϬϬ͘WWZ


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sϮϭϬϬϵϴ͘/EdZEd/KE ZK^dZ KD^d/dKZZ^WKEEd ͘ϭϴϬϭϳ͘/ϬϬ͘WWZ
sϮϭϬϬϵϴ͘/EdZEd/KE ZK^dZ KD^d/dKZZ^WKEEd ͘ϭϴϬϭϱ͘/ϬϬ͘WWZ
sϰϬϵϬ͘ EZ ^^/ EDEd^ZWKZdZ E /^, ͘ϭϯϵϳϴ͘/ϬϬ͘WWZ
sϰϬϵϬ͘ EZ ^^/ EDEd^ZWKZdZ E /^, ͘ϭϮϱϴϵ͘/ϬϬ͘WWZ
sϮϮϬϭϳϲ͘D/^^d/^WK^/d/KE^W/ /^d͘ϭϴϱϳϯ͘/ϬϬ͘WWZ
sϮϯϬϬϲϳ͘/d^W/ /^d /Ed ͘ϭϴϴϮϴ͘/ϬϬ͘WWZ
sϮϮϬϭϱϭ͘DE DEdEWZK ZDE ^d /EE/ ͘ϭϴϱϭϵ͘/ϬϬ͘WWZ
sϮϭϬϬϭϰ͘ /Ks/^  WZK d/KE^W/ /^d͘ϭϳϲϵϱ͘/ϬϬ͘WWZ
sϭϰϳϬϮϳ͘/EdZEd/KE ZK^dZ ds /EdZEd ͘ϭϰϭϯϱ͘/ϬϬ͘WWZ
sϭϭϱϲ͘/EdZK^dZ /EdZEd ͘ϭϭϰϮϯ͘/ϬϬ͘WWZ
sϯϭϭϲ͘/EdZK^dZ E /^, ͘ϭϮϯϲϯ͘/ϬϬ͘WWZ
sϭϭϰϮϲϮ͘/EdZK^dZ E /^, ͘ϭϮϯϳϴ͘/ϬϬ͘WWZ
sϭϰϳϬϮϲ͘dsWZK d/KE^W/ /^d͘ϭϰϭϯϳ͘/ϬϬ͘WWZ
sϮϮϬϬϲϭ͘/EdZK^dZ E /^, ͘ϭϴϲϮϳ͘/ϬϬ͘WWZ
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sϭϰϳϭϰϵ͘/EdZK^dZ D d/D/ ͘ϭϰϵϭϬ͘/ϬϬ͘WWZ
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sϭϱϴϭϯϮ͘/dKZ ^dKZ ͘ϭϱϬϯϳ͘/ϬϬ͘WWZ
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sϴϬϭϰ͘^d ^^/^dEd d W/E ͘ϵϮϱϲ͘/ϬϬ͘WWZ




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                                                   04/29/2025 Page 163
                                                                    124 of 208
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        Grade           Competitive Geo
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^ͲϭϮ        tĂƐŚŝŶŐƚŽŶ͕
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                   EXHIBIT ,




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                       DECLARATION OF JOHN DOE 4

       I, John Doe 4, declare under penalty of perjury that the foregoing is true and

 correct:

    1. I am a plaintiff in this case, captioned as Widakuswara v. Lake, No. 25-cv-

       01015-RCL (D.D.C).

    2. I am a PSC (Personal Service Contractor) and a member of the US Agency

       for Global Media (USAGM) workforce.

    3. On March 16, 2025, I was informed that my contract was to be terminated,

       effective March 31, 2025.

    4. On March 28, 2025, a Temporary Restraining Order (TRO) was entered in

       this case (ECF No. 54). The TRO temporarily enjoins the defendants,

       including USAGM, from taking “any action to reduce USAGM’s workforce

       (whether employees, contractors, or grantees).”

    5. On March 29, 2025, I received an email from USAGM, with the subject

       “PSC Status,” stating:

             Please be advised that the termination of your personal services
             contract is on hold until further notice. During this time, you will
             remain on administrative leave and will continue to receive your
             regular pay and benefits. We will keep you informed as the situation
             develops.




                                          1
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    6. A copy of the email is attached as Exhibit 1. USAGM did not reinstate my

       contract or suspend its termination at any time prior to March 29.

    7. On April 15, 2025, I also learned that USAGM has informed the PSC health

       insurance carriers that coverage is to terminate April 30, 2025.

    8. My concern about involuntary termination and the required departure from

       the United States remains. I am a visible member of the media and fear that

       my friends and family members residing in my home country risk retaliation

       for their associations with me should I be forced to leave the United States in

       the very public manner associated with the present circumstances.


       Dated; April 16, 2025

                                                                   /s/
                                                 JOHN DOE 4




                                          2
                                                                            Add. 108
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                                        EXHIBIT 1

 From: J.R. Hill <chill@usagm.gov>
 Date: Sat, Mar 29, 2025 at 5:36 PM
 Subject: PSC Status
 To: J.R. Hill <chill@usagm.gov>
 Ce: John Hoddinott <jhoddinott@usagm.gov>, PSC Inquiries <pscinquiries (Qusagm.gov>


 Good evening

  Please be advised that the termination of your personal services contract is on hold
 until further notice. During this time, you will remain on administrative leave and will
 continue to receive your regular pay and benefits. We will keep you informed as the
 situation develops.

 If you have any questions, please don’t hesitate to reach out.




 Thank you




 J.R. Hill

 USAGM/CON

 Branch Chief

 VOA, OCB and USAGM




 ae




                                                                                   Add. 109
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          <3     On March 14, 2025, President Trump issued an Executive Order directing that “the

 non-statutory components and functions of [USAGM] shall be eliminated to the maximum extent

 consistent with applicable law, and such entities shall reduce the performance of their statutory

 functions and associated personnel to the minimum presence and function required by law” (the

 “Executive    Order’).         See   Continuing      the     Reduction   of   the    Federal    Bureaucracy,

 https://www.whitehouse.gov/presidential-actions/2025/03/continuing-the-reduction-of-the-                .

 federal-bureaucracy/ (Mar. 14, 2025),

          6.     On March 15, 2025, pursuant to the Executive Order, USAGM                   placed 1,042 full-

 time employees on administrative leave with full pay and benefits. On March                    16, 2025, and

 terminated the contracts with all personal services contractors, who will be paid through March 31,

 2025.   The agency has retained the ability to recall employees from administrative leave to work

 status as it seeks to implement the Executive Order.

          7.     In the course of that implementation, on March 25, 2025, I sent an email to 33

  employees who work at Office of Cuba Broadcasting recalling them from administrative leave

  effective March 26, 2025. As of the end of the day on March 26, 2025, I can confirm that all

  employees were on work status. I have been advised that the Office of Cuba Broadcasting resumed

  radio service on March 26, 2025, and television broadcasting resumed on March 27, 2025.

          8.      In addition to the employees recalled from administrative leave at the Office of

  Cuba    Broadcasting,   the     agency   has     recalled   approximately    31    other   employees       from

  administrative leave.

          9:      The American Federal Government Employees Local 1812 (“AFGE”) serves as the

 exclusive representative for a bargaining unit consisting of approximately 713 USAGM employees.

 On March 25, 2025, J sent an email to the AFGE Local 1812 President enclosing a preliminary




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                   EXHIBIT 2




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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

  PATSY WIDAKUSWARA, et al.,
                                                               No. 25 Civ. 2390
                         Plaintiffs,

          -against-

  KARI LAKE, et al.,

                         Defendants.


                           DECLARATION OF THIBAUT BRUTTIN

        I, Thibaut Bruttin, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

 following is true and correct:

        1.      I am over 18 years of age and competent to give this declaration. This declaration

 is based on my personal knowledge, information, and belief.

        2.      I am the Director General of Reporters Sans Frontières (“RSF”). I have worked for

 RSF for 10 years.

        3.      RSF is an international non-profit, non-governmental organization dedicated to

 protecting the freedom, pluralism and independence of journalism, and to defending those who

 embody these ideals. Our mission spans from reporting on censorship and attacks on journalists,

 to advocating for press freedom and the right of the public to access reliable information through

 government engagement, to directly supporting journalists with physical security and legal

 assistance.

        4.      RSF’s correspondents around the globe rely on reporting from Voice of America

 (“VOA”) and the United States Agency for Global Media (“USAGM”) grantee networks to

 perform essential functions.



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        5.      The shutdown of USAGM, and VOA in particular, has caused and will continue to

 cause irreparable harm to RSF as an advocacy organization, to the correspondents they represent

 and who affiliate with them, and to the individuals throughout the world who depend on that work

 and whose interests RSF champions.

        6.      Those irreparable harms include depriving correspondents of a trustworthy source

 of news and information in countries and landlocked or remote regions where VOA is one of the

 few, if not the only, sources of independent and reliable news; stopping RSF from receiving then

 disseminating vital public interest information for journalists and public safety; reducing the

 opportunities for persecuted correspondents’ stories to be highlighted and potentially protected;

 and significantly interfering with the organization’s ability to advocate for a free press. The

 silencing of VOA also impedes RSF’s ability to function and forces the organization to lose and

 waste material resources it otherwise would not have spent and upon which it relies. These harms

 are not abstract or speculative — they are tangible, ongoing, and in many cases, life-threatening.

        7.      RSF has over 150 correspondents who are media workers around the world. In

 many of the threatened and at-risk countries where RSF and its correspondents operate, VOA is

 among the most authoritative and indispensable sources of information or provides unique

 coverage otherwise unavailable. Those countries of operation include Afghanistan, Armenia,

 Azerbaijan, Bangladesh, Burundi, Cambodia, China (including Hong Kong and Tibet), Colombia,

 Democratic Republic of Congo, Myanmar, Ukraine, Pakistan, Venezuela, El Salvador, Vietnam,

 and Zimbabwe.

        8.      The destruction of VOA is causing and will continue to cause immediate irreparable

 damage to RSF. For RSF and its correspondents, VOA is a critical reliable source for monitoring

 press freedom and political developments.



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        9.      RSF correspondents rely on VOA and USAGM grantees networks as listeners in

 places where the local media is unreliable. These correspondents — many of whom operate in

 hostile environments with limited access to credible local media — are now deprived of a trusted

 source that shaped their reporting, informed RSF's advocacy, and protected their safety. In regions

 where media is tightly controlled, including parts of Central Europe, Central Asia, Sub-Saharan

 Africa, Latin America, and Southeast Asia, VOA broadcasts in local languages and provides

 coverage that cannot be replicated by domestic outlets. Losing VOA erases a critical flow of

 information for our correspondents.

        10.     In Vietnam, an RSF correspondent relies on VOA for many of their news and

 analytical reports. Without VOA, their work will be severely curtailed, and they will have to

 expend further energy and resources to gather the information they need — costs that will be billed

 to RSF, causing further irreparable loss to the organization — and potentially expose themselves

 to greater danger. That danger stems from having to cultivate additional sources which, in an

 authoritarian regime, can be perilous, as Vietnam's continuous policy of mass imprisonment of

 media personnel and the high number of journalistic fatalities around the world attest. In Vietnam

 alone, VOA journalist Pham Chi Dung is serving a 15-year sentence and three freelance journalists

 with USAGM grantee Radio Free Asia are also arbitrarily detained because of performing their

 journalistic activity (Truong Duy Nhat, sentenced to 10 years in prison in 2020; Nguyen Tuong

 Thuy, sentenced to 11 years in prison in 2021; and Nguyen Lan Thang, sentenced to 6 years in

 custody in 2023). It is also the case in Myanmar where VOA journalist Sithu Aung Myint was

 arrested in 2021 on charges of inciting crime, defaming the military and sedition.

        11.     For a Tibetan RSF correspondent, one of their main sources of information on the

 coverage of Tibetan Media organizations comes from two major organizations with the resources



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 to get accurate information out of Tibet to the wider world: Radio Free Asia (which is a USAGM

 grantee) and VOA Tibetan Services. Defendants’ actions will eradicate this essential stream of

 information that people around the world are entitled to receive, stifle the expression of Tibetans,

 and irreparably damage the RSF's correspondent’s ability to fulfill their journalistic obligations.

        12.     RSF’s Kenyan correspondent also relies on VOA reporting, especially for

 information from other African countries. They said that they used VOA “a lot as a source of

 [their] news and understanding what was happening elsewhere in the continent.” That knowledge

 is an important resource that informs their work.

        13.     At a basic level, reporters depend on each other to do their jobs and removing VOA

 journalists from the equation interferes with that. Shutting off access to trustworthy journalism

 irreparably prevents journalists and RSF correspondents from performing a crucial function:

 collaborating to identify reliable information. RSF’s Burundian correspondent, for instance,

 exchanged information with VOA journalists on an ongoing regular basis. He says, “Now I find

 myself somewhat orphaned, it’s as if I’ve lost friends who encouraged me, who pushed me to

 improve, to dare to dig for good information.”

        14.     Every story that doesn’t appear, or that is hampered, by the lack of VOA is itself

 an injury that can never be repaired.

        15.     Those irreparable injuries are compounded for RSF correspondents and journalists

 working in dangerous regions. They don’t just rely on VOA to do their jobs but for their own

 personal safety.

        16.     For example, in Ethiopia, VOA is one of the key sources of regular and objective

 news on Ethiopian affairs and is broadcast in three languages to reach the majority of Ethiopians.

 VOA’s services have been essential sources of information for RSF during critical elections and



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 episodes of political, ethnic and other forms of violence. Our media worker reports, “As a

 correspondent, I have multiple times used VOA reporting to verify information received from

 sources on the arrest, prosecution, disappearance and court proceedings of journalists persecuted

 by all kinds of interest groups in Ethiopia…The loss of VOA services would lead to a closure of a

 crucial source of information on all press freedom issues and encourage those engaged in the

 persecution of journalists.” In a nation where journalists have been arrested in large numbers,

 beaten, and even killed, that constitutes a substantial and irreparable harm.

        17.     In the Democratic Republic of Congo (“DRC”), journalists must operate in a highly

 perilous environment, where organized and violent rebels endanger the lives of journalists —

 including RSF’s correspondent — and the populace. Accordingly, since January 2025 RSF was

 called to provide life-saving support for more than 30 journalists and documented over 50 attacks

 on newsrooms and journalists in North Kivu in less than a year. VOA’s reporting is essential for

 the people of the country to understand the circumstances in which they find themselves and to

 respond accordingly. While the people in DRC are under constant threat from M23 Rebels, and

 local media is prevented from independently reporting on the ongoing conflict via explicit orders

 and under threat of physical harm, VOA broadcasts honest and indispensable information that

 would otherwise be censored. Its journalists uncover stories others are unable to report — VOA

 reporters are famous in DRC for establishing contacts, specifically in Swahili, with the general

 population and with the average civilian facing danger. Our correspondent journalist in turns relies

 upon VOA to inform their reporting. With the absence of VOA, both the journalists and the

 public they serve are deprived of critical information. That is by itself an irreparable injury, and

 also exposes them to other grave harms and even mortal peril.




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        18.     The dismantling of VOA impedes RSF’s ability to function and forces our

 organization to waste material resources it otherwise would not have spent and upon which it

 relies. Because of USAGM’s actions, RSF will incur substantial costs through its assistance

 programs. We have already provided material support for VOA journalists and anticipate spending

 more for journalists impacted by VOA’s shutdown. These expenses include travel and relocation

 grants, IT, and other financial and material support. Total spending on assistance to individual

 journalists in 2024 was around one million Euros, or $1,087,725.02 U.S. dollars. Of that, support

 to VOA was about 25,000 Euros, or $27,193.13 U.S. dollars. We anticipate spending roughly

 125,000 Euros, or $135,965.63 U.S. dollars, on future VOA related cases in the upcoming

 weeks/months — notwithstanding specific needs-assessment based calculation.

        19.     VOA frequently covers RSF’s reports and advocacy efforts, ensuring that threats

 to journalists and media independence receive international attention; the loss of VOA weakens

 our ability to amplify press freedom concerns throughout the world. Owing to its foundational

 mission to expand press freedom around the world, VOA is perhaps the only American media

 outlet with a dedicated “press freedom desk” that regularly investigates and covers stories

 concerning press freedom in the United States and around the world. Moreover, there is no media

 outlet comparable to VOA — its mission, language diversity, reach, and reliability are sui

 generis. Without VOA, we lose a critical channel for our work. Our operations have already been

 irreparably frustrated. Because of this, the visibility of press freedom violations has also been

 reduced, rendering advocacy efforts — including RSF’s — less effective and more cost- and

 labor-intensive, to the detriment of our organization.

        20.     RSF correspondents worldwide also rely on VOA to amplify independent

 journalism and reporting to remote audiences. VOA is one of the few, if not the only, sources of



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 independent and reliable news in remote regions that have limited access to independent media

 and journalism. Our correspondents in Bangladesh, Ethiopia, Kenya, Pakistan, South Africa, and

 Zimbabwe report that rural regions in these nations remain mostly or entirely reliant on radio for

 news coverage. Consequently, VOA is often the only source of independent, reliable information

 in these areas, providing programming across multiple languages, including minority languages.

        21.     Indeed, where our correspondents rely on VOA to spread stories and protect the

 free flow of information in regions that don’t have access to government and other radio services,

 the silencing of VOA has already caused significant and irreplaceable loss. Our Zimbabwe

 correspondent stated that the withdrawal has “brought an end to 23 years of radio services to

 marginalized areas in remote parts of the country that had become accustomed to Studio 7,” VOA’s

 Zimbabwe program, with no practical alternative. Due to its long-standing presence in these

 regions, communities have become reliant on VOA for critical information. Our Bangladeshi RSF

 correspondent highlighted that VOA was a source of information during its government transition

 and continues to help safeguard democracy because it has been a trusted outlet in Bangladesh for

 so long (he noted that he has listened to “VOA broadcasts since he was a school student”).

        22.     In China, Hong Kong, and Tibet, VOA provides information that is inaccessible

 elsewhere and serves a vital role to expose the dangers journalists face, including our RSF Press

 Freedom laureates Zhang Zhan and Huang Qi. In addition to breaking news of human rights

 violations, VOA’s services disseminate reporting on detained journalists and their families and

 updates from jails that would otherwise be unavailable without their coverage.

        23.     These types of irreparable injuries to the interests of RSF, and to journalism and

 democracy itself, are precisely why the dismantling of VOA has been cheered by authoritarian

 regimes, including China, that are notorious for media repression. USAGM’s actions will



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 undoubtedly encourage harsher crackdowns against journalists and press freedom. Actions taken

 by repressive governments will put RSF staff, their correspondents, their volunteers, and their

 supporters in grave danger and ultimately cause them further irreparable harm. As part of its work,

 RSF combats censorship, propaganda, disinformation and rumor. Without VOA, those efforts

 have been damaged, forcing us to exhaust the organization’s resources to replace the lost

 functionality of VOA.

        24.     VOA frequently covers RSF’s reports and advocacy efforts, ensuring that threats

 to journalists and media independence receive international attention. The eradication of VOA

 immediately damages our ability to advocate and operate in the most sensitive global hotspots

 where information warfare dominates and our work is especially important. In Ukraine, VOA

 reaches audiences in Russian-occupied territories, which has allowed RSF’s message — including

 exposing threats to the free press, journalists, and affected populations — to reach critical

 populations and offering an alternative to Kremlin-controlled narratives. That vital medium has

 been destroyed. Losing this source will create an information vacuum that will be exploited by

 pro-Russian media, further limiting the availability of fact-based reporting in areas where it could

 be a matter of life and death.

        25.     RSF’s mission is to advocate for the right of every individual, regardless of where

 they live, to access reliable and independent information. In many regions, VOA has been among

 the only outlets providing this invaluable resource. For example, VOA was one of the few media

 outlets that was still able to report on Laos despite its continued repression of journalists, providing

 Laotian audiences with news in their local languages. Without VOA, Laos will truly become a

 black hole of information. That is because VOA information from outside and inside of Laos will




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 vanish — depriving both Laotians and the rest of the world of valuable information and hampering

 RSF’s mission of tracking press freedoms and the security of journalists.

        26.     The same is true in Afghanistan. The Taliban has severely restricted local media,

 and our RSF correspondent reports that VOA’s absence will make challenging the Taliban's

 crackdown on the press increasingly difficult. Both VOA and Radio Free Europe/Azadi Radio

 have been major sources of information for Afghani journalists and the public, attracting large

 audiences by covering the country’s situation more comprehensively and freely. These two media

 outlets have a long history of providing information during Afghanistan's tumultuous and war-torn

 conditions and have become vital information sources. Their absence is an immediate loss that will

 harm local media and journalists, who will no longer have a reliable source of information. It will

 take considerable time for any new media organization to build an audience and reach a similar

 level of credibility and influence with Persian/Dari and Pashto speakers, assuming that a media

 with such a will exists or could exist given the tremendous pressure exerted by the regime on

 journalistic work.

        27.     USAGM’s actions have already and will continue to make RSF’s work more

 difficult, causing irreparable damage. The sudden elimination of VOA has harmed journalists who

 it is our mission to protect, both in the United States and throughout the world. Many have lost

 their jobs and livelihoods. Our organization tracks attacks on press freedom, the struggles of

 journalists, and advocates for free exchange of information globally. Defendants have catalyzed a

 crisis in all three areas, forcing us to strain resources at a moment when our work is more essential

 than ever. Without VOA, a domino effect of second-order harms in media ecosystems worldwide

 has begun. For example, our Latin American correspondents report that, since the shutdown of




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 VOA, many local media outlets no longer carry international news in their programming. As

 nations’ information spaces silo, RSF’s work has been hamstrung.

        28.     I declare under penalty of perjury under the laws of the United States that the

 foregoing is true and correct.

        Executed at Paris, France on the 23rd day of March, 2025.




                                                                Thibaut Bruttin




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  PATSY WIDAKUSWARA, et al.,

         Plaintiffs,
                                                          Case No. 1:25-cv-1015-RCL
  v.
                                                          Case No. 1:25-cv-0887-RCL
  KARI LAKE, in her official capacity as
  Senior Advisor to the Acting CEO of the
  United States Agency for Global Media, et
  al.,

         Defendants.


  MICHAEL ABRAMOWITZ, et al.,

         Plaintiffs,

  v.

  KARI LAKE, in her official capacity as
  Senior Advisor to the Acting CEO of the
  United States Agency for Global Media, et
  al.,

         Defendants.


                                              ORDER

        On April 22, 2025, this Court entered a preliminary injunction (PI) after concluding that

 the defendants’ actions pursuant to Executive Order 14238, “Continuing the Reduction of the

 Federal Bureaucracy,” violated numerous provisions of the Administrative Procedure Act (APA).

 See Order, No. 25-cv-1015 (RCL) (“Widakuswara Docket”), ECF No. 99; Order, No. 25-cv-887

 (RCL) (“Abramowitz Docket”), ECF No. 29. The Court enjoined the defendants as follows:

        1) take all necessary steps to return USAGM employees and contractors to their
        status prior to the March 14, 2025 Executive Order 14238, “Continuing the
        Reduction of the Federal Bureaucracy,” including by restoring all USAGM



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        employees and personal service contractors, who were placed on leave or
        terminated, to their status prior to March 14, 2025, 2) restore the FY 2025 grants
        with USAGM Networks Radio Free Asia and Middle East Broadcasting Networks
        such that international USAGM outlets can “provide news which is consistently
        reliable and authoritative, accurate, objective, and comprehensive,” 22 U.S.C.
        § 6202(a), (b), and to that end, provide monthly status reports on the first day of
        each month apprising the Court of the status of the defendants’ compliance with
        this Order, including documentation sufficient to show the disbursement to RFA
        and MBN of the funds Congress appropriated, and 3) restore VOA [Voice of
        America] programming such that USAGM fulfills its statutory mandate that VOA
        “serve as a consistently reliable and authoritative source of news,” 22 U.S.C.
        § 6202(c).

        Order, Widakuswara Docket, ECF No. 99. The Court entered a corresponding PI in

 Abramowitz specifically tailored to the defendants’ actions regarding VOA. Order, Abramowitz

 Docket, ECF No. 29. The defendants have filed a “Motion for a Partial Stay Pending Appeal” in

 both cases [ECF No. 102, Widakuswara Docket] [ECF No. 32, Abramowitz Docket]. For the

 reasons contained herein, the defendants’ Motion is DENIED.

        Of note, the defendants characterize this Motion as a “partial stay” because they claim that

 they are not seeking a stay of the third portion of the Court’s PI: to “restore VOA programming

 such that USAGM fulfills its statutory mandate that VOA ‘serve as a consistently reliable and

 authoritative source of news,’ 22 U.S.C. § 6202(c).” Mot. at 10 (citing this Court’s PI Order).

 Notwithstanding the defendants’ characterization, the effect of the order they request would be to

 stay the third portion of the PI Order: a stay of the first portion of the PI would stay the

 implementation of the third, because VOA cannot resume programming if all staff remains on

 leave indefinitely. And in their Motion and accompanying declarations, defendants do not indicate

 any plans to resume VOA broadcasting, as is required by the third portion of the PI order. The

 Court therefore analyzes this Motion as one for a full stay of this Court’s PI order.

        “[T]he factors regulating the issuance of a stay” include “(1) whether the stay applicant has

 made a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be



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 irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the other

 parties interested in the proceeding; and (4) where the public interest lies.” Hilton v. Braunskill,

 481 U.S. 770, 776 (1987). The Court addresses each in turn.

        As the Court discussed in its Memorandum Opinion accompanying the PI Order, the

 defendants are not likely to succeed on the merits, and indeed, have opted not to argue the merits

 of the plaintiffs’ arbitrary and capricious challenge at all, which formed the bedrock of this Court’s

 holding. See Widakuswara v. Lake, No. 1:25-cv-1015-RCL, 2025 WL 1166400, at *13 (D.D.C.

 Apr. 22, 2025).

        The defendants also do not establish that irreparable harm to the government would occur

 absent a stay.    Regarding the Court’s injunction mandating compliance with congressional

 appropriations statutes, defendants argue that this obligation will cause irreparable harm to the

 government because the government is “unlikely to recover” the funds in the event that the D.C.

 Circuit finds that the defendants have been wrongfully enjoined. Mot. at 10. But this is not an

 accurate characterization of the defendants’ harm: financial harm is typically not irreparable unless

 ҂the loss threatens the very existence of the movant’s business.” Climate United Fund v. Citibank,

 N.A., No. 25-cv-698 (TSC), 2025 WL 842360, at *10 (D.D.C. Mar. 18, 2025) (quoting Wis. Gas

 Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (per curiam)). Though USAGM must continue

 to dispense congressional appropriations to RFA and MBN under this Court’s injunction, if the

 D.C. Circuit later holds for the defendants, the money that was disbursed will not “threaten the

 very existence” of USAGM, and the defendants could seek to recover the funds via other litigation

 avenues in the future. In short, ordering the payment of congressionally appropriated money to

 the intended recipient, and for its intended use, does not amount to irreparable harm to the federal

 government. The indefinite withholding of appropriations from international broadcasting outlets,




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 however, does cause irreparable harm. See Widakuswara, 2025 WL 1166400, *16 (detailing

 irreparable harm to the network grantees, including the shuttering of their businesses entirely).

         The defendants devote more discussion to the purported irreparable harm to the defendants

 regarding the impact on their personnel actions. Defendants represent their understanding of the

 preliminary injunction as follows: “Rather than narrowing [the injunction] to those employees or

 contractors who may have been removed or terminated as a result of Executive Order 14238, the

 Court includes every single ‘employee and contractor, who were placed on leave or terminated,’

 which includes those who may have been placed on administrative leave or terminated for other

 causes, including, but not limited to, misconduct, performance issues, or security violations.” Mot.

 at 6. Notably, this is the first time in this litigation that the defendants have argued that any of the

 personnel actions taken since March 14, 2025 were taken for any reason other than in response to

 the Executive Order. And the record belies this belated characterization—indeed, in the March 15

 email placing 1,300 VOA employees on administrative leave, the USAGM Director of HR states

 that the placement was “not for any ‘disciplinary purpose.’” Compl. ¶ 74, Widakuswara Docket,

 ECF No. 1. If anything, the defendants have consistently represented that every action at issue in

 this litigation taken since March 14, 2025, has been in direct response to the Executive Order. See

 Defs.’ Opp’n to Mot. for Preliminary Injunction, ECF No. 88, at 3 (listing the actions taken by

 USAGM since March 14, 2025 and characterizing them as “[i]n furtherance of the OPM

 Memorandum and the Executive Order.”). The PI therefore orders the defendants to return all

 those employees and contractors affected by the defendants’ actions to their status pre-March 14,

 2025, the day the Executive Order issued. Such relief is properly tailored to undo the defendants’

 actions here.




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                                                                                             Add. 127
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          Furthermore, the defendants interpret the injunction as “prevent[ing] [USAGM] from

 executing any employment action, including placing any employee on administrative leave for any

 reason whatsoever.” Mot. at 10. They argue that this “creates irreparable harm by hamstringing

 the agency’s personnel operations,” Mot. at 4, and also believe that “the Court has prohibited the

 Agency from making use of any reductions in force regardless of reason,” Mot. at 7. But the

 Court’s preliminary injunction does not reach so far. The injunction is tailored to undoing the

 agency’s unlawful actions in furtherance of the Executive Order and returning to the pre-March

 14 status quo. When USAGM returns to pre-March 14 functioning, as is required by the PI, the

 injunction does not prevent USAGM from executing personnel decisions for reasons unrelated to

 the Executive Order, such as “misconduct, performance issues, or security violations” to which

 they allude—such execution of normal operations would, to the contrary, be in accordance with

 the status quo pre-March 14.1

          This is not, as the defendants believe, a determination by the Court that USAGM’s status

 pre-March 14, 2025 is the “benchmark for minimum statutory compliance.” Mot. at 2. This

 Court’s relief is based on a finding that defendants’ actions since March 14, 2025, in their

 purported attempt to comply with the Executive Order, have likely contravened the APA. Because

 a PI “is a stopgap measure . . . intended to maintain a status quo,’” Sherley v. Sebelius, 689 F.3d

 776, 781–82 (D.C. Cir. 2012), it is appropriately tailored relief to order the defendants to reverse

 their illegal actions and return to the status quo before the illegal actions took place.



 1
   The defendants also argue that “[t]he injunction prohibits [USAGM] from engaging in contract negotiations,
 oversteps [USAGM’s] broad discretion in setting terms of the grant agreements, and prevents [USAGM] from
 finalizing any subsequent contract termination even if [USAGM] determines that the contracts are unnecessary for the
 agency to fulfill its statutory functions.” Mot. at 7. But the PI does not bar any of these activities. USAGM can still,
 with this PI in place, take actions pursuant to its statutory mandate and in compliance with the APA. The actions that
 the plaintiffs challenge in this lawsuit likely contravene the APA, as the Court has found. See generally Widakuswara,
 2025 WL 1166400.



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        As for the final two Hilton considerations, the issuance of the stay will “substantially injure

 the other parties interested in the proceeding.”   Hilton, 481 U.S. at 776.    Immediate compliance

 with the PI is necessary to avert the irreparable harm that is soon to befall the plaintiffs.      See

 Widakuswara, 2025 WL 1166400, at *16-17 (detailing the irreparable harm to the plaintiffs absent

 injunctive relief). And staying the Court’s PI is not in the public interest, particularly given that

 absent the PI, the defendants will continue their actions in contravention of numerous federal laws,

 including the International Broadcasting Act, relevant congressional appropriations acts, and the

 APA.

         For the foregoing reasons, it is hereby ORDERED that the defendants’ Motion for Partial

 Stay Pending Appeal is DENIED.

         The defendants also request that “even if the Court is not prepared to issue a stay that lasts

 throughout appellate proceedings,” that “the Court issue a ein      a      stay of these aspects of the

 injunction aati! the D.C. Circuit resclives a motion for a partial stay that Defendants intend to file”

 later today. Mot. at 4. For the same reasons explained supra, this request is DENIED.



         IT IS SO ORDERED.




 Date: April_* 5, 2025                                          a
                   a                                            Royce C. Lamberth
                  3° FP FYPm-                                   United States District Judge




                                                                                             Add. 129
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 UNITED STATES DISTRICT COURT
 DISTRICT OF COLUMBIA


  PATSY WIDAKUSWARA, et al.,

                         Plaintiffs,                            Index No. 25 Civ. 1015-RCL
         -against-

  KARI LAKE, et al.,

                         Defendants.




                             DECLARATION OF JON SCHLEUSS

        I, Jon Schleuss, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

 following is true and correct:

        1.      I am over 18 years of age and competent to provide this declaration. This

 declaration is based on my personal knowledge, information, and belief.

        2.      I have previously provided testimony in declarations dated March 23, 2025, and

 March 27, 2025. I am the President of The NewsGuild-CWA (“TNG-CWA”), a labor union that

 represents a private sector bargaining unit of Radio Free Asia (“RFA”) employees. RFA is a

 broadcaster that is funded by grants from the United States Agency for Global Media

 (“USAGM”).

        3.      RFA management conveyed to me that, as of the date of this declaration,

 USAGM provided RFA funds it owed for March, but hasn’t provided funds owed for April.

 Typically, USAGM sends a request at the end of each month for funds due in the upcoming

 month. Those funds are typically approved and released to RFA within the first week of that

 month. RFA submitted a financial plan and requested the rest of the funds due to RFA through


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 September, which covers the period of Full-Year Continuing Appropriations and Extensions Act,

 2025, Pub. L. No. 119-4, div. A, § 1101 (2025) (“2025 Continuing Resolution”). RFA

 management told me that, prior to the March 14 executive order, they met weekly with USAGM

 staff, but that USAGM hasn’t been communicating with RFA since mid-March.

        4.      On March 21, RFA furloughed the majority of its employees in the bargaining

 unit represented by TNG-CWA. That staff remains in unpaid status. TNG-CWA members have

 now received their last, partial paycheck, covering the period they worked before the furloughs.

 As a result, TNG-CWA is now losing those members’ dues. RFA management told me that they

 are unable to bring back furloughed employees because of uncertainty regarding what USAGM

 will do.

        5.      RFA announced to staff on April 11 that “Due to uncertainty regarding April

 funds and future fund distributions to all grantees, RFA is forced to maintain our current

 furlough status for the foreseeable future. It’s still nearly impossible to determine what the

 remaining FY25 or FY26 budget allocations will be, which is requiring us to prepare our

 organization's contingency plans in case RFA’s current and future budget stays flat or is

 decreased.” RFA management has clarified to me that, as long as there remains uncertainty

 regarding whether USAGM will comply fully with its obligation to disburse grant funds to RFA

 throughout the entire fiscal year, RFA will not be able to return staff to paid status.

        6.      If USAGM doesn’t distribute funds to RFA in a reliable way guaranteeing several

 months of stability, furloughed staff may lose health insurance coverage as soon as May 1. RFA

 told staff on April 11 that they will tell staff during the week of April 14 whether RFA will have

 the funds to extend health benefits to furloughed staff in May. RFA said it has to prioritize using

 the delayed March funds to cover deferred expenditures from that month. And even if RFA can



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 afford to extend health insurance benefits for furloughed workers, RFA’s insurance provider will

 not cover employees who have not worked for 60 days. That means insurance will end for

 workers furloughed on March 21 by the end of May unless RFA is able to bring furloughed staff

 back into work status.

        7.      Losing health insurance coverage would be devastating to our members, as the

 examples below show. Each of the individuals discussed below is a member of TNG-CWA

 employed by RFA. Each wishes to remain anonymous for fear of reprisal and because they are

 sharing personal and sensitive health information.

             a. James Doe 1 is a furloughed worker with several chronic health issues. He has

                Parkinson's disease and diabetes. He takes medicine that is uncommon and would

                be expensive without health insurance. He takes two types of medications to treat

                his diabetes and two types to treat his Parkinson's disease. Without insurance, he

                would not be able to afford to treat his medical issues. Moreover, his whole

                family is on his health insurance plan through RFA, including his wife and two

                children.

             b. James Doe 2 is a furloughed worker with several health issues. He has diabetes

                that requires insulin and high blood pressure that requires regular medicine. He

                has suffered at least two strokes and takes medication as a result. He had a kidney

                transplant in 2010 and takes medicine for that condition. He also goes to therapy

                regularly. He depends on health insurance in order to afford treatment for his

                medical conditions. His wife and daughter are also on his employer-provided

                health insurance.




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             c. Jane Doe 1 is currently furloughed from RFA and has several chronic health

                issues that are treated with her employer-provided health insurance. She takes

                medicine and daily insulin shots to treat her diabetes. She also takes medicine

                daily to treat her cholesterol and high blood pressure. She would not be able to

                afford her medication without health insurance.

        8.      RFA employs 35 workers on H1B visas, including TNG-CWA members. Many

 are from repressive countries, including Vietnam and Hong Kong, that persecute journalists for

 reporting the news. RFA has prioritized keeping those employees in pay status, but because of

 USAGM’s recent inconsistency in funding, RFA has begun to furlough employees working in

 the United States on work visas. RFA management began notifying employees, including TNG-

 CWA members, on April 14 that some employees on H1B visas will be furloughed beginning

 April 18. If USAGM continues to refuse to fund RFA’s grant, RFA management told me that

 RFA will continue to furlough employees, placing visa-holding employees at risk of being

 deported to their home countries where they could face threats, harassment, or imprisonment for

 their work as journalists.

        9.      RFA broadcasts news on shortwave and medium wave radio, satellite television

 and publishes news online through websites, apps and social media platforms. RFA broadcasts

 its programs over shortwave radio through a combination of U.S. government-operated

 transmitters and a variety of short-wave lease facilities. I understand from RFA management that

 USAGM has cut RFA’s access to these transmitters under contract with USAGM. I understand

 from RFA management that USAGM has, without notice, shuttered their ability to broadcast

 over satellite and radio, shrinking their transmission time down from 56 hours to 7 hours over the

 last month. These broadcasts previously reached audiences in Tibet, North Korea and other



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 locations where governments suppress access to a free press. RFA journalists told me that
 listeners have called them asking for the broadcasts to be turned back on.
        Executed in Washington, D.C. on April 14, 2025.
                                                                     _______ _______________
                                                                     Jon Schleuss
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